       Case 1:17-cv-00199-CRK Document 54-1                   Filed 09/19/18      Page 1 of 94
                 Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16




July 19, 2016
         2

                                                                                           A-5700-010
The Hono  orable Pennyy Pritzker                                          Total Numbber of Pagess: 274
Secretaryy of Commerrce                                                   §751 Adminnistrative Reeview
U.S. Dep partment of Commerce
                     C                                                         7/31/22014 – 1/31//2016
Enforcemment and Com  mpliance                                                   ITAA/E&C/Officce IV
APO/Docckets Unit, Room
                     R        18022
                                  2
14th Streeet and Constiitution Aven
                                  nue, NW                                         PUB
                                                                                    BLIC VERS
                                                                                            SION
Washingtton, DC 202  230

                                                 Business pproprietary innformation hhas been rem
                                                                                                moved
                                              from pages D-7 and D-288 and in Exhiibits C-1 to C C-11,
                                                                 C-14, C C-16, C-17, and D-2 to DD-21.

Re:     Crystalline
        C           Siilicon Photov
                                  voltaic Prod
                                             ducts from thhe People’s R
                                                                      Republic of China:
        Section C andd D Question nnaire Respoonse

Dear Seccretary Pritzk
                     ker:

        On
        O behalf of Changzhou Trina Solar Energy Co.,, Ltd. (“TCZ
                                                                Z” or “Trina””) and Trina

Solar (US
        S), Inc., (“TU
                     US”), we su
                               ubmit the com
                                           mpanies’ ressponses to seections C andd D of the

antidump
       ping duty qu
                  uestionnaire in
                               i the above-captioned aadministrativve review. C
                                                                              Copies of thee

printed materials
        m         in PDF
                     P   format and
                                a certain data
                                          d files aree being filedd electronicallly, along wiith

this coveer letter, in acccordance with
                                   w the Depaartment’s filiing requirem
                                                                      ments.

        Pursuant to 19 C.F.R. § 351.304(a)(i)
                                3           ), Trina TUS
                                                       S request prooprietary treaatment of certain

bracketed
        d business prroprietary in
                                 nformation (““BPI”) contaained in thiss submissionn because it

relates to
         o confidentiaal informatio
                                  on regarding Trina’s and TUS’s businness operations. This

                     vailable to the public in any
informatiion is not av                         a substantiially similarr form, and ppublic disclosure

of this prroprietary infformation would
                                  w     cause serious
                                              s       comppetitive harm
                                                                      m to Trina annd TUS. Thhe

nature off the informaation and thee basis for th
                                                he confidentiial treatmentt request are as follows:



  Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
       Case 1:17-cv-00199-CRK Document 54-1                    Filed 09/19/18        Page 2 of 94
                 Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16
The Hon
      norable Pen
                nny Pritzkerr                                                                    Page 2


           Information regardingg the nature of the produucts and the pproduction
            process fo
                     ound in the exhibits.
                                 e         Pro
                                             otected undeer 19 C.F.R. § 351.105(cc)(1).
           Information regarding  g production
                                              n costs contaained in the nnarrative andd in
            the exhibiits. Protecteed under 19 C.F.R.
                                               C      § 3511.105(c)(2).
           Information regarding
                                g distribution
                                             n costs foundd in the exhiibits. Proteccted
            under 19 C.F.R. § 351
                                1.105(c)(3).
           Information regarding
                                g the quantitty, value, typpe of sales, aand terms off sales
            found in the
                     t exhibits. Protected under
                                            u       19 C.FF.R. § 351.1005(c)(4) andd (11).
           Information regarding
                                g prices of in
                                             ndividual salles found in the exhibits.
            Protected under 19 C..F.R. § 351.1
                                             105(c)(5).
           Information regarding g customer and
                                              a supplier names, and names of
            affiliates found
                       f     in the exhibits. Prrotected undder 19 C.F.R
                                                                       R. § 351.105((c)(6)
            and (11).
           Other speecific businesss informatioon related too Trina’s acccounting andd
            financial information,
                       i           , the release of which woould cause substantial haarm
            to Trina’ss competitivee position fo
                                               ound in the eexhibits. Prootected underr 19
            C.F.R. § 351.105(c)(1
                      3           11).

        Trina
        T     and TU
                   US consent to
                               o the release of the BPI ccontained inn this submisssion, to the

extent req
         quired by the Departmen
                               nt, under an appropriatelly issued Addministrativee Protective

Order. We
       W will servee a copy of the
                               t proprietaary version oof this submiission on all parties

authorizeed under the APO and will
                              w serve a co
                                         opy of the puublic versionn of this subbmission on aall

parties listed on the public
                      p      servicce list for this administraative review.. The factuaal informatioon

        d herein is su
contained            ubmitted in accordance
                                 a          with
                                            w 19 C.F..R. §351.3011(c)(1) and 119 C.F.R.

§351.102
       2(b)(21)(i) in
                    n response to
                                o the Departm
                                            ment’s initiaal questionnaaire.

        Please let us know
                      k    if you have any qu
                                            uestions regaarding this suubmission.

                                                Sincerely yoours,

                                                /s/ Jonathann M. Freed
                                                Robert G. GGosselink
                                                Jonathan MM. Freed
                                                Jarrod M. GGoldfeder



Trade Paccific PLLC                                  Internatioonal Trade Law
                                                                            wyers | www.T
                                                                                        TradePacificLaw w.com
T: 202-223
         3-3760                                                       719 A S
                                                                            Street NE, Wasshington, D.C. 20002

 Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
        Case 1:17-cv-00199-CRK Document 54-1                       Filed 09/19/18        Page 3 of 94
                 Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16




                                    C0I\T I'ANY    CI'Iì'[ I III CA'I'I ON

           I. Shcrrgbin [.iuo, Iriuancial l)ircctor, currcnlly uuployccl by Changzhotr 'l'rina Solar
Enetgy Co., [,tcl., 'l't'inr Solar (Chnrrgz[6u) Scicncc &'l'cchrrology Co., Ltd,, Yanclreng'frina

Solarlinmgl'l'cchnology Co., l,td. ¿rncl'l'urptrr'l'rina SolarEnergy Co., f,tc{, (collectivcly
"'l'titta"), certify that I ltrcpalccl or cltllern,isc superviscrl tlie prcparation oltllc attaclred Scctiolt
D Questiorrrtairc Response cit¡c on July lg,20l(r pursuant to the antidurnping duty atlrlinistrative
rcvietv of Cr¡,stalline Silicon Photovoltaic Products, Whethcr OrNot Assernbled into Modtrles
From the Peoplc's Republic of China (A-570-010) for ttre periocl 7/3112014           -   ll3lDAß.1certify
that the public irrforntation arrd any busìness proprietary infìrrmation of     l'rina containccl in this
sublnission is accurate arrri complete to tlre best of my knorvledge, f am aw¿ìre that the
information contained in this subnrission nra,v be subject to verifìcation or corroboration (as
appropriate) by thc U.S. Departrnent of Conrmerce, I am also aware that U.S. larv (including, but
not limitecl to, 18 U.S.C. 1001) imposes climinal sanctions on individuals rvho knorvingly and
rvillfully ntake material false statenlents to the U.S. Govcrnment. In adclition, I am        ar.varc that,

even if this submission may be       rvithdraln fiorn the record of the AD/CVD procccding, the
Department tnay preserve this submission, including a business proprietary submission, for
purposes of determining the ¿ìccurrìcy of this certifìcation, I certily that a copy of this signed

certifìcation rvill be fìled rvith this submission to the U.S. Deparlment of Commerce



                                  t-JJ
S   ignature:


                                         4
                                         0          I




                                                          Scanned by GamScanner
Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
         Case 1:17-cv-00199-CRK Document 54-1                  Filed 09/19/18     Page 4 of 94
                 Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16


                             REPRESENTATIVE CERTIFICATION


             I, Robert G. Gosselink, with Trade Pacific PLLC, counsel to Changzhou Trina Solar
Energy Co., Ltd. (*TCZ") and its affìliate, Trina Solar (US), Inc., ("TUS") (collectively
"Trina")., certify that I have read the attached submission filed on July 19, 2016 pursuant to the
antidumping duty administrative review of Crystalline Silicon Photovoltaic Cells, Whether or
Not Assembled Into Modules, from the People's Republic of China (A-570-010). In my capacity
as counsel   of this submission, I certify that the information contained in this submission is
accurate and complete to the best of my knowledge.         I am aware that U.S. law (including, but not
limited to, 18 U.S.C. 1001) imposes criminal sanctions on individuals who knowingly and
willfully make material false statements to the U.S. Government. In addition, I am aware that,
even    if this submission may be withdrawn from the record of the AD/CVD proceeding, the U.S.
Department of Commerce may                        submission, including a business proprietary
submission, for purposes    of                    accuracy of this certification. I certify that a copy   of
this signed certification will be filed        this submission to the U.S. Department of Commerce.



Signature                                 ftvtr

Date:
                     -),^c1      rT   Lo\ (.




 Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
      Case 1:17-cv-00199-CRK Document 54-1              Filed 09/19/18      Page 5 of 94
               Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16




                               CERTIFICATE OF SERVICE

        I, Utta Von Nuremburg, hereby certify that the foregoing document was served by hand
or by first-class mail on this 19th day of July, 2016, on the following interested parties:


       Jeffrey S. Grimson, Esq.                          Tzu-Huan Augustine Lo, Esq.
       Mowry & Grimson PLLC                              Dorsey & Whitney LLP
       5335 Wisconsin Ave.                               701 Fifth Avenue
       Suite 810                                         Suite 6100
       Washington, DC 20015                              Seattle, Washington 98104-7043

       Craig A. Lewis Esq.                               William E. Perry, Esq.
       Hogan Lovells US LLP                              Harris Moure
       555 13th St, NW                                   600 Stewart Street
       Washington, DC 20004                              Suite 1200
                                                         Seattle, Washington 98101
       Timothy C. Brightbill, Esq.
       Wiley Rein LLP                                    Richard L.A. Weiner, Esq.
       1776 K Street, NW                                 Sidley Austin LLP
       Washington, DC 20006                              1501 K Street, NW
                                                         Washington, DC 20005
       David J. Craven, Esq.
       Riggle & Craven                                   Matthew J. McConkey, Esq.
       5515 N Cumberland Avenue                          Mayer Brown LLP
       Suite 803                                         1999 K Street, NW
       Chicago, IL 60656                                 Washington, DC 20006

       Kenneth Weigel, Esq.
       Alston & Bird LLP
       950 F Street, NW
       Washington, DC 20004



                                                   /s/ Utta Von Nuremburg
                                                   Utta Von Nuremburg




 Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
      Case 1:17-cv-00199-CRK Document 54-1               Filed 09/19/18    Page 6 of 94
               Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



                                         SECTION C

                                  Sales to the   United States


I.     General Explanation

This section of the questionnaire provides instructions for reporting your sales of the
merchandise under consideration in or to the United States. \üe will compare the prices at
which this merchandise was sold in or to the United States with a constructed value using
the factors of production to determine whether the merchandise was sold at less than
normal value in the United States during the POR.

If your company did not produce the merchandise under consideration, we request that
you send section D to the company that produced the merchandise under consideration and
supplied it to you or to your customers.

II.    Computer File of U.S. Sales

In accordance with the instructions provided in this section, prepare a separate computer
data file containing each sale made during the POR of the merchandise under
consideration, including sales of further manufactured merchandise. Do not report
cancelled sales. This file format has been designed to accommodate export price (EP) and
constructed export price (CEP) transactions.

Report each U.S. sale of merchandise entered for consumption during the POR, except: (L)
for EP sales, if you do not know the entry dates, report each transaction involving
merchandise shipped during the POR; and (2) for CEP sales made after importation,
report each transaction that has a date of sale within the POR. If you believe there is a
reason to report your U.S. sales on a different basis, please contact the official in charge
before doing so.

If you had sample transactions, please provide the following information thereon:
CONNUM, customer code, invoice date, quantity, and gross unit price (if the sample
transaction was at zero value, please list zero as the unit price). Explain the circumstances
under which the sample transactions \ryere made.

For sales of merchandise that have been shipped to the customer and invoiced by the time
this response is prepared, each "record" in the computer data file should correspond to an
invoice line item (í.e., ea'cln unique product included on the invoice). For sales of
merchandise that have not yet been shipped and invoiced (in whole or in part) to the
customer, a "record" should correspond to the unshipped portion of the sale.

Each computer record submitted should contain the information requested concerning the
product sold, the terms of the sale, the selling expenses incurred, and other information.
The following portion of section C describes the information the Department requíres.




 Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
       Case 1:17-cv-00199-CRK Document 54-1                    Filed 09/19/18    Page 7 of 94
                 Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16




ANSWER:          During the period of review, July   3I   , 2014, through January 3l , 2016, Changzhou

Trina Solar Energy Co., Ltd. (*TCZ") made only constructed export price ("CEP") sales to the

United States through its U.S. affiliate, Trina Solar (US), Inc. ("TUS"). Pursuant to the

Department's instructions, Trina is not reporting its sales to TUS, and instead is reporting TUS's

resales of merchandise under consideration that have dates of sale within the POR to the first

unaffiliated U.S. customers. An electronic database containing the listing of U.S. sales of subject

merchandise during the POR is included with this questionnaire response. A sample print-out          of

the U.S. sales database is included in Exhibit C-I.

       For this segment of the proceeding, TUS made sales from inventory that contained

modules produced both with Taiwan-origin solar cells and with non-Taiwan-origin solar cells.

In addition, TUS made sales of non-subject solar modules containing Taiwan-origin cells that

were not exported from China. In order to report only those products that are subject to this

review (i.e., products containing Taiwan-origin cells exported from China), it was necessary for

Trina to segregate manually each sale into separate shipment batch numbers, i.e., products      of

identical product codes that were grouped together at the time of containerization for shipment to

the United States. As explained in Appendix XI, all cells within each batch number have only

one country of   origin.   Because Trina can identify the country of origin by batch number, Trina

was able to segregate all U.S. sales by batch number into subject and non-subject quantities. As

such, the sales observations in the U.S. sales listing do not necessarily reflect each line item on a

TUS invoice, but rather reflect the quantities for each batch number of subject merchandise on

each invoice line item.




                                                  c-2
  Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
        Case 1:17-cv-00199-CRK Document 54-1               Filed 09/19/18    Page 8 of 94
                Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



III.     Market Economy Inputs

List the movementexpenses (ocean freight, marine insurance, trucking, etc.) thatyoar
company purchased from a market-economy supplier and paid for in a market-economy
currency during the POR. For each movement expense, please report the price you
actually paid for the specified quantity of input. For these prices, please provide the
following information :

A.       From which market economy country did you purchase the good, in what currency
         did you pay, and from which market economy country was the good produced?

B.       If you purchase   a service   frommarket economy supplier, is the price you pay
                                              a
         based on the weight or on the value of your product (e.g.,the charge for marine
         insurance is usually based on the value of your shipment, while the charge for ocean
         freight is usually based on the weight of your shipment).

C.       Provide all details of the transaction, including the name of the supplier, your
         relationship with that supplier, the source country, terms of payment and any other
         arrangements you have made. Additionally, provide supporting documentation
         identifying the country of origin for where the good was produced, ie., commercial
         invoice, country of origin from an independent government agency, etc.

D.       Detail the percentage you purchased from a market-economy country and the
         percentage you purchased from a non-market economy supplier.

ANSWER:         All movement    expenses incurred by Trina to deliver the subject merchandise to

the United States were supplied by nonmarket economy providers. These expenses included:

freight from factory to port, domestic brokerage and handling in China, ocean freight, and

manne rnsurance.

IV.      Summary of Data Fields for the U.S. Sales File

The chart which follows is a summary of the data fields for the U.S. sales computer file
which are described in the remainder of this section of the questionnaire. The chart lists
the field number, description and name. Please also refer to the "Instructions for
Submitting Computer Data" at Appendix II.

  FIELD                                      FIELD                                    FIELD
 NUMBER                                   DESCRIPTION                                 NAME
       1.0                             Complete Product Code                        PRODCODU
       2.0                                    Control Number                        CONNUMU
       3.1                                Product Form                                FORMU



                                                  c-3
 Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
     Case 1:17-cv-00199-CRK Document 54-1              Filed 09/19/18     Page 9 of 94
             Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



 FIELD                                   FIELD                                      FIELD
NUMBER                             DESCRIPTION                                      NAME
   3.2                            CrystaUDopant Type                             CRYSTALU
   3.3                            Total Power Output                             TOTPOWRU
   3.4                             Cell Technoloqy                               CELLTEKU
   3.5                               Cell Backins                                CELLBAKU
   3.6                               Frame Form                                    FRAMEU
   3.7                             Backins Material                              BACKMATU
   3.8                              Front Material                               FRNTMATU
   3.9                               Junction Box                                   JBOXU
   3.10                                 Inverter                                  INVERTRU
   3.11                                  Baffery                                 BATTERYU
   4.0                                  Sale                                        SALEU
   5.0                               Customer Code                                CUSCODU
   6.0                             Sales Invoice Date                             SALINDTU
   7.0                       Date of Sale (if not Invoice Date)                   SALDATU
   8.0                            Sale Invoice Number                              INVOICU
   9.0                             Date of Shipment                                SHIPDTU
   10.0                        Date of Receipt of Payment                        PAYDATEU
   11.0                            Terms of Delivery                              SALETERU
   12.0                            Terms of Payment                              PAYTERMU
   13.1                                 Quantitv                                    QTYU
   13.2                             Module Quantity                               MODQTYU
   13.3                              Cell Quantity                                CELLQTYU
   13.4                            Total Packed Weight                             TPACKU
   13.5                                 Cell Grade                               CELLGRADU
   14.0                            Gross Unit Price                               GRSUPRU
  15.1-n                          Billinq Adiustments                             BILLADJU
   16.1                          Earlv Payment Discounts                          EARLPYU
   16.2                           Quantity Discounts                               QTYDISU
16.3-16.n                           Other Discounts                              OTHDIS(1-n) U
l7.l-17.n                                Rebates                                 REBATE(1-n)U
   18.1              Foreign Inland Freight - Plant to Distribution               DINLFTWU
                                      Warehouse
   18.2           Foreign Inland Freight - PlanfWarehouse to Port of              DINLFTPU
                                          Exit
   19.0                        Foreign Inland Insurance                           DINSURU
   20.0                        Brokerage and Handlinq                             DBROKU
  20.1              Market Economy Brokerage and Handling Expense                DMEBROKU
  2r.0                           International Freight                            INTNFRU


                                               c-4
Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
       Case 1:17-cv-00199-CRK Document 54-1             Filed 09/19/18    Page 10 of 94
              Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



  FIELD                                    FIELD                                    FIELD
 NUMBER                              DESCRIPTION                                    NAME
     22.1                          Port of Exportation                             EXPORTU
     22.2                         U.S. Port of Importation                         IMPORTU
     23.0                           Marine Insurance                               MARNINU
     24.0               U.S. Inland Freieht from Port to Warehouse                 INLFPWU
     2s.0                        U.S. Warehousing Expense                         US\ilAREHU
                       U.S. Inland Freight from Warehouse to the
     26.0                                                                          INLF.\üCU
                                  Unaffiliated Customer
     27.0                          U.S. Inland Insurance                          USINSURU
     28.0                    Other U.S. Transportation Expense                    USOTHTRU
     29.0                            U.S. Customs Duty                            USDUTYU
     30.0                               Destination                                 DESTU
     31.0                              Commissions                                  COMMU
     32.0                              Selline Asent                              SELAGENU
     33.0                        Selline Asent Relationship                       SELARELU
     34.0                             Credit Expenses                              CREDITU
     3s.0                            Interest Revenue                              INTREVU
     36.0                           Advertising Expenses                          ADVERTU
     37.0                           ll'arranty Expense                              \üARRU
     38.0                       Technical Service Expense                         TECHSERU
     39.0                                Royalties                                 ROYALU
     40.1-n                    Other Direct Selline Expenses                       DIRSELU
      41.0            Indirect Selling Expenses Incurred in the United             INDIRSU
                                          States
     42.0             Inventory Carrying Costs Incurred in the United              INVCARU
                                          States
     43.0                         U.S. Repacking Cost                             REPACKU
     44.0                          Further Manufacturing                          FURMANU
     45.0               Irrecoverable Input Value Added Tax (VAT)                 VATTAXU
     46.0                  Export and Other Taxes Paid on Subject                  EXTAXU
                                        Merchandise
     47.0                          Foreign Trade Zone                               FTZU
     48.0                             Manufacturer                                  MFRU
     49.0                            Entered Value                                ENTVALUE
     50.0                               Importer                                  IMPORTER

V.     Instructions for the Narrative Response and the Computer File of U.S. Sales

The following instructions combine the questionnaire with the computer data file format.
*FIELD NUMBER" includes the number and descriptive name of the field in the computer
data file. "FIELD NAME'includes the 66short" or variable name for the submitted



                                              c-5
 Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
        Case 1:17-cv-00199-CRK Document 54-1               Filed 09/19/18     Page 11 of 94
                  Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



printouts of the data file. TDESCRIPTION" defines the data you should report in the field
of the computer data file, and "NARRATM'describes the additional information we
request you provide, not in the computer data file, but in a narrative response.

 Fields 1 throueh 3
 Report the information requested concerning the product sold. Fields I and 2 a,re
 reserved for the product code and a matching control number the Department will use in
 the calculation of the dumping margin.

 Fields numbered 3.1 to 3.9 specify the product characteristics requested by the
 Department. You may add additional product characteristics. Ilowever, if you add
 characteristics not specified in the questionnaire, describe in the narrative response why
 you believe that the Department should use this information to defïne identical and similar
 merchandise.

FIELD NUMBER          1.0:      Complete Product Code

         FIELD    NAME:         PRODCODU

         DESCRIPTION:           Report the commercial product code assigned by your
                                company in the normal course of business to the specific
                                product sold in the United States. If the product sold is further
                                manufactured in the United States, report the product code of
                                the product sold, not the product imported.

         NARRATIVE:             The product code should be described in response to question
                                6b in section A of this questionnaire.

ANSWER:          Trina employs 6-digit internal material codes beginning with "6" (e.g.,635771)

for its production control, cost accounting and inventory records. For sales pu{poses, it employs

a   different product coding system (see, e.g., Exhibit A-19). For purposes of this proceeding,

Trina is using the physical characteristics of each internal material code in order to create

CONNUMs and to report the sales and FOP data. In the CEP sales listing in Exhibit C-l, Trina

is reporting in fields PRODCODIU and PRODCOD2U the internal material code and selling

product code for each sales transaction




                                                 c-6
    Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
           Case 1:17-cv-00199-CRK Document 54-1               Filed 09/19/18     Page 12 of 94
                    Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



FIELD NUMBER             2.0:       Matching Control Number

            FIELD   NAME:          CONNUMU

            DESCRIPTION:           Assign a control number to each unique product reported in
                                   the section C sales data file. Identical products should be
                                   assigned the same control number in each record in every file
                                   in which the product is referenced. Each unique combination
                                   of product characteristics based only on fields 3.1 - 3.n should
                                   be assigned a unique control number.

                                   If the product sold is further manufactured in the United
                                   States, report the control number of the product imported, not
                                   the product sold.

            NARRATIVE:             List all CONNUMS, and indicate to which products they have
                                   been assigned. Include CONNUMs for all products described
                                   in Appendix III of the questionnaire, regardless of market
                                   destination

ANSWER:             Trina has assigned each product a CONNUM based on its physical characteristics.

Please see Exhibit C-2.


FIELD NUMBER             3.1:      Product Form

            FIELD   NAME:          FORMU

            DESCRIPTION:           Identify the form of the subject merchandise sold to the
                                   fìrst unaffiliated customer in the United States. Code the form
                                   as follows:

                                   I:   Cell
                                   2:   Module
                                   3:   Other (specify)

ANSWER:             Trina has reported this product characteristic, as requested. Please see Exhibits C-

I   and,   C-2.


FIELD NUMBER             3.2:      CrystaVDopant Type

            FIELD   NAME:          CRYSTALU

            DESCRIPTION:           Identify the type of crystalline structure inherent in the CSi
                                   cells. Code the type as follows:


                                                    c-7
    Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
        Case 1:17-cv-00199-CRK Document 54-1               Filed 09/19/18     Page 13 of 94
                 Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16




                                I : Multicrystalline
                                2:    Monocrystalline, P-type
                                3:    Monocrystalline, N-type
                                9:    Other (specify)

ANSWER:          Trina has reported this product characteristic, as requested. Please see Exhibits C-

I   andC-2.

FIELD NUMBER          3.3:      Total Power Output

         FIELD   NAME:          TOTPO\ilRU

         DESCRIPTION:           Report the nominal wattage output of the module or other
                                downstream product as sold. For modules, code the output
                                power as follows:

                                010: 1.00 - 9.99 Watt
                                011 : 10.00 - 24.99 \üatt
                                012: 25.00 - 49.99 Watt
                                013 : 50.00 - 74.99 \üatt
                                014: 75.00 -99.99 Watt
                                020: 100.00 - 124.99 Watt
                                021: 125.00 -149.99 Watt
                                022: 150.00 - 159.99 Watt
                                023: 160.00 - 169.99 Watt
                                024: 170.00 - 179.99 Watt
                                025: 180.00 -189.99 \üatt
                                026: 190.00 - 194.99 Watt
                                027: 195.00 - 199.99 Watt
                                030: 200.00 - 204.99 Watt
                                03t   : 205.00 -209.99 Watt
                                032: 210.00 - 214.99 Watt
                                033: 215.00 -219.99 Watt
                                034: 220.00 -224.99 Watt
                                035: 225.00 -229.99 Watt
                                036: 230.00 - 234.99 Watt
                                037: 235.00 - 239.99 Watt
                                038: 240.00 -244.99 Waff
                                039: 245.00 -249.99 \üatt
                                040: 250.00 - 254.99 Watt
                                041: 255.00 -259.99 Watt
                                042: 260.00 - 264.99 \üatt
                                043: 2ó5.00 - 269.99 Watt
                                044: 270.00 - 274.99 Waff

                                                 c-8
    Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
      Case 1:17-cv-00199-CRK Document 54-1                 Filed 09/19/18   Page 14 of 94
               Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16


                                       :
                              045 275.00   - 279.99    \üatt
                                       :
                              046 280.00   - 284.99    Watt
                                       :
                              047 285.00   - 289.99    Watt
                                       :
                              048 290.00   - 294.99    \Matt
                              049 :295.00  - 299.99    \Matt
                              055:300.00 - 309.99      Watt
                              056 : 310.00 - 324.99    \ilatt
                              058 : 325.00 - 349.99    \ilatt
                              099:350.00-\ilatt

If you sold cells, rather than modules, code the output power as follows:
                              901      :0
                                      - 0.99 Watt
                              902:1.00 - 1.99 \ilatt
                              903 :2.00 - 2.49 Watt
                              904 :2.50 - 3.00 Watt
                              905:3.00 - 3.24Watl
                              906: 3.25 - 3.50 \ilatt
                              907 :3.50 - 3.62Watt
                              908:3.63 - 3.74Watt
                              909: 3.75 - 3.87 Watt
                              910:3.88 - 3.99 \ilatt
                              9ll:4.00 - 4.09 Watt
                              912: 4.10 - 4.19 Watt
                              913 : 4.20 - 4.29 Watt
                              914:4.30 - 4.39 Watt
                              915 : 4.40 - 4.49 Watt
                              916:4.50 - 4.59 Watt
                              917 :4.60 - 4.74Watt
                              9L8 : 4.75 - 4.99 Watt
                              920:5.00 - 5.99 Watt
                              999:6.00 and higher Watt

ANSWER:        Trina has reported this product characteristic, as requested. Please see Exhibits C-

1 andC-2. During the POR, Trina Solar did not sell cells to the United States.


FIELD NUMBER        3.4:      Cell Technology

       FIELD   NAME:          CELLTEKU

       DESCRIPTION:           Report the cell technology per the codes set forth below.

                              01   :   standard
                              02   :   H-pattern metallization
                              03   :   Selective Emitter (SE)
                              04:      Metal \ilrap Through (M\ryT)


                                                 c-9
 Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
          Case 1:17-cv-00199-CRK Document 54-1               Filed 09/19/18     Page 15 of 94
                   Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



                                  05:   Heterojunction with intrinsic thin layer (HIT)
                                  06:   Emitter Wrap Through (EWT)
                                  07:   Interdigitated Back Contact (IBC)
                                  09:   Other (please specify))

ANSV/ER:           Trina has reported this product characteristic, as requested. Please see Exhibits C-

I   andC-2

FIELD NUMBER            3.5:      Cell Backing

           FIELD   NAME:          CELLBAKU

           DESCRIPTION:           Report the cell backing color per the codes set forth below.

                                  01   : blue
                                  02   : black
                                  09: Other (please specify))
ANSWER:            Trina has reported this product characteristic, as requested. Please see Exhibits C-

I   and   C-2. For this segment of the proceeding, code 09 represents the cell backing color of gray.

FIELD NUMBER            3.6:      Frame Form

           FIELD   NAME:          FRAMEU

           DESCRIPTION:           Report the composition of the material constituting the frame
                                  around a module or other product. Code the material as
                                  follows:

                                  01   : None
                                  05: Aluminum
                                  06: Steel
                                  09: Other (specify)
                                  99: Cell
ANSWER:            Trina has reported this product characteristic, as requested. Please see Exhibits C-

I   andC-2




                                                   c-10
    Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
        Case 1:17-cv-00199-CRK Document 54-1                Filed 09/19/18    Page 16 of 94
                 Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



FIELD NUMBER 3.7:               Backing Material

         FIELD NAME:            BACKMATU

         DESCRIPTION:           Report the composition of the material constituting the
                                backing of a module or other product. Code the material       as
                                follows:

                                01   :   None
                                03: Polyvinyl chloride
                                04: Polypropylene
                                06: Other plastic
                                10: Untexturized glass (uncoated      and/or untempered)
                                11   :   Untexturized glass (coated andTor tempered)
                                14:      Texturized glass (uncoated and/or untempered)
                                15:      Texturized glass (coated and/or tempered)
                                20:      Other (specify)
                                99:      Cell

ANSV/ER:         Trina has reported this product characteristic, as requested. Please see Exhibits C-

I   andC-2

FIELD NUMBER          3.8:      Front Material

         FIELD   NAME:          FRNTMATU

         DESCRIPTION:           Report the composition of the material constituting the front
                                cover of a module or other product. Code the material as
                                follows:

                                01   :   None
                                03: Polyvinyl chloride
                                04: Polypropylene
                                06: Other plastic
                                10: Untexturized glass (uncoated      and/or untempered)
                                11 :     Untexturized glass (coated and/or tempered)
                                14:      Texturized glass (uncoated and/or untempered)
                                15:      Texturized glass (coated and/or tempered)
                                20:      Other (specify)
                                99:      Cell

ANSWER:          Trina has reported this product characteristic, as requested. Please see Exhibits C-

I   andC-2.



                                                  c-l1
    Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
        Case 1:17-cv-00199-CRK Document 54-1               Filed 09/19/18     Page 17 of 94
                 Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



FIELD NUMBER          3.9:      Junction Box

         FIELD    NAME:         JBOXU

         DESCRIPTION:           Report if the product has a junction box. Code the field     as
                                follows:

                                01   :   None
                                05:      Yes
                                99:      Cell

ANSWER:          Trina has reported this product characteristic, as requested. Please see Exhibits C-

I   andC-2.

FIELD NUMBER          3.10:     Inverter

         FIELD   NAME:          INVERTRU

         DESCRIPTION:           Report if the product has an inverter. Code the field as follows:

                                0L   :   None
                                05:      Yes
                                99:      Cell

ANSWER:          Trina has reported this product characteristic, as requested. Please see Exhibits C-

I   andC-2

FIELD NUMBER          3.11:     Battery

         FIELD   NAME:          BATTERYU

         DESCRIPTION:           Report if the product has an inverter. Code the field as follows:

                                01   : None
                                05:      Yes
                                99:      Cell

ANSWER:          Trina has reported this product characteristic, as requested. Please see Exhibits C-

I   andC-2.

Fields 4 and 5
Report the information requested concerning the sale type and customer for the


                                                 c-12
    Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
     Case 1:17-cv-00199-CRK Document 54-1                Filed 09/19/18     Page 18 of 94
               Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



merchandise.

FIELD NUMBER        4.0:      Sale Type

      FIELD    NAME:          SALEU

      DESCRIPTION:            Identify the sale as either 668P" (export price) or "CEP"
                              (constructed export price).

ANSWER:        During the POR, Trina made only CEP sales through its U.S. affiliate, TUS.


FIELD NUMBER        5.0:      Customer Code

      FIELD    NAME:          CUSCODU

      DESCRIPTION:            Report the name of the customer or the internal accounting
                              code designating the customer.

      NARRATIVE:              Provide a list of customer names and codes as an attachment to
                              your narrative response.

ANSWER:        Trina has reported the customer names in this field. See Exhibit C-3 for a list   of

customer names and codes.


Fields 6 through 12
Report the information requested concerning the terms of delivery and payment and the
dates of the specified events of each sale. Please be sure to report dates in the specifìed
eight-digit format. The Glossary of Terms at Appendix I describes the Departmentrs
criteria for determining the date of sale. The criteria used by the Department to
determine the date of sale may be different from the criteria you use in your accounting
system; please contact the official in charge if, after reviewing the Departmentrs criteria,
vou are uncertain when a sale has occurred.

FIELD NUMBER        6.0:      Sale Invoice Date

      FIELD    NAME:          SALINDTU

      DESCRIPTION:            If you submit your data using software (such as Excel or SAS)
                              that stores internal date values but displays them differently
                              with a date value format, make sure you display them in the
                              MWDD/YYYY format. If you are reporting the date using
                              numeric digits without a date value format, the first two digits
                              must represent the month, the next two digits represent the
                              day, and the last four digits represent tlne year (í.e.,



                                              c-13
 Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
      Case 1:17-cv-00199-CRK Document 54-1                Filed 09/19/18     Page 19 of 94
               Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



                              MMDDYYYY). A slash can be used to separate the month,
                              day, and year (i.e., MM/DD/YYYY). For further instructions,
                              see   Appendix   II.
ANSWER:        Trina has reported the date of TUS's invoice to the f,rrst unafftliated customer.


FIELD NUMBER        7.0:      Date of Sate (if different than Sale Invoice Date)

       FIELD   NAME:          SALEDATU

       DESCRIPTION:           Include this field only if the date of sale is different from the
                              sale invoice date. The appropriate date to use as date of sale
                              should be determined in consultation with the "Official in
                              Charge."

                              If you submit your data using software (such as Excel or SAS)
                              that stores internal date values but displays them differently
                              with a date value format, make sure you display them in the
                              MM/DD/YYYY format. If you are reporting the date using
                              numeric digits without a date value format, the first two digits
                              must represent the month, the next two digits represent the
                              day, and the last four digits represent the year (í.e.,
                              MMDDYYYÐ. A slash can be used to separate the month,
                              day, and year (í.e., MM/DD/YYYY). For further instructions,
                              see Appendix II.

ANSWER:        Trina has reported the invoice date as the date of sale.


FIELD NUMBER        8.0:      Sale Invoice Number

       FIELD   NAME:          INVOICU

       DESCRIPTION:           Report the reference number assigned to the invoice in your
                              accounting system.

       NARRATIVE:             Describe the invoice numbering system used by each sales
                              entity that originated a sale reported in this data file. Is it
                              simply a sequential number or is additional information
                              included in the code, such as point of sale? If additional
                              information is contained in the code, provide a key describing
                              each component of the code.

ANSWER:        Trina has reported the sales invoice number of TUS in this field. Trina also has

reported the batch number is additional field BATCH



                                                c-t4
  Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
      Case 1:17-cv-00199-CRK Document 54-1                 Filed 09/19/18     Page 20 of 94
                Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



FIELD NUMBER         9.0:      Date of Shipment

       FIELD    NAME:          SHIPDTU

       DESCRIPTION:            Report the date of shipment from the factory or distribution
                               warehouse to the customer.

                               If you submit your data using software (such as Excel or SAS)
                               that stores internal date values but displays them differently
                               with a date value format, make sure you display them in the
                               MM/DD/IYYY format. If you are reporting the date using
                               numeric digits without a date value format, the first two digits
                               must represent the month, the next two digits represent the
                               day, and the last four digits represent tlneyear (í.e.,
                               MMDDYYYY). A slash can be used to separate the month,
                               day, and year (í.e., MM/DD/YYYÐ. For further instructions,
                               see Appendix II.

ANSWER:         Trina has reported the sales invoice date of TUS in this field, as invoicing takes

place at the same time as the transfer of title to the customer


FIELD NUMBER         10.0:     Date of Receipt of Payment

       F'IELD   NAME:          PAYDATEU

       DESCRIPTION:            Report the date your records indicate payment was received
                               from the customer.

                               If you submit your data using software (such as Excel or SAS)
                               that stores internal date values but displays them differently
                               with a date value format, make sure you display them in the
                               MM/DD/YYYY format. If you are reporting the date using
                               numeric digits without a date value format, the first two digits
                               must represent the month, the next two digits represent the
                               day, and the last four digits represent tlne year (í.e.,
                               MMDDYYYÐ. A slash can be used to separate the month,
                               day, and year (i.e., MM/DD/YYYÐ. For further instructions,
                               see Appendix II.

       NARRATIVE:              Indicate the basis for determining the date of payment and the
                               ledger from which this date was identified. If you cannot
                               collect the dates of payment in the time allowed for responding
                               to this questionnaire, explain why and do not complete this
                               field. If you collect the information but a particular invoice is
                               unpaid, enter zeros in this field for that invoice.


                                                c-1s
  Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
      Case 1:17-cv-00199-CRK Document 54-1                   Filed 09/19/18   Page 21 of 94
                Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16




ANSWER:        TUS has reported the date of receipt of payment based on the date recorded in its

payrnent ledger. We have reported July 19, 2016 for sales for which payment has not yet been

received. If TUS received payment in more than one installment, TUS has reported the

additional payment dates in PAYDATE2U, PAYDATE3U, etc.


FIELD NUMBER          11.0:    Terms of Delivery

       FIELD    NAME:           SALETERU

       DESCRIPTION:             1   :   Delivered
                               2:FOB
                               3-n       : Specify other delivery terms as required.
       NARRATIVE:              Describe the terms of delivery offered and indicate the code
                               used for each. The codes for delivery terms listed above are
                               examples only. You need not use them.

ANSV/ER:       TUS has reported either EXW or DDP terms of sales in the sales listing. Under

EXW terms of sale, loading and carriage of goods from the warehouse or other place of delivery

are arranged by the   buyer. Under DDP terms of sale, carrrage of the goods to the named place of

destination, ready for unloading, is arranged by the seller


FIELD NUMBER          12.0:    Terms of Payment

       FIELD    NAME:          PAYTERMU

       DESCRIPTION:            Report terms of payment granted the customer.

                                I :30 days after invoice.
                               2 : 60 days after invoice.
                               3- n: Specify other payment terms as required.

       NARRATIVE:              Describe each of the terms of payment you offer and indicate
                               the code used for each. If the terms vary by channel of
                               distribution, explain how these are related. If the payment
                               terms you offer are tied to early payment discounts or to
                               interest penalties for late payment, please explain. Indicate
                               whether the payment terms are stated or coded on each invoice
                               or, otherwise, how customers agree to payment terms.


                                                    c-16
  Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
     Case 1:17-cv-00199-CRK Document 54-1               Filed 09/19/18      Page 22 of 94
              Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16




                             The codes for payment terms listed above are examples only.
                             You need not use them.

ANSWER:       TUS has reported the actual terms of payment in this field.


Fields 13 throueh 17
Report the information requested concerning the quantity sold and the price per unit paid
in each sale transaction. AII price adjustments granted, including discounts and rebates,
should be reported in these fields. The gross unit price less price adjustments should
equal the net amount of revenue received from the sale. If the invoice to your customer
includes separate charges for other services directly related to the sale, such as a charge
for shipping, create a separate field for reporting each additional charge. Refer to the
Glossary of Terms at Appendix I for a more complete description of each of the price
adiustments listed.

FIELD NUMBER       13.1:     Quantity

      FIELD   NAME:          QTYU

      DESCRIPTION:           Report the sale quantity for this transaction. In general, this
                             quantity will be the quantity of the specific shipment or invoice
                             line, net of returns where possible. For sales that have not
                             been fully shipped/invoiced at the time the computer data for
                             this section is prepared, report the quantity of the sale not yet
                             shipped (total quantity sold less the quantity shipped and
                             invoiced to date and reported in this file in separate records).

                             For example, assume the date of sale is the date of the
                             customerrs order. In the last month of the POR a customer
                             orders 100 tons to be shipped in 5 lots of20 tons each once
                             every 30 days. At the time of preparation of your
                             questionnaire responser 3 of the 5 shipments have been made
                             and an invoice sent for each shipment to the customer.

                             The file you submit to the Department should contain 4
                             records: one record for each shipment and invoice and a fourth
                             record for the unshipped amount of 40 tons. For the record
                             containing the unshipped 40 tons, complete the adjustment
                             fields based on estimates.

      NARRATIVE:             Explain how returns, if you permit them, affect your     sales
                             reported in the general ledger and sales ledger.




                                             c-17
 Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
      Case 1:17-cv-00199-CRK Document 54-1                 Filed 09/19/18     Page 23 of 94
                  Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



ANSWER:           TUS has reported the subject merchandise sales quantity for each observation in

number of nominal watts sold, net of any returns or cancellations.   All subject merchandise sold

and invoiced by TUS during the POR was       fully shipped during the POR.

FIELD NUMBER           13.2:     Module Quantity

          FIELD   NAME:          MODQTYU

       DESCRIPTION:             Report the total number of modules sold for this sales
                                observation.

ANSWER:           TUS has reported the number of subject modules sold for each observation, net   of

any returns or cancellations. Trina also has reported in field PV/RPMODU the nominal power

output per module.


FIELD NUMBER 13.3:               Cell Quantity

       F'IELD NAME:              CELLQTYU

       DESCRIPTION:             Report the total number of cells sold for this sales observation.
                                If the sales observation is a sale of one or more modules, report
                                the number of cells in the modules sold.

ANSWER:           TUS has reported the number of subject cells sold for each observation, net of any

returns or cancellations. Trina also has reported in field CLPMODU the number of cells per

module.


FIELD NUMBER           13.4:    Total Packed \Meight

       FIELD      NAME:         TPACKU

       DESCRIPTION:             Report the total transaction packed weight for each
                                observation.

ANSV/ER:          TUS has reported the total packed weight for each observation. This is the

packed weight per module multiplied by the total number of modules in each observation.




                                                 c-18
  Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
      Case 1:17-cv-00199-CRK Document 54-1               Filed 09/19/18     Page 24 of 94
                Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



FIELD NUMBER        13.5:     Cell Grade

       FIELD   NAME:          CELLGRADU

       DESCRIPTION:           Report the cell grade per the codes set forth below. For
                              modules and other downstream products, report the average
                              cell grade.

                              01   :
                                  Prime, usable in prime grade modules
                              02: Non-prime, usable in non-prime or second grade modules
                              04: Non-prime, usable in individual cell applications only (e.g.,
                              hobby applications)

ANSWER:        Trina has reported the cell grade in this field. During the POR, all sales were   of

prime grade modules using prime grade cells.


  Fields 14 throueh 17
  Report the sale price, discounts, and rebates in the currencies in which they were earned
  or incurred. If a field is expressed in the same currency in all records in the fÌle, simply
  note the currency name on the descriptive chart requested in section B of Appendix II
  (Instructions for Submitting Computer Data - Documentation of File Formats).
  However, if a revenue or expense field is expressed in one currency in certain records
  and another currency in other records, create a companion field that designates the
  currencv for each record with a code or abbreviation.

FIELD NUMBER        14.0:     Gross Unit Price

       FIELD   NAME:          GRSUPRU

       DESCRIPTION:           Report the unit price recorded on the invoice for sales shipped
                              and invoiced in whole or in part. To report portions of sales
                              not yet shipped, provide the agreed unit sale price for the
                              quantity that will be shipped to complete the order. This value
                              should be the gross price for a single unit of measure.
                              Discounts and rebates should be reported separately in fÌelds
                              numbered 16.n and 17.n, respectively.

ANSV/ER:       TUS has reported the per-watt price from the invoice (i.e., the total value divided

by the total watt power for each invoice line item). All sales were fully shipped during the POR;

there were no partial shipments.




                                               C-19
  Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
          Case 1:17-cv-00199-CRK Document 54-1               Filed 09/19/18     Page 25 of 94
                   Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



FIELD NUMBER 15.1-n: Bitling Adjustments

           FIELD   NAME:          BILLADJU

           DESCRIPTION:           Report any price adjustments made for reasons other than
                                  discounts or rebates. State whether these billing adjustments
                                  are reflected in your gross unit price.

ANSWER:            During the POR, TUS had only a limited number of billing adjustments that were

issued in the form of debits or credits. Exhibit C-4 contains a worksheet showing the reason      for

the price adjustment and the calculation of the billing adjustments reported for sales in the U.S.

sales    listing. To calculate the net U.S. price, these adjustments should be added to the gross unit

price.


FIELD NUMBER            16.1:     Early Payment Discounts

           FIELD   NAME:          EARLPYU

          NARRATIVE:              Explain your policy and practice for granting early payment
                                  discounts. Describe each type of discount granted and the
                                  basis for etigibility for such discount. Explain how you
                                  calculated each additional per-unit discount. Where available,
                                  provide sample documentation, including sample agreements,
                                  for this fype of discount.

ANSWER:            TUS had no early payment discounts for the reported sales and has omiued this

field from the U.S. sales listing.

FIELD NUMBER            16.2:     Quantity Discounts

          FIELD    NAME:          QTYDISU

          DESCRIPTION:            Report the unit value of any discount granted to the customer
                                  due to the quantity of the purchase.

          NARRATIVE:              Explain your policy and practice for granting quantity
                                  discounts. Describe the basis for eligibility for such discounts.
                                  Explain how you calculated the per-unit discount. Provide
                                  your quantity discount schedule or other documentation
                                  establishing the discount program.



                                                  c-20
  Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
       Case 1:17-cv-00199-CRK Document 54-1                    Filed 09/19/18    Page 26 of 94
                 Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



ANSWER:         TUS had no quantity discounts for the reported sales and has omitted this field

from the U.S. sales listing.


FIELD NUMBER          16.3(1-n):       Other Discounts

        FIELD    NAME:          OTHDIS(1-n)U

        DESCRIPTION:            Report the unit value of other discounts granted to the
                                customer. Create a separate field for reporting each discount
                                granted.

        NARRATIVE:              Explain your policy and practice for granting each additional
                                discount. Describe each type of discount granted and the basis
                                for eligibility for such discount. Explain how you calculated
                                each additional per-unit discount. Where available, provide
                                sample documentation, including sample agreements, for each
                                type of discount.

ANSWER:         TUS had no other discounts for the reported sales and has omitted this field from

the U.S. sales listing.


FIELD NUMBER          l7.l-nz   Rebates

        FIELD    NAME:          REBATE(1-n)U

        DESCRIPTION:            Report the unit value of each rebate given to the customer.
                                Create a separate field for reporting each rebate granted.
                                Rebates should be reported with the sales to which they apply.

        NARRATIVE:              Explain your policy and practice for granting rebates and
                                describe each type ofrebate granted. Ifrebates vâry, explain
                                why. For rebates that have not yet been paid, describe how
                                you computed the amount to be rebated. Include your
                                worksheets as an attachment to the response. Where available,
                                provide documentation, including sample agreements, for each
                                type of rebate.

ANSWER:         During the POR, TUS did not have       a   policy or practice for granting rebates. TUS

granted no rebates for the reported sales and has omitted this field from the U.S. sales listing.


Fields 18 throueh 30
Report the information requested concerning activities undertaken to bring the


                                                C-21
  Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
      Case 1:17-cv-00199-CRK Document 54-1                Filed 09/19/18        Page 27 of 94
                Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



 merchandise from the place of manufacture to the customerrs place of delivery (if f.o.b.,
 e.g., from factory to port in country of manufacture or if c.i.f., from factory to delivery
 port in United States). Add fields, if needed. (Field 28 can be used for other U.S.
 transportation expenses not requested separately.) For merchandise which was sold
 during the POR but which has not been shipped at the time of preparation of the response,
 report estimated amounts and your basis for these estimates.

 The fields listed below anticipate the types of transport activities commonly incurred on
 international shipments. However, it is not uncommon for certain of these transport
 expenses to be combined in a single fee paid a transport company (e.g., combined ocean
 transport and U.S. internal transport to the customer's place of delivery). If amounts are
 combined, do not attempt to separate them but report them in a single field and explain in
 your narrative response.

FIELD NUMBER        18.1:     Inland Freight - Plant to Distribution \üarehouse

       FIELD    NAME:         DINLFTWU

       DESCRIPTION:           Report the distance in kilometers from the factory to the
                              distribution warehouse (or other intermediate location).

       NARRATIVE:             Describe the transport you used to deliver the merchandise to
                              your distribution warehouse(s) or other intermediate location.
                              Also describe your distribution warehousing for all markets.

ANSWER:        Trina did not use distribution warehouses in China or any country between China

and the United States for its U.S. sales. Trina thus has omitted this   field from its sales listing.


FIELD NUMBER        18.2:     Inland Freight - PlanfïVarehouse to Port of Exit

       FIELD    NAME:         DINLFTPU

       DESCRIPTION:           Report the distance in kilometers from the plant or
                              distribution warehouse (or other intermediate location) to the
                              port of exit.

       NARRATIVE:             Describe the transport you used to deliver the merchandise to
                              port of exit in the country of manufacture.

ANSWER:        Trina has reported the distances from the factory to the port of exit. During the

POR, there were two modes of inland transportation for shipments to the United States: truck and

river barge. Trina has reported the distance kilometers for the transportation made by truck in




                                               c-22
  Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
       Case 1:17-cv-00199-CRK Document 54-1                 Filed 09/19/18    Page 28 of 94
                 Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



field DINLFTPU TRUCK and the distance in kilometers for the transportation made by river

barge in field DINLFTPU BARGE.


FIELD NUMBER         19.0:      Domestic Inland Insurance

        FIELD    NAME:          INSURU

        DESCRIPTION:            Report 66Yestt if you incurred any inland insurance on
                                shipments from the factory or distribution warehouse (or other
                                intermediate location) to the domestic port of exit in the
                                country of manufacture. Otherwise, report 66No.t'

ANSWER:         Trina incurred domestic inland insurance on shipments from the factory to the

port of exit and has reported "Yss" in this field for all sales.


FIELD NUMBER         20.0:      Brokerage and Handling

        FIELD    NAME:          DBROKU

        DESCRIPTION:            Report "Yes" if you incurred any brokerage and handling
                                charges for each sale to the United States. Otherwise, report
                                ttNo.tt


ANSWER:         Trina incurred brokerage and handling charges on shipments from the factory to

the port of exit and has reported "Yes" in this field for all sales. These charges did not include

any expenses Trina itself incurred in preparing relevant export documentation.


FIELD NUMBER         20.1:      Market Economy Brokerage and Handling Expenses

        FIELD   NAME:           DMEBROKU

        DESCRIPTION:            If you incurred any brokerage and handling charges in a
                                market economy location, such as Hong Kong, for sales to the
                                United States, report that per-unit expense in the currency in
                                which it was incurred.

       NARRATIVE:               Identify the location, currency, and unit of measurement in
                                which this expense is incurred. Explain how you arrived at the
                                per-unit expense. Provide worksheets and a sample
                                calculation.




                                                 c-23
  Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
       Case 1:17-cv-00199-CRK Document 54-1                  Filed 09/19/18     Page 29 of 94
                 Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



ANSWER:          Trina did not incur any brokerage and handling charges in a market economy

location for the sales reported in the U.S. sales listing and has omitted this field.


FIELD NUMBER            21.0:    International Freight

        FIELD    NAME:           INTNFRU

        DESCRIPTION:             Report 66Yes" if you incurred international freight expenses on
                                 shipments to the United States by a non-market economy
                                 carrier. If so, add fields 22.1(EXPORTU) anì122.2
                                 (IMPORTU) to report, for each sale, the port of exportation
                                 and the U.S. port of importation. If goods were shipped by
                                 market economy companies and charges vvere incurred in a
                                 market economy currency, report the unit cost of ocean freight
                                 or air freight incurred on shipments from the port of exit in the
                                 country of manufacture to the U.S. port of entry, as
                                 appropriate. Report the cost in the currency in which it was
                                 incurred. If you did not incur international freight expense,
                                 report ttNo.tt

       NARRATIVE:                Ifgoods were shipped by market economy companies and
                                 charges were incurred in a market economy currency, describe
                                 how you calculated the unit cost of ocean freight and include
                                 your worksheets as attachments to the narrative response.
                                 Specify the currency.

ANSWER:          Trina has reported "Yes" in this field for all sales.


FIELD NUMBER            22.1:    Port of Exportation

        F'IELD   NAME:           EXPORTU

       DESCRIPTION:              Identify the port from which the merchandise was exported to
                                 the United States.

ANSWER:          Trina has reported in this field the port from which the merchandise was exported

to the United States.




                                                  c-24
  Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
      Case 1:17-cv-00199-CRK Document 54-1               Filed 09/19/18     Page 30 of 94
                Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



FIELD NUMBER         22.2:    U.S. Port of Importation

       FIELD    NAME:         IMPORTU

       DESCRIPTION:           Identify the port at which the merchandise was entered into
                              the United States.

ANSWER:        Trina has reported in this field the port at which the merchandise was entered into

the United States.


FIELD NUMBER         23.0:    Marine Insurance

       FIELD    NAME:         MARNINU

       DESCRIPTION:           Report 66Yes" if marine insurance was provided by a non-
                              market economy insurer for your shipments to the United
                              States. If the insurance was purchased from a market
                              economy supplier and paid for in market economy currency,
                              report the unit cost of marine insurance incurred on shipments
                              from the port of exit in the country of manufacture to the U.S.
                              port of entry. Report the cost in the currency in which it was
                              incurred.

       NARRATIVE:             If the insurance was purchased from a market economy
                              supplier and paid for in market economy currency, describe
                              how you calculated the unit cost of marine insurance and
                              include your worksheets as attachments to the narrative
                              response. Specify the currency.

ANSWER:        Trina purchased marine insurance for the shipment of merchandise to the United

States from a nonmarket economy insurer and has reported "Yes" in this field for all sales.


FIELD NUMBER         24.0:    U.S. Inland Freight from Port to \ilarehouse

       FIELD    NAME:         INLFPWU

       DESCRIPTION            For CEP sales, report the unit cost of any freight incurred on
                              shipments from the U.S. port of entry to the affiliated reseller's
                              U.S. warehouse or other intermediate location. For EP sales,
                              report the unit cost offreight from the port ofentry to an
                              intermediate location.




                                              c-2s
 Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
      Case 1:17-cv-00199-CRK Document 54-1                 Filed 09/19/18      Page 31 of 94
                Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



        NARRATIVE:             Describe how you calculated the unit cost of inland freight in
                               the United States and include your worksheets as attachments
                               to the narrative response.

ANSWER:        In its financial accounting system, TUS maintains an expense account for

recording various logistics and movement expenses. This account does not link freight expenses

electronically to individual U.S. sales, nor does it provide all the information necessary to report

transportation expenses specific to each U.S. sale. Instead, TUS maintains spreadsheets in the

normal course of business in which it assigns various movement expenses to particular

customers and to particular batch numbers. Because these expenses often relate generally to

various customers or to all imports, it is not possible to assign these costs to individual customers

for all sales. For this initial response, TUS therefore has allocated the expenses to all sales.

Exhibit C-5 provides a general breakdown of the expenses segmented between port charges,

storage costs, and freight from warehouse to customer expenses, port charges, brokerage costs,

freight from port to warehouse expenses, and warehousing costs. In field INLFPWU, TUS has

reported general port to warehouse expenses, such as handling charges, pick-up expenses, trailer

chassis fees, congestion costs, and certain additional expenses. As shown in Exhibit C-5, TUS

allocated these expenses over the total power output of all POR sales in order to derive the

INLFPV/U cost per watt expenses.

FIELD NUMBER        25.0:      U.S. Warehousing Expense

       FIELD    NAME:          USWAREHU

       DESCRIPTION:            For CEP sales, report the unit cost of warehousing expenses
                               incurred in the United States. The cost of warehousing
                               reported in this field should include only expenses incurred at
                               a warehouse not located at the distribution facility that sold the
                               merchandise. In the case of merchandise processed further in
                               the United States, report only expenses incurred at a
                               warehouse not located at the facility that processed the
                               merchandise. Reduce the cost of warehousing by any



                                                c-26
  Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
      Case 1:17-cv-00199-CRK Document 54-1               Filed 09/19/18    Page 32 of 94
               Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



                              reimbursement received from the customer. \Marehousing
                              expenses might be incurred if "just-in-time" delivery or
                              inventory segregation are conditions of sale.

       NARRATIVE:             Describe the distribution warehousing system you operate and
                              provide a list of the warehouse locations used to distribute the
                              foreign like product. Describe any warehousing services
                              provided to customers. Provide a list of customer names and
                              codes that receive warehousing services, including the name
                              and location of the warehouse used. Also, state whether the
                              warehouse is operated by a separate entity that is affiliated
                              with you and describe the nature of the affiliation.

ANSWER:        During the POR, TUS made sales from several distribution warehouses located

throughout the United States. Attached at Exhibit C-6 is a list of the distribution warehouses and

their locations. All of the warehouses used during the POR were operated by unaffiliated parties.

During the POR, TUS had no EP sales, and thus all U.S. sales were assigned U.S. warehousing

expenses. Please see Exhibit C-5 for a calculation of the per-watt warehousing expense incurred

during the POR (i.e., total warehousing expenses divided by the total power output of all POR

sales) that was reported in field USWAREHU.


FIELD NUMBER 26.0:            U.S. Inland Freight from Warehouse to the Unaffiliated
                              Customer

       FIELD   NAME:          INLFWCU

       DESCRIPTION:           For CEP sales, report the unit cost of freight incurred on
                              shipments from the affiliated U.S. reseller to the U.S.
                              unaffiliated customer. For EP sales, report the unit cost of
                              freight to the customer from the port of entry or an
                              intermediate location.

       NARRATIVE:             Describe how you calculated the unit cost of freight from the
                              warehouse or other intermediate location and include your
                              worksheets as attachments to the narrative response.

ANSWER:        During the POR, TUS incurred U.S. inland freight charges for freight from the

warehouse to unaffiliated customers for certain sales of subject merchandise. TUS has




                                              c-27
 Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
      Case 1:17-cv-00199-CRK Document 54-1              Filed 09/19/18     Page 33 of 94
               Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



calculated the inland-freight-to-customer costs by allocating the total POR freight expenses over

the total POR watt power sold that was delivered (including both subject and non-subject

merchandise). Please see Exhibit C-5 for a worksheet that shows the calculation of the per-watt

inland freight expenses incurred during the POR that are reported in field INLFV/CU.

       During the POR, TUS also charged certain customers for freight expenses that were

included on the sales invoices to the customers. To the degree that TUS received such revenue

on POR sales of subject merchandise, TUS has reported the invoice-specific freight revenue in

field FRTREVU. Please see Exhibit C-7 for the calculation of these amounts.

FIELD NUMBER        27.0:     U.S. Inland Insurance

       FIELD   NAME:          USINLINU

       DESCRIPTION:           Report the unit cost of U.S. inland insurance incurred on
                              shipments within the United States.

       NARRATIVE:             Describe how you calculated the unit cost of U.S. inland
                              insurance and include your worksheets as attachments to the
                              narrative response.

ANSV/ER:       TUS did not incur any U.S. inland insurance for the sales of subject merchandise

during the POR.


FIELD NUMBER       28.0:      Other U.S. Transportation Expense

       FIELD   NAME:          USOTHTRU

       DESCRIPTION:           Report the unit cost of any additional transportation expense
                              incurred in the United States.

       NARRATIVE:             Describe the expense and how you calculated the unit cost.
                              Include your worksheets as affachments to the narrative
                              response.

ANSWER:        TUS incurred handling charges associated with importing the product into the

United States for sales made during the POR that it has reported in USBROKU (including



                                              c-28
 Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
      Case 1:17-cv-00199-CRK Document 54-1                Filed 09/19/18     Page 34 of 94
                Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



demurrage, drayage port to warehouse, importer security filing fees, and terminal fees). TUS

also incurred certain general port charges (i.e., port pier pass charges, per diem and wait-time

expenses, vessel charges, transloading expenses, and storage costs) that it has reported in field

USOTRU. Fuel surcharges and redelivery expenses are reported in field USOTRCU. Please see

Exhibit C-5 for the calculation of the per-watt expenses for these charges incurred during the

POR, which like inland freight and warehousing expenses were allocated over all POR sales.


FIELD NUMBER        29.0:     U.S. Customs Duty

       FIELD    NAME:         USDUTYU

       DESCRIPTION:           If terms of sale included this charge, report the unit amount of
                              any customs duty paid on the merchandise under
                              consÍderation. Include in the unit cost the U.S. customs
                              processing fee and the U.S. harbor maintenance fee.

       NARRATIVE:             Describe how you calculated the unit cost of U.S. customs
                              duties and customs fees, and include your worksheets as
                              attachments to the narrative response.

ANS\MER: While the customs duty rate on solar module imports inzero percent, TUS
incurred merchandise processing fees and harbor maintenance fees for sales made during the

POR. Beginning in2014, Trina began recording merchandise processing fees and harbor

maintenance fees in Accounts 5201070000 and 5201080000 (i.e., antidumping duty and

countervailing duty deposits) because the expenses were billed to Trina together with AD and

CVD deposit requirements. In order to ensure that all duty expenses are reported to the

Department, Trina is reporting harbor maintenance fees and merchandise processing fees in field

USDUTYU in this response by multiplying the entered value of each sale by 0.4714o/o (i.e.,

0.3464% merchandise processing fees + 0.0125% harbor maintenance fees). Trina notes that this

approach is conservative because Customs and Border Protection caps the merchandise

processing fees for each entry at $485, and TUS often had entries of merchandise with total



                                               c-29
  Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
      Case 1:17-cv-00199-CRK Document 54-1              Filed 09/19/18     Page 35 of 94
               Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



entered values that required that the cap be used (whereas the percentage applied in USDUTYU

ignores any such cap)..


FIELD NUMBER        30:       Destination

       FIELD   NAME:          DESTU

       DESCRIPTION:           Report the U.S. postal "ZlP)' code of the customer's place of
                              delivery.

ANSWER:        TUS has reported the U.S. postal zip code and the state of the customer's place   of

delivery in the United States in fields DESTU and STATEU, respectively.


Fields 31 throueh 40
FOR CEP TRANSACTIONS ONLY: Report the information requested concerning the
selling expenses listed, if they are incurred in the United States. Include the expenses of
any affiliated selling agents instead of the commissions paid to those agents. These
expenses will be used to make adjustments for CEP deductions. Report only direct
expenses in Fields 38-40. Refer to the definitions of circumstances of sale and direct and
indirect expenses in the Glossary of Terms at Appendix I.

FIELD NUMBER        31.0:     Commissions

       FIELD   NAME:          COMMU

       DESCRIPTION:          Report the unit cost of commissions paid to selling agents and
                             other intermediaries. If more than one commission was paid,
                             report each commission in a separate fÌeld. Do not report
                             commissions paid to affiliated selling agents unless there is a
                             compelling reason that you cannot report an affiliated agent's
                             actual expenses.

       NARRATIVE:            Describe the terms under which commissions vvere paid and
                             how commission rates were determined. Explain whether the
                             amount of the commission varies depending on the party to
                             whom it is paid and whether that party is affiliated with you.
                             Include samples of each type of commission agreement used.

                             If you report payments to any affiliated selling agent in lieu of
                             the agent's actual expenses, provide an explanation of why you
                             are unable to report those actual expenses. Indicate whether
                             the commissions were paid at armrs length by reference to
                             payments to unaffiliated parties in the United States, the



                                              c-30
 Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
       Case 1:17-cv-00199-CRK Document 54-1                 Filed 09/19/18   Page 36 of 94
                 Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



                                foreign market and other markets. Submit evidence
                                demonstrating the arm's-length nature of the commissions.

ANSWER:          TUS did not incur this expense during the POR and has omitted this field from the

sales listing.


FIELD NUMBER          32.0:     Selling Agent

        FIELD    NAME:          SELAGENU

        DESCRIPTION:            Report the name or internal code designating the
                                commissioned selling agent or intermediary. If more than one
                                commission vvas paid, report the name and code of each selling
                                agent in a separate field.

        NARRATIVE:              Provide a list of commissioned selling agents and
                                intermediaries and an internal code for each, the applicable
                                commission rates, and whether the agent is affiliated with you.

ANSWER:          TUS did not incur commission expenses during the POR and has omitted this

field from the sales listing.

FIELD NUMBER          33.0:     Selling Agent Relationship

        FIELD    NAME:          SELARELU

        DESCRIPTION:            Report the code designating affiliation.

                                I : Unaffiliated
                                2   :   Affiliated

ANSWER:          TUS did not incur commission expenses during the POR and has omitted this

field from the sales listing.

FIELD NUMBER          34.0:     Credit Expenses

        FIELD    NAME:          CREDITU

        DESCRIPTION:            Report the unit cost of credit computed at the actual cost of
                                short-term debt incurred by your company. It is preferable to
                                use a rate paid on short-term borrowing in U.S. dollars. If you




                                                     c-31
  Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
      Case 1:17-cv-00199-CRK Document 54-1                  Filed 09/19/18     Page 37 of 94
                Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



                               have not borrowed in U.S. dollars, use a U.S. published
                               commercial short-term lending rate.

                               This expense should be calculated and reported on a
                               transaction-by-transaction basis using the number of days
                               between date of shipment to the customer and date of payment.
                               If actual payment dates are not readily accessible in your
                               accounting system, you may base the calculation on the
                               average age ofaccounts receivable. Ifyou are paid prior to
                               shipment the imputed benefit will be added to the price.

       NARRATIVE:              Provide the equation you have used to calculate credit expenses
                               and a worksheet showing the calculation of your average short-
                               term interest rate. Explain the calculation and any other
                               factors that affect net credit costs, such as compensating
                               deposits to the extent that they \ryere a precondition for
                               acquiring the loan. Indicate the source of the short-term
                               interest rates used in the calculation.

ANSV/ER:       TUS applied the following formula to calculate credit expenses:

                 (PAYDATE     -   SHIPDATU) * (Interest Rate / 365) * GRSUPRU

TUS did not have any short-term loans and did not incur short-term U.S. interest expenses during

the POR   until September 30, 2015. Please   see   Exhibit C-8 for the calculation of the average

POR interest rates for loans received after September 30, 2015. TUS has used this U.S. dollar-

based interest rate to calculate credit expenses on all POR sales.


FIELD NUMBER        35.0:      Interest Revenue

       FIELD    NAME:          INTREVU

       DESCRIPTION:            Report the per-unit interest charges collected on each sale for
                               late payment of the invoice.

       NARRATIVE:              Describe the conditions under which you charge customers
                               interest. If the practice varies by channel of distribution or
                               category of customer, explain why it varies and how.




                                               c-32
  Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
      Case 1:17-cv-00199-CRK Document 54-1                 Filed 09/19/18      Page 38 of 94
                Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



ANSWER:        TUS generally does not charge interest to its customers and has omitted this field

from the sales listing. To the degree TUS charged its customers interest for late payments, these

adjustments are included in field BILLADJU. Please see Exhibit C-4.


FIELD NUMBER        36.0:      Advertising Expenses

       FIELD    NAME:          ADVERTU

       DESCRIPTION:            Report the unit cost of advertising specifically for the
                               merchandise under consideration that you have paid on behalf
                               of your customer. This is the cost you incurred to advertise to
                               your customerts customers.

                               Report all advertising expenses incurred to advertise to your
                               customers as part of indirect selling expenses (Field 41.0)

       NARRATIVE:              Describe separately advertising programs directed at your
                               customer's customer (a9., co-op advertising) and advertising
                               programs directed at your customers. Provide separate lists of
                               the expenses incurred for each and provide worksheets
                               demonstrating the allocation of the advertising to your
                               customerrs customer to each sale of the subject merchandise.

ANSV/ER:       TUS did not incur advertising expenses on behalf of customers during the POR

and has omitted this field from the sales   listing. During the POR, TUS incurred   expenses for

marketing, advertising, participation at trade shows, etc., but such expenses were related to

TUS's sales of subject merchandise, and all such expenses are included    as   part of TUS's indirect

selling expenses.


FIELD NUMBER        37.0:     \ilarranty Expense

       FIELD    NAME:         \üARRU

       DESCRIPTION:           Report the unit cost of warranty incurred during the POR.
                              \ilarranty expense should include only the direct expense less
                              any reimbursement received from the customer or unafÍiliated
                              suppliers. Report indirect warranty expenses as part of
                              indirect selling expenses (field 41.0). If you sell different
                              models or types of the subject merchandise, warranty cost
                              should be based upon your experience by model or type. If this


                                                 c-33
  Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
      Case 1:17-cv-00199-CRK Document 54-1                 Filed 09/19/18   Page 39 of 94
                Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



                               is impractical, express warranfy cost on the most product-
                               specific basis possible.

       NARRATIVE:              Describe both the warranty expenses incurred on sales of this
                               merchandise and the reimbursement, if any, received or
                               expected from the customer. Provide lists of the direct and
                               indirect expenses incurred and worksheets demonstrating the
                               allocation of the direct expense to each sale. Include a copy of
                               each type of warranty agreement as an attachment to the
                               response.

                               Include a schedule of direct and indirect warranty expenses
                               incurred for the subject merchandise for the three most
                               recently completed fiscal years. In addition, calculate a cost
                               per unit for each year.

ANSWER:        The instructions above request that Trina report information for warranty

expenses on CEP sales only   "if they are incurred in the United States." All warranty claims on

U.S. sales are submitted by TUS to Trina, which is responsible for the payment of any claims.

For completeness pu{poses, Exhibit C-9 contains a chart showing the total amount of both actual

and accrued warranty expenses by Trina outside the United States in2013,2014, and2015

(which includes all module sales by Trina and its affiliates).


FIELD NUMBER        38.0:      Technical Service Expense

       FIELD    NAME:          TECHSERU

       DESCRIPTION:            Report the unit cost of technical services. Include only the
                               direct expense less any reimbursement received from the
                               customer. Report indirect technical service expenses as part of
                               indirect selling expenses (field 41.0).

       NARRATIVE:              Describe the technical services provided, including any service,
                               repair, or consultation, that directly relate to sales of the
                               subject merchandise. Describe any reimbursement received for
                               these services. Provide lists of the direct and indirect expenses
                               incurred and worksheets demonstrating the allocation of the
                               direct expense to each sale of the subject merchandise.




                                                c-34
  Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
       Case 1:17-cv-00199-CRK Document 54-1               Filed 09/19/18    Page 40 of 94
                 Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



ANSV/ER:         TUS did not incur this expense during the POR and has omitted this field from the

sales listing.


FIELD NUMBER          39.0:      Royalties

         FIELD    NAME:          ROYALU

        DESCRIPTION:             Report the unit cost of any royalties you paid on the sale of the
                                 product. Create a separate field for each royalty paid.

        NARRATIVE:               Describe each royalty paid to third parties as a result of
                                 production or sale. Include a description of all royalties paid
                                 in this section of the narrative. The description should include
                                 the key terms of the agreements, the names of the parties that
                                 granted the rights, and a list of products covered by the
                                 agreements.

ANSWER:          TUS did not incur this expense during the POR and has omitted this field from the

sales listing.


FIELD NUMBER 40.1-n: Other Direct Selling Expenses

        FIELD    NAME:           DIRSELU

        DESCRIPTION:             Report the unit cost of other direct selling expenses you
                                 incurred on sales of the subject merchandise which are not
                                 reported in other fields. Report each additional direct selling
                                 expense in a separate field. Include only the direct expenses
                                 incurred less any reimbursement received from the customer.
                                 Report the indirect expenses incurred as part of indirect selling
                                 expenses (field 41.0).

        NARRATIVE:               Describe each type of direct selling expense incurred and your
                                 basis for considering it directly related to the sales of the
                                 subject merchandise. Include lists of the direct and indirect
                                 expenses incurred and provide worksheets demonstrating any
                                 allocation ofthe direct expenses to each sale ofthe subject
                                 merchandise.

ANSWER:          TUS did not incur other direct selling expenses during the POR and has omitted

this field from the sales listing.




                                                c-35
  Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
      Case 1:17-cv-00199-CRK Document 54-1                Filed 09/19/18     Page 41 of 94
                Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



Fields 4l and 42
FOR CEP TRANSACTIONS ONLY: Report the information requested concerning
indirect selling expenses included in fietd 41 and inventory carrying cost in fÌeld 42. The
Department will use these fields to calculate CEP, where appropriate. Refer to the
Glossary of Terms at Appendix I for a more complete description of these.

Indirect selling expenses include all sales overhead expenses (e.g., salesmen's salaries and
office rent) as well as the indirect expense categories excluded from the direct expenses
recorded in fields 36 through 38.

FIELD NUMBER 41.0:             Indirect Selling Expenses Incurred in the United States

        FIELD NAME:            INDIRSU

       DESCRIPTION:            Report the unit cost of indirect selling expenses incurred in the
                               United States. \Mhere indirect selling expenses have been
                               incurred by more than one affiliated reseller, create separate
                               fields for the expenses of each company.

       NARRATIVE:              Describe the sales and administrative overhead expenses (e.9.,
                               office rent, salesmen's salaries) incurred in the United States.
                               Include a list of the overhead expenses incurred and provide
                               worksheets demonstrating the allocation of these expenses plus
                               the indirect expenses excluded from the circumstance of sale
                               adjustments in fields 36 through 38 to each sale of the subject
                               merchandise. Where more than one company incurred indirect
                               selling expenses, submit separate worksheets for each.

ANSWER:        Trina has considered all net operating costs that it incurred during the POR that

were not direct costs to be indirect selling expenses, including, for example, all general and

administrative expenses, as well as all financial costs. Please see Exhibit C-10 for a worksheet

showing the accounts included in TUS's indirect selling expenses and the calculation of the

indirect selling expense ratio. The exhibits shows how TUS made an adjustment to indirect

selling expenses for movement expenses that were incurred during the POR, but that were not

included in TUS's logistics expense worksheets. TUS made this adjustment to ensure that all

POR expenses were captured (either in movement or in indirect selling expenses).




                                               c-36
  Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
      Case 1:17-cv-00199-CRK Document 54-1                Filed 09/19/18       Page 42 of 94
                Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



FIELD NUMBER        42.0:     Inventory Carrying Costs Incurred in the United States

       FIELD    NAME:         INVCARU

       DESCRIPTION:           For CEP sales, report the unit opportunity cost incurred from
                              the time of arrival in the United States until the time of
                              shipment from the warehouse or other intermediate location in
                              the United States to the fÌrst unaffiliated customer.

                              Compute the adjustment at the actual cost of U.S. dollar
                              denominated short-term debt incurred by your company. If
                              you have not borrowed in U.S. dollars, use a U.S. published
                              commercial bank prime short-term lending rate.

       NARRATIVE:             Describe how the products under review are stored in the
                              United States prior to sale and the average length of time in
                              inventory in the United States. Indicate the source of the
                              short-term interest rate used in the calculation. Include your
                              worksheets as affachments to the response.

ANSWER:        TUS applied the following formula to calculate inventory carrying costs:

               (Inventory Turnover Period) * (Interest Rate / 365) * ENTVALUE

       TUS has included in Exhibit C-l1 a worksheet showing the calculation of its average

inventory turnover period. TUS stores its subject merchandise at U.S. distribution warehouses.

Please see Exhibit C-8 for the calculation of the average POR interest rate.


FIELD NUMBER        43.0:     U.S. Repacking Cost

       FIELD    NAME:         REPACKU

       DESCRIPTION:           If the product is repacked in the United States, report the unit
                              cost of any repacking in the United States. Include the cost of
                              labor, materials and overhead.

       NARRATIVE:             Describe any repacking that occurs in the United States. For
                              each type of packing, provide a worksheet that demonstrates
                              the calculation of packing material, labor and overhead for a
                              single unit.

                              The worksheets should include a list of packing materials, the
                              average cost of each material, and how much of each material
                              was used. In addition, report the average labor hours by



                                               c-37
  Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
       Case 1:17-cv-00199-CRK Document 54-1                Filed 09/19/18   Page 43 of 94
                 Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



                               packing type and the average labor cost per hour including
                               benefits. Include also a list of overhead expenses incurred in
                               packing and demonstrate how these expenses were allocated to
                               each packing type.

ANSV/ER         TUS did not incur repacking expenses during the POR and has omitted this field

from the sales listing.


FIELD NUMBER         44.0:     Further Manufacturing

        FIELD   NAME:          FURMANU

        DESCRIPTION:           If you are required to report the cost of further manufacturing
                               performed in the United States, record the unit cost in this
                               field. This value is the total unit cost reported in the computer
                               data fÌle prepared in response to questionnaire Section E - Cost
                               of Further Manufacturing Performed in the United States.

                               If you have incurred further manufacturing      cost in the United
                               States but are not required to report the cost, record the code
                               r6FM" in this field for each sale of a further manufactured
                               product. Leave the field blank for sales of products that have
                               not been further manufactured.

       NARRATIVE:              If you further manufacture the subject merchandise in the
                               United States, please contact the offÌcial in charge immediately.
                               You may be required to respond to Section E of this
                               questionnaire. No additional narrative description is required
                               for thiS fÌeld. Refer to Section A question 7.

ANSWER:         The subject merchandise was not further manufactured in the United States, and

Trina therefore has omitted this field from the U.S. sales listing.

FIELD NUMBER         45.0:     Irrecoverable Input Value Added Tax (VAT)

       FIELD    NAME:          VATTAXU

       DESCRIPTION:            If VAT was paid on the inputs used to produce the subject
                               merchandise sold to the United States, and a portion of that
                               input VAT was not fully refunded on exportation, report this
                               irrecoverable (un-refunded) input VAT amount here.

       NARRATIVE:



                                                c-38
  Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
      Case 1:17-cv-00199-CRK Document 54-1               Filed 09/19/18    Page 44 of 94
                Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



       a.   Please provide the relevant laws and regulations that explain in detail the
            Chinese VAT system, in particular with respect to VAT collection, remittance,
            and refund processes for inputs consumed in production of the subject
            merchandise, and describe the tax reporting requirements to the Chinese
            Government.
       b.   For inputs consumed to produce the subject merchandise, provide the VAT tax
            rate applicable to domestic purchases and to imports.
       c.   If inputs consumed to produce the subject merchandise were imported under a
            bonded warehouse scheme, describe in detail how the bonded warehouse scheme
            works and explain whether any VAT is ultimately paid on such purchases.
       d.   For export sales of subject merchandise, provide the VAT recovery rate (i.e.,
            refund rate) applicable to such sales and the value basis to which that rate is
            applied in computing the amount, if any, of refunded VAT.
       e.   If the irrecoverable VAT amount reported in field VATTAXU is not directly
            derived as the difference between the rates reported in (b) and (d) above when
            applied to the per unit export sales value basis reported in (d) above, explain in
            detail why and provide worksheets demonstrating how you calculated the
            amount reported as VATTAXU. The worksheets must reconcile to the
            translated VAT tax returns provided in response to (f) below and be
            accompanied by a detailed narrative explanation that describes the calculations
            shown in the worksheets provided.In addition, for each reconciling item
            reported in the worksheets, provide documentation and a citation to the laws
            and regulation submitted in (a) above that fully support the reason for the
            reconciling item.
       f.   Provide a fully translated copy of all VAT tax returns filed with the Chinese
            Government covering the POI/POR.

ANSWER:        Attached at ExhibitC-12 are copies of the relevant Chinese regulations regarding

companies' VAT obligations. The regulations included in Exhibit C-12 are;    (l) Notice   on VAT

and Consumption Tax Policies for Exported Goods and Labor effective as of 1111201       l;   and (2)

Interim Regulation of the People's Republic of China on VAT (2008 Revision).

       The VAT rate applicable for Trina's purchases of inputs to produce the subject

merchandise is 17%. Please see the Interim Regulation of the PRC on VAT attached at Exhibit

C-12. The VAT refund rate for the export of the subject merchandise also is l7o/o. Please see

Exhibit C-13, which provides supporting information from the PRC State Administration of

Taxation. Because the VAT refund rate for the export of subject merchandise is the same as the

VAT rate for the purchase of inputs used to produce the subject merchandise, the difference



                                              c-39
  Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
      Case 1:17-cv-00199-CRK Document 54-1                Filed 09/19/18     Page 45 of 94
                Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



between the two applicable VAT rates is zero. As such, the input VAT was fully refunded on

exportation of the subject merchandise, and accordingly, there is no un-refunded input VAT

applicable to Trina's exports to the United States of subject merchandise. Exhibit C-14 contains

monthly copies of all VAT tax returns filed with the Chinese Government covering the POR for

producer/exporter TCZ. The translations provided at the beginning of the exhibit are for each of

the monthly returns that follow.

FIELD NUMBER        46.0:      Export and Other Taxes Paid on Subject Merchandise

       FIELD    NAME:          EXTAXU

       DESCRIPTION:           If you pay export or other taxes on your merchandise sold to
                              the United States, report them here by their fypes. Note
                              whether these taxes are specified in your sales invoices, and if
                              they are, provide examples of such invoices. If you paid no
                              such taxes but they are normally levied on exports of the
                              subject merchandise, please provide offìcial government
                              documentation that explains why you were not required to pay
                              this tax.

       NARRATIVE:             Provide a complete description of each of these taxes, including
                              the tax rate(s) and tax base(s). Include copies of all relevant tax
                              laws, government regulation and all other relevant
                              documentation.

ANSWER:        The modules exported by Trina are classified under tariff subheading 8541.4020.

Attached at Exhibit C-15 is an extract from the Chinese tariff code, which shows that the export

duty for the subject merchandise is 0%. This field therefore is omitted from the sales listing.

The excerpt in Exhibit C-l5 shows again that the applicable VAT export refund rate is I7Yo.


Duties and Other Charses
Section 772(c)(2)(B) requires that the Department deduct any export tax, doty, or other
charge imposed by the exporting country on the exportation of the subject merchandise to
the United States from the export price of constructed export price. Fields 45.0 and 46.0
listed above have been designed to capture all VAT and export taxes you have incurred in
selling the subject merchandise in the United States market. If there are additional duties
or other charges that are not reported above create a fìeld for each in the computer file,
describe the duty or other charqe in vour narrative response, and include all calculation


                                               c-40
  Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
       Case 1:17-cv-00199-CRK Document 54-1                Filed 09/19/18     Page 46 of 94
                  Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



 worksheets as attachments to your narrative response. If you are unsure whether a
 certain duty or charge should be included, please consult with the official in charge named
 on the cover page.

FIELD NUMBER           47.0:    Foreign Trade Zone

         FIELD    NAME:         FTZA

         DESCRIPTION:           Identify all sales of merchandise shipped into foreign trade
                                zones in the United States by recording the code "FTZ" in this
                                field. If you shipped the subject merchandise to an affiliate in
                                anFTZ that further processed the merchandise into products
                                not within the description of merchandise in Appendix III
                                prior to entry into U.S. customs territory, separately identify
                                these transactions with the code "ßTZA."

                                For merchandise that was not shipped into foreign trade zones
                                or was entered for consumption prior to admission to a foreign
                                trade zone,leave this field blank.

        NARRATIVE:              Explain the circumstances that pertained to FTZ transactions.
                                State whether you, your U.S. affiliate, or an unaffiliated fÌrm
                                entered (or may have entered) the merchandise into the
                                Customs territory of the United States.

ANSV/ER:         The subject merchandise exported was not shipped into any foreign trade zone in

the United States, and this field therefore was omitted from the U.S. sales listing.


FIELD NUMBER           48.0:    Manufacturer

        FIELD     NAME:         MFRU

        DESCRIPTION:            If you have sold the merchandise under consideration
                                produced by more than one manufacturer, identify the
                                manufacturer in each record by the use of a code. If the
                                manufacturer is unknown, identify your supplier.

        NARRATIVE:              If you are not the manufacturer, report the manufacturer of
                                the merchandise in your narrative response and provide a key
                                to the code.

ANSV/ER:         The subject merchandise was produced byTCZ, and "Trina" is reported in this

field for all sales.



                                                C-47
  Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
       Case 1:17-cv-00199-CRK Document 54-1               Filed 09/19/18     Page 47 of 94
                 Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



FIELD NUMBER          49.0:      Entered Value

        FIELD    NAME:           ENTVALUE

        DESCRIPTION:             For CEP sales made after importation, report the average unit
                                 entered value (U.S. Customs value) during the POR for the
                                 specific product (e.g., model) of the sale. For other sales,
                                 report the actual unit entered value (U.S. Customs value), if
                                 known. Report the entered value for all CEP sales and for EP
                                 sales for which this information is known.

ANSWER:         Trina has reported the entered value for each sale of subject merchandise in this

field. For certain entries for which entered value was not available at the time of this

submission, Trina has reported the average entered value of merchandise sold during the POR

for which the information is known.

FIELD NUMBER          50.0:      Importer

        FIELD    NAME:           IMPORTER

        DESCRIPTION:             Report the U.S. importer of record. If unknown, place the
                                 code "UNK" in this field. For CEP sales made after
                                 importation, indicate the importer of the subject merchandise
                                 entered during the POR.

        NARRATIVE:               Provide a list of importers of record with any codes or
                                 abbreviations you used to identify them. If you (or an affiliate)
                                 were the importer of record for any EP sale(s), please explain
                                 the circumstances. If you or an affiliate were not the importer
                                 of record for any CEP sale(s), please explain the
                                 circumstances. Also, if more than one affiliate was an importer
                                 of the subject merchandise during the POR, please explain the
                                 functions of each and the circumstances under which each
                                 imported the subject merchandise.

ANSWER:         TUS was the importer of record for all sales during the POR, and therefore "TLIS"

is reported in this field for each sale.




                                                 c-42
  Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
        Case 1:17-cv-00199-CRK Document 54-1                    Filed 09/19/18   Page 48 of 94
                 Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



                                              APPENDIX V

A.       Sales

ANSWER:          Trina notes that the quantity and value reported in the electronic U.S. sales listing

accompanying this response are slightly different from those figures reported in Exhibit A-1       of

the Section A response. The differences reflect returns during the POR that TUS had included in

its Section A figures, but which TUS subsequently determined were related to sales made before

the POR and other adjustments.

Please provide a reconciliation of the sales reported in your U.S. sales database to the total
sales listed in your financial statements. Provide supporting documentation (e.g., general
ledger, sub-ledger, etc.) for each step in the reconciliation. The reconciliation should
include the following:

I        A demonstration of how the POR financial statements' sales totals tie to the general
         ledger sales revenue accounts.

ANSWER           The first page of Exhibit C-16 contains the first page of TUS's 2015 income

statement that was provided in Exhibit A-18 of the Section        A response. The cumulated revenue

identified in each ofthe various general ledger revenue accounts for 2015 equals the total net

revenue for fiscal year 2015.

2        A worksheet demonstrating how the general ledgers' sales revenue accounts in step
         one, above, tie to the sales reported in the U.S. sales database. The worksheet
         should identify the total quantity and value of all sales in the fiscal years overlapped
         by the POR and identify the quantity and value of each category of non-subject
         merchandise sales that are excluded from your reported sales of subject
         merchandise (a9., domestic sales, sales outside the POR, sales to foreign markets
         other than the United States, efc.).

ANSWER:          Exhibit C-16 contains   a   reconciliation of the value recorded in TUS's financial

accounting system to the sales reported in the U.S. sales listing. As noted above, Trina had no

EP sales during the POR, and thus all reported sales were made and recorded by TUS. Exhibit

C-16 first shows a reconciliation of the sales value of merchandise sold during fiscal years 2014




                                               Appendix   V-l
    Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
           Case 1:17-cv-00199-CRK Document 54-1                 Filed 09/19/18     Page 49 of 94
                   Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



and 2015 to the sales value of merchandise sold during the POR (Step           1). The worksheet then

identifies the revenue during the POR charged to unrelated parties, i.e., excluding intercompany

sales or charges (Step   2). The next steps in the reconciliation involve the reversal of year-end

closing adjustments (e.g., to eliminate December 2015 revenue accrual and a journal entry for

sales recorded    in 2014)   and the fiscal accounting for   billing adjustments (Steps 3 and 4). It was

not necessary for TUS to account in its sales reconciliation worksheet for cancelled sales during

the POR because the quantity and value of sales that TUS recorded that subsequently were

canceled offset one another (Step 5). TUS then removed from its list of POR sales all shipments

to third countries (Step 6). The reconciliation worksheet then identifies an adjustment that was

necessary to account for merchandise that was returned during the POR that was sold prior to the

POR (Step 7). Next, TUS removed from the listing of sales all shipments of solar modules that

were produced with non-Taiwan-origin cells (Step 8). Finally, TUS removed from the listing               of

sales all shipments of solar modules that were produced with Taiwan-origin cells that were not

exported from China (Step 9). The remaining sales constitute the sales reported in the U.S. sales

listing.

3.         A detailed narrative explaining how all worksheets and supporting documentation
           tie together.

ANSV/ER:          Please see the response to question   2 above.

4.         An explanation of the means used to identify and exclude all these non-subject
           merchandise sales (a9., internal country code, product description, etc.).

ANSWER:           Please see Trina's response to Appendix       XI, question 2,1or further explanation

regarding how Trina was able to identify and exclude merchandise that is non-subject because             it

contains non-China-origin solar cells.

5.         A product list, with product codes and descriptions, of all products excluded from
           the reported sales of subject merchandise.



                                              Appendix V-2
     Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
      Case 1:17-cv-00199-CRK Document 54-1               Filed 09/19/18        Page 50 of 94
                Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16




ANSWER:        Please see Exhibit C-17 for a list of product codes that were included in TUS's

sales of merchandise that were excluded from the U.S. sales   listing. Trina   notes that these

excluded products all constitute solar modules, and that certain sales of these product codes were

excluded from the reported sales of subject merchandise not because of their physical

characteristics (which would otherwise meet the description of merchandise under review), but

because the solar cells contained in these modules were nbt produced in Taiwan.




                                          Appendix V-3
 Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
       Case 1:17-cv-00199-CRK Document 54-1                 Filed 09/19/18   Page 51 of 94
                Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



                                   APPENDIX XI
                          ADDITIONAL SECTION C QUESTIONS

1.   Please confirm that you have properly reported all sales of subject merchandise and
     only sales of subject merchandise.

ANSV/ER:       Trina has reported all sales of subject merchandise during the POR. As explained

in Section A, all of Trina's sales of subject merchandise to the United States were made to its

affiliated U.S. importer, TUS, and TUS made the sales to the first unaffrliated customers in the

United States. Therefore, all of Trina's POR sales are classified properly as constructed export

price sales. Because all of Trina's sales are CEP sales, the quantities and values reported in the

Section C sales listing do not reflect merchandise exported/shipped to, or entered into, the United

States during the POR, but rather reflect TUS's resales during the POR to unrelated U.S.

customers. As explained in its quantity and value response, most of the subject merchandise sold

was imported into the United States prior to the POR; the subject merchandise that entered the

United States during the POR was contained in batches DBFH623, DBFH671, DBFH704,

DBFH7l5, DBFH7l9, DBFH720, and DBFHT2I identifted on Trina Invoice TCZ-AI|j42-

1407-XSI-13404-9-15 and shown in Exhibit A-23 of the Section A response.

2.   Please explain in detail how you are able to determine which U.S. sales are subject
     merchandise (Chinese-origin solar cells) and which U.S. sales are non-subject
     merchandise (do not contain Chinese-origin solar cells). For example, what internal
     documents and systems do you have which can identify the solar cell origin for modules
     which are shipped to the United States and then, after modules are imported, what
     internal documents and systems do you have which can identify the country of origin
     for the solar cells. Please explain the steps you have taken to ensure that you have
     properly reported the correct U.S. sales of subject merchandise.

ANSWER:        When solar cells enter Trina's materials inventory, the material code assigned to

the cells distinguishes whether the cells were produced by Trina or linked to a particular

purchase order. When Trina produces modules, the work order for module production lists the

material code of the cells. When Trina is producing for the U.S. market, its production managers


                                          Appendix   XI-l
  Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
       Case 1:17-cv-00199-CRK Document 54-1                Filed 09/19/18         Page 52 of 94
                  Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



know and ensure that all cells within a given work order must be either self-produced or

purchased. The module serial number for the finished goods produced is linked to the work

order number in Trina's ERP system. When packing for shipment, each pallet number is linked

to the module serial numbers for all goods palletized. When preparing for containerization, the

products of identical product code are grouped together and assigned a batch number; this batch

number is linked to the associated pallet numbers. Because Trina can track the batch numbers

associated    with each container number, TUS can determine manually the container number for

each sale from its inventory. Moreover, because Trina's ERP system maintains the links

between the cell material code and the work order and this information is carried forward to the

batch number, Trina can identify the cell origin and Trina double-checks the cell origin prior to

containerization. And, because TUS can manually link each U.S. sale to a particular container

number (and by extension to each batch number), TUS can determine through a very onerous

process the origin of the cells in the modules for all of its sales during the POR.

        The simplified tracking path for tracing the cell origin is as follows:

Cell Material Code No. > Work Order No. > Pallet No. > Batch No. > Container No. > TUS

Invoice Number

3.   Along with the sales reconciliation that you submit with your Section C response, please
     provide the following information :
        a. a flow chart that starts with the total population of sales and shows every type of
            sale that is excluded from your reported sales of subject merchandise (i.e.,
            domestic sales of the merchandise under consideration, export sales of the
            merchandise under consideration to markets other than the United States, sales
            of merchandise not under consideration, etc.)
        b. an explanation of the means used to identify and exclude all non-subject
            merchandise sales (9f,, internal country code, product code, etc.)

ANSWER:          Please see the sales reconciliation worksheet provided in Exhibit    C-ló.

4.   Please   report in your sales database all instances where you sold samples to customers
     in the United States. Please include   a field in your sales database identifying these sales



                                           Appendix XI-2
  Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
         Case 1:17-cv-00199-CRK Document 54-1               Filed 09/19/18         Page 53 of 94
                  Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



      as sample sales. As requested under item II, "Computer File of U.S. Sales" in the
      general instructions for section C of the questionnaire, please explain the circumstances
      under which the sample transactions were made.

ANSV/ER:          Trina did not have sales of samples during the POR.

5.    Please identify the unit of measure used in reporting sales quantity. Please provide a
      description of how you have defined your unit of measure.

ANSWER:           In accordance with the Department's instructions, Trina has reported sales

quantities in watts, modules, and number of cells.

6.    For each sale in which you were responsible for ocean freight charges and did not incur
      market-economy freight costs, please report in your sales database the type, dimensions,
      and weight of the container used to transport subject merchandise to the United States.

ANSWER:           For each sale, Trina has reported in the sales listing the type (CONTYPEU),

dimensions (CONDIM), and weight (CONV/GT) of the shipment of subject merchandise to the

United States. Most sales during the POR were shipped in steel dry cargo containers (reported in

CONTYPEU as "SDCC") that were 40' Hi-Cube (reported in CONDIM                 as   40HQ) with exterior

dimensions of 40'-0" (length) by 8'-0" (width) by 9'-6" (height), and with a tare weight of 9,260

pounds. Trina had a few sales shipped in steel dry cargo containers (reported in CONTYPEU               as


"SDCC") that were 20' (reported in CONDIM as 20GP) with exterior dimensions of 20'-0"

(length) by 8'-0" (width) by 8'-6" (height), and with atare weight of 5,290 pounds. Most of

these shipments were not    fulI container loads. Trina also had   a few sales shipped   in steel dry

cargo containers (reported in CONTYPEU as "SDCC") that were less than full container loads

(reported in CONDIM as LCL).

7.    Please confÌrm that you have reported all prices, adjustments and factors of production
      on a per waff basis.

ANSWER:          Trina confirms that it has reported all prices and adjustments in its sales listing on

a   per-watt basis.




                                            Appendix XI-3
    Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
    Case 1:17-cv-00199-CRK Document 54-1                 Filed 09/19/18    Page 54 of 94
                Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



                                        EXHIBIT LIST


         C-l          U.S. Sales Database

         C-2          List of Product Codes and Control Numbers

         c-3          Customer Codes

         c-4          Billing Adjustments

         c-5          Movement Expenses

         c-6          Warehouse Locations

         c-7          Freight Revenue

         c-8          Interest Rate Calculation

         c-9          Warranty Expenses

         c-10         Indirect Selling Expenses

         c-l1         Inventory Turnover Period

         c-t2         Copies of Regulations Regarding the Imposition of VAT

         c-13         Documents Showing the Applicable VAT Refund Rate

         c-t4         VAT Returns Filed for the POR Period

         c-15         Excerpt from the PRC Customs Import and Export Tariff

         c-t6         Sales Reconciliation

         c-t7         List of Products Excluded from the U.S. Sales File




Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
    Case 1:17-cv-00199-CRK Document 54-1               Filed 09/19/18    Page 55 of 94
             Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16




                               EXHIBIT C-l




Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
    Case 1:17-cv-00199-CRK Document 54-1                                                                 Filed 09/19/18                          Page 56 of 94
               Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16




                                                CFYSTALLINE SILICON PHOTOVOLTAIC PRODUCTS FROM CHINA
                                                         CHANGZHOU THINA SOLAR ENERGY CO,, LTD,
                                                   ADII,IINISTRATIVE REVIEW JULY 2014  JANUARY 2016  .
                                                             JULY '19, 2016 SECTTON C DATABASE
                                                               LISÎING OF U.S. MAFKET SALES

                                                                     The CoNTENTS Procedure

                         Data Set          Name             TODOC.TFINA USO1                               0bservations                     3s4
                         Menber Type                        DATA                                           Va   ri   able s                 71
                         Eng     ine                        V9                                             Indexes                          0
                         Created                            07   /1512016 16is4'.27                        0bse¡vation Length               544
                         Last Modified                      0711512o16 16154:27                            Deleted observations             0
                         Protect ion                                                                       Conpressed                       NO
                         Data Set Type                                                                     So   rted                        NO

                         Label
                         Data Hepresentation                wrNDows 64
                         Enc od    in g                     wlatinl          Western (Windows)


                                                            Engine/Host Dependent Information

           Data Set Page Size                       65536
           Nunben   of Data Set        Pages        4
           Finst Data Page                          1

           Max obs per Page                         120
           obs in First Data Page                   104
           Number of Data Set Repairs               0
           ExtendObsCounte r                        YES
           FiIe name                                S:\So.lar Panels\Solar2\Af,l-China\ADD\Trina\Data                         to DoC\trina us01,sasTbdat
           Belease Created                          9.0401[.t1
           Host Created                             X64   TPRO




                                                        Alphabetic       List of Variables          and   Attributes
                             #          Variable                   Type Len            Fornat                   Infornat        Labe   I
                          11            BACKMATU                   Char                $2,                      $2.             BACKIIATU
                          21            BATCH                      char                $8.
                                        BATTERYU                   char                $2.                      $2.             BATTERYU
                          44            BI LLADJU                  Num                 8.6
                             I          CELLBAKU                   char                                         s2,             CELLBMU
                          42            CELLGRADU                  Char                s2.
                          39            CELLQTYU                  Nun                  8.
                             I          CELLTEKU                  Char                 $2.                      $2.             CELLTEKU
                          40            CLPMODU                   Num                  8.
                          70            CONDIMU                   Cha n                $6.
                           4            CONNUMU                   Char                 $21      .               $21             CONNUMU

                          69            CONTYPEU                  cha    r             $4,
                          71            CONWGTU                   Nun                  8.
                          63           CREOITU                    Nun                  12,4
                           6            CRYSTALU                  chan                 $1   ,                   $1 .            CRYSTALU
                          17           CUSCODU                    Char                 $45.                     $s6             CUSCODU
                          4A           DBROKU                     Char                 S3.
                          61           DESTU                      Chan                 $1   2,                  $s.
                          46           DTNLFTPU BARGE             Nun                  8,
                          45           O]NLFIPU fFUCK             Num                  L
                          67            ENTVALUE                  Num                  8.4                                      ENTVALUE
                          50            EXPORTU                   char                 $1   1,                  $11             EXPOBTU
                                        FORMU                     Cha¡                 $1   .                   $1   .          FORIIIU
                          10            FBAT,tEU                  Cha¡                 s2.                                      FRA].IEU
                          12            FRNTMA-TU                 char                 92,                      $2.             FRNTMATU
                          56            FRTREVU                   Num                  4,4
                          43           GRSUPRU                    Num                  6.4
                          68            IMPOFTER                  char                 $0.
                          51            IMPORTU                   chan                 $33,                     $33             IMPORTU
                          64            I NDIFSU                  Nun                  8.4
                          53            INLFPWU                   Nun                  '12.8
                          55            INLFWCU                   Num                  't2,8
                          47            INSURU                    cha    r             $3.
                          49            INTNFBU                   Cha n
                          65            INVCARU                   Num                  4.4
                          14            INVERTBU                  char
                          20            INVOIÔEU                  Char                 $8,                      $6              INVOICEU
                          13           JBOXU                      cha    r             $2.                                     JBOXU
                          52           MAHNINU                    cha    r             $3.




Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
    Case 1:17-cv-00199-CRK Document 54-1                                             Filed 09/19/18                  Page 57 of 94
             Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16




                                   CRYSTALLINE SILICON PHOTOVOLTAIC PRODUCTS FROM CHINA
                                          CHANGZHOU TFINA SOLAR ENEFGY CO., LTO.
                                      ADMINISTRATIVE REVIEW JULY 2014 - JANIJARY 2O'I6
                                             JULY 19I 2016 SECTION C DATABASE
                                                   LISTING OF U.S,   MAFKET SALES


                                                      ThÞ CONTENTS ProcêduFe

                                             Alphab€tic   List of Variables     and   Attributes

                      #    Variable                 Type Len         Fonmat              Infornat   Label

                     66    MFRU                     Char         5   $s.
                     37    MODOTYU                  Nun          I   8.2
                     33    PAYDAÍE'1    OU          Num              MMDDYY'1   O.       DATEg.     PAYDATEl    OU
                     24    PAYDAIEl     U           Nun          I   MMDDYY1 O.          DATEg,     PAYDATEl    U
                     25    PAYDATE2II               Nun          I   MMDDYYl O,          DATES-     PAYDATE2U
                     26    PAYDATE3U                Nun          I   MMDDYYl O.          DATE9,     PAYOAIE3U
                     27    PAYDATE4U                Nun          I   MMDDYYl O.          DATE9.     PAYDATE4U
                     2A    PAYDATEsU                Nun          I   MMDDYYI O.          DATE9.     PAYOATESU
                     29    PAYDATE6U                Nun          I   MMDDYYI O.         OATE9.      PAYDATE6U
                     30    PAYDATETU                Num          I   MMDDYY1 O.         DAIE9.      PAYDATETU
                     31    PAYOATEEU                Nun          I   MMDDYYl O.         DATE9.      PAYDATESIJ
                     32    PAYDATE9U                Num          I   MMDDYYl O.         DATE9.      PAYDATESU
                     23    PAYI'ENTU                Num          I   MMDDYYI O.
                     35    PAYTERMU                 char       15    $1 s.              $11         PAYTERMU
                      2    PB0DC0D1l..l             cha   r     10   $1 o.
                      3    PRODCOD2U                char       10    $1 o.
                     38    PWBPMODU                 Char             $3.
                     36    QTYU                     Num          I   8,2
                     19    SALEDATIJ                Nun          I   MMDDYY,I O.
                     34    SALETEFU                 cha   r      3   $3.                $3          SALETERU
                     16    SALEU                    char         3   $3.
                     '18   SALINDTU                 Nun              MMDDYY1 O.         DATEg.      SALINDTU
                      1    SEOU                     Nun          I   8.
                     22    SHIPDATU                 Nun          I   MMDDYY'I O.        DATE9       SHIPDATU
                     62    STATEU                   char         2   s2.
                      7    TOTPOI,IRU               char         3   $3.                            TOfPO$iRU
                     41    TPACKU                   Num          I   8.
                     57    USBROKU                  Nun          I   a.4
                     60    USDUTYU                  Num          I   8,4
                     59    USOTRCIJ                 Num          s   12,S
                     5S    USOTFU                   Nun          I   12,g
                     54    USWABEHU                 Num          I   12.A




Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
                            Case 1:17-cv-00199-CRK Document 54-1                                                               Filed 09/19/18                            Page 58 of 94
                                              Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16




                                                                            CRYSTALLINE SILICON PHOTOVOLTAÍC PRODUCTS FROM CHINA
                                                                                   CHANGZHOU TÂINA SOLAR ENEFGY CO.J LTD'
                                                                               ADIVINISIRAIIVE REVIEW JULY 2014            .
                                                                                                                 JANUAFY 2016
                                                                                            JULY 19, 2016 SECtloN C DATABASE
                                                                                              LISTING OF U,S. IIIARKET SALES


      SEOU PRODCOD'1U PRODCOD2U               CONNUI\,IU                         FORMU CRYSTALU ÍOTPOWRU       CELLTEKU CELLBAKU FBAI¡EU BACKI\IATU FFNÍMATU JBOXU INVERTRU BATTERYU SALEU

          1

          3


          I
        10
        12
        15
        17
        19
        22



CUSCODU                                                                 SALINDTU          SALEDATU INVOICEU BATCH              SHIPDATU             PAYMENTU PAYDATEIU PAYDATE2U PAYDATE3U PAYDATE4U




PAYDATE5U PAYDATE6U PAYDAÍETU PAYDATE8U PAYDATEgU PAYDATE1OU SALETEHU                                       PAYTERMU                      OTYU        MODATYU PWHPMODU          CELLOTYU CLPMODU TPACKU                  CELLGRADU


                                                                                                                                   1 61 951 .3          530.99                    38231        70          1'1947
                                                                                                                                   16'1951 .3           530.9S                    38231        70          11e47
                                                                                                                                   16'f 951 .3          530.99                    38231        70          1 1947

                                                                                                                                   1 64606. 3           530.99                    3S23't       70          '1
                                                                                                                                                                                                              1 947

                                                                                                                                   1 95982.8           783,   93                  47036        58          1 4581

                                                                                                                                   149926.9            587.   95                  35277                    1 0936

                                                                                                                                   1 99902.5           783.   93                  47036                    1 4581

                                                                                                                                   1   427A,7s          56.   00                   3360                        1   042
                                                                                                                                   1   99902 .5        783.   93                  47036                    1   4581
                                                                                                                                   1   53865.   I       603.40                    36204        58          128s2

                            DINLFTPU DINLFTPU
GRSUPRU       BILLADJU       TRUCK            BARGE        INSI.JRI.J DBROKIJ   INTNFPU   EXPORTU        IMPORTIJ                                             MARNINIJ          INLFPWU      USI,ì/ABEHU                 I NLFWCU


      7096    0    000000           35          263                                                                                                                        0.0001 6840     0. 00233684             0.00528089
      7096    0    000000           35          263                                                                                                                        0. 0001 6840    0. 00233684             0.00528089
      7096    0    000000           17          290                                                                                                                        0.0001 6840     0. 00233684             0.00528089
      7096    0 000000              35          263                                                                                                                        0.0001 6840     o. oo233684             0.00528089
      7241    0 000000              17          290                                                                                                                        0, 0001 6840    0. 00233684             0.00000000
      7241    0 000000                          263                                                                                                                        0.0001 6840     0. 00233684             0.00000000
      7241    0 000000              35          263                                                                                                                        0.0001 6840     0. 00233684             0. 00000000
      7241    0 000000              17          290                                                                                                                        0.0001 6840     0. 00233684             0.00000000
      7241    0 000000              35          263                                                                                                                        0. 0001 6840    0. 00233684             0 .00000000
                   009374           17          290                                                                                                                        0. 0001 6840    o. 00233684             0.0052s089



FRTHEVU           USBROKU           USOTRIJ           USOTBCU USDUTYU DESTU                     STATEU          CREDITU INDIRSU INVCARU MFBU ENTVALUE IMPORTER                             CONTYPEU CONDIMU               CONWGTU



 0. 0000             0003    0.   00031996      0.0001 6642          0.0029                                    00000000        0. 0097      0.      0020             0   6024                                               1 3828
 0. 0000             0003    0.   00031996      0. 0001 6642         0. 0028                                   00000000        0. 0097      0.      0020             0   6024                                               1 3828
 0.0000              0003    0, 00031 996       0. 0001 6642         0.0025                                    00000000        0. 0097      0.      001 7            0   5252                                               1 4230
 0.   0000           0003    0. 00031 996       0. 0001 6642         0.0028                                    00000000        0. 0097      0.      0020             0   6024                                               1 3828

 0. 0000             0003    0. 00031 996       0. 000'l 6642        0.0025                                    00266371        0. 0098      0.      001 7            0 5252                                                 1 4597

 0. 0000             0003    0, 0003'1 996      0. 0001     6642     0. 0028                                   00682575        0. 0098      0.      0020             0 6024                                                 1 3828

 0. 0000             0003    0. 00031 996       0. 0001     6642     0.0028                                    00682575        0. 0098      0.      0020             0 6024                                                 1 3828

 0. 0000             0003    0.00031 996        0. 0001     6642     0. 0030                                   00682575        0. 0098      0.      0021             0 6430                                                 1   4s97
 0. 0000             0003    0.00031 996        0, 0001     6642     0. 0028                                   00682575        0. 0098      0.      0020             0   6024                                               1   3828
 0.0000              000s    0.00031 996        0,0001      6642     0. 0030                                   0023871 6       0. 01 00     o.      0021             0 6430                                                 1   3759

                                                                                           **PIJBLIC VERSION- -RANGED DATA**



                                                                                                                                                                                                                                    _l
                  Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
                        Case 1:17-cv-00199-CRK Document 54-1                                                       Filed 09/19/18                               Page 59 of 94
                                           Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16




                                                                     CFYSTALLINE SILICON PHOTOVOLTAIC PRODUCTS FROII,I CHINA
                                                                            CHANGZHOU TRINA SOLAR ENERGY CO,, LTD,
                                                                                                               -
                                                                        ADMINISTRATIVE REVIE!1i JULY 20'14 JANUARY 2016
                                                                               JULY 19, 2016 SECTION C DATABASE
                                                                                  LISTING OF   II.S.   MARKET SALES



      SEOU PRODCOD1U PRODCOD2U             CONNUII,IU                   FORMU CBYSTALU TOTPOWBU   CELLTEKU CELLBAKU FFAMEU BACKMATU FRNTMATU JBOXU INVERTRU BATTERYU SALEU

        24
        26
        29

        34
        36
        38
        41
        43
        45


CUSCODU                                                           SALINDTU   SALEDATU INVOICEU BATCH               SHIPDATIJ PAYMENIU                      PAYDATE1    U    PAYDATE2U PAYDATESU PAYDATE4U




 PAYDATEsU PAYDATE6U PAYDATETU PAYDATEsU PAYDATEgU PAYDATEIOU SALETEHU                          PAYTERMU                          OTYU      IIIODOTYU PIVRPIIIODU       CELLOTYU CLPMODU TPACKU                       CÊLLGRADU


                                                                                                                          0783.4
                                                                                                                        1 1                   434.44                        26067               58         9254
                                                                                                                        18463. S0              72.41                         4344               58         't542
                                                                                                                        24618,54               96. 54                        5793               58         2056
                                                                                                                            61   54.63            24,14                      1 448              58          514
                                                                                                                            61   54.63            24.1 4                        1   44A         58             514
                                                                                                                        12309.27                  4A.27                         2896            58         1 028
                                                                                                                        29445.70               96.54                            6951            70         2172
                                                                                                                        '161     9s1 .3       530.99                        3823'1              70        11947
                                                                                                                        161 95'l .3           530.99                        3A231               70        11 947
                                                                                                                        1 61 951 ,3           530. 99                       382s1                         't1947

                        DINLFTPU      DINLFTPU
GRSUPRU      BILLADJU    TRUCK             BARGE        INSURU DBROKU INTNFRU   EXPORÍU    IMPORTU                                                   MARNINU               INLFPWU            US$IAREHU               INLFT/CU


  o.7337      009374           35            263                                                                                                                      0. 0001   6840      0,002336S4           0.    00528089
  o.7337      009374           35            263                                                                                                                      0.0001    6840      0. 00233684          0.    00528089
  o.7337      009374                         263                                                                                                                      o.0001    6s40      0 .00233684          0.    00528089
  o.7337      009374          35             263                                                                                                                      0. 0001   6840      0.00233684           0.    00528089
              009374          35             263                                                                                                                      0. 0001   6840      0.00233684           0.    00528089
 o,7337       oo937 4         35             263                                                                                                                      0. 0001   6840      0.00233684           0.    00528089
 o.6497       000029         212                0                                                                                                                     0. 0001   6840      0. 00233684          0.    00528089
 o.6497       000029          35                                                                                                                                      0. 0001   6840      0. 00233684          0.    00528089
 o.6497       000029          35             263                                                                                                                      0. 0001   6840      0.00233684           0.    00528089
  0. 6497     000029                         263                                                                                                                      0. 0001   6840      0. o0233684          o.    00528089



FRTREVU      USBHOKU           USOTFU               USOTRCU USDUTYU DESTU            STATEU        CREDITU INDIRSU INVCARU MFRU ENTVALUE                                   IIVPOHTER CONTYPEU CONDIMU                  CONWGTU



 0. 0000      0. 0003    0. 00031    996     0. 0001 6642        0028                           0.0023871 6        0. 01 00         0. 0020                   o.6024                                                     1 3828
 0. 0000      0. 0003    0. 00031    996     0, 0001 6642        0028                           0. 0023871 6       0.01 00          0. 0020                   o,6024                                                     1 3828
 0.0000       0. 0003    0. 00031    996     0. 0001 6642        0028                           0. 0023871 6       0. 01 00         0. 0020                   o.6024                                                     I 3828
 0.   0000    0. 0003    0. 00031    996     0.0001 6642         0028                           o. oo23a71 6       0. 0'1 00        0.0020                    o,6024                                                     1 3828

 0.   0000    0, 0003    0.00031     996     0.0001 6642         0028                           0,002387'16        0. 0'1 00        0.    0020                o.6024                                                     '13828

 0.   0000    0. 0003    0. 00031    996     0. 000'1   6642     0028                           0. 0023871 6       0. 01 00         0.    0020                o.6024                                                     1   3828
 0.   0000    0. 0003    0 . 00031   996     0. 0001    6642     0025                           0.001 09547        0. 0088          0.    00'17               o.5252                                                     1   4230
 0.   0000    0. 0003    0 . 00031   996     0.0001     6642     0028                           0. 001 09547       0. 0088          0.    0020                o.6024                                                     1 3828

 0,   0000    0. 0003    0.00031     s96     0. 0001    6ô42     0028                           0. 001 09s47       0. 0088          0.    0020                o,6024                                                     '13828
 0,   0000    0. 0003    0,00031     996     0,0001     6642     0028                           o. 001 0s547       0. 0088          0.    0020                o,6024                                                     1   3828

                                                                                r*PUBLIC VERSION- -RANGED DATA**



                                                                                                                                                                                                                               I
              Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
                       Case 1:17-cv-00199-CRK Document 54-1                                                   Filed 09/19/18                              Page 60 of 94
                                       Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16




                                                              CRYSTALLINE STLICON PHOTOVOLTAIC PBODIICTS FBOI\T CHINA
                                                                       CHANGZHoU TRrNA SoLAF ENERGY C0,, LTD.
                                                                 ADII,IINTSTRATIVE REVIEIì/ JULY 2014     -
                                                                                                      JANUAHY 2016
                                                                         JULY 19, 2016 SEClroN C         DATABASE
                                                                           LISTING OF    U.S.    MARKET SALES



    SEOU PRODCODIU PRODCOD2U CONNUIIU                            FORMU CRYSTALU TOTPOWBU CELLTEKU CELLBAKU FFAMEU BACKII,IATU FRNTII4ATU JBOXU INVERTRU BATTERYU SALEU


      4A
      50

      55
      57
      59
      62
      64
      67
      69



CUSCODU                                                    SALINDTU    SALEDATU INVOICEU BATCH                SHIPDATU              PAYMENTU PAYDATE,I           U   PAYDATE2U PAYDATESU PAYDATE4U




 PAYDATEsU PAYDATE6U PAYDATETU PAYDATESU PAYDATEgU PAYDATEIOU SALETERU                    PAYTERMU                          OTYU       MODOTYU PWRPMODU           CELLOTYU CLPMODU TPACKU CELLGFADU

                                                                                                                  1    951 .3
                                                                                                                      61                   530. 99                   3A231          70       11947
                                                                                                                  1    951 .3
                                                                                                                      61                   530. 93                   38231          70       11947
                                                                                                                  1 61 951 ,3              530.99                    38231          70       11947
                                                                                                                       ,63
                                                                                                                      61 54                    24 .14                 144A          58         514
                                                                                                                  172329,7                 675.80                    40544          58       1   4395
                                                                                                                  1   61 S51   ,3          530.99                    38231          70         947
                                                                                                                                                                                             1't
                                                                                                                  1   64606. 3             530. 99                   38231          70       11947
                                                                                                                  1   64606.3              530. 99                   38231          70       1'1947
                                                                                                                      61   54. 63              24.14                  1 44A         58               514
                                                                                                                  12309.27                     44.27                    2496                     1   028

                       DINLFTPU DINLFTPU
GBSUPRU    BILLAÍUU     TRUCK          BARGE     INSURU DBROKU INTNFRU   EXPOFTU       IMPORTU                                                    MARNINU INLFPWU USWAREHU                                 INLFWCU


 o.7337 0. 000000            35          263                                                                                                                 0.0001     6840   0.00233684             0. 00528089
 o,7337 0. 000000            17          290                                                                                                                 0.0001     6840   0, 00233684            0. 00528089
 o.7337 0. 000000           35           263                                                                                                                 0.0001     6840   0.00233684             0. 00528089
 o.7221 0. 000000           35           263                                                                                                                 0 .000'l   6840   0. 002336S4            0.00528089
 o,722'l 0. 000000          35           263                                                                                                                 0 .000'1   6840   0. 00233684            0,00528089
 o.6497 - ,000029           35           263                                                                                                                 0,0001     6840   0. 00233684            0.00528089
 0. 6439 - .000029           17          290                                                                                                                 0.0001     6840   0, 00233684            0.00528089
 0. 641 0 - . 000029                     263                                                                                                                 0.0001     6840   0. 00233684            0.00528089
 o,7048 0. 000000                        263                                                                                                                 0 ,0001    6840   0. 00233684            0.00528089
 o.7048 o. oo0000           35           263                                                                                                                 0. 0001    6840   0. 00233684            0. 00528089



FRTBEVU    USBROKIJ         USOTRU             USOTRCU USDUTYU DESTU          STATEU         CREDITU INDIHSU ]NVCAFU [IFBU ENTVALUE                               IMPORTER CONIYPEU CONDIII,IU             CONI1IGTU


 0. 0000    0. 0003     0. 00031 996     0. 0001 6642     0028                           0. 00323907          0. 01 00         0.   0020                0.6024                                                1   3828
 0. 0000    0. 0003     0, 00031 996     0. 0001 6642     0030                           0. 00323907          0.01 00          0.   0021                0. 6430                                               1   4230
 0. 0000    0. 0003     0. 00031 996     0. 0001 6642     0028                           o. oo1 1 2468        0. 01 00         0.   0020                o,6024                                                1 3828
 0, 0000    0, 0003     0,00031 996      0. 0001 6642     0028                           o, oo447044          0. 0098          0.   0020                o.6024                                                1 3828

 0.0000     0. 0003     0.00031 996      0.0001  6642     0028                           o, oo487044          0, 0098          0.   0020                o,6024                                                1 3828

 0.0000     0. 0003     0.00031 996      0. 0001 6642     0028                           0.001 49383          0. 0088          0.   0020                0. 6024
 0.0000     0. 0003     0. 00031 996     0. 0001 6642     0025                           0. 001 48051         0. 0088          0.   00'1   7            o.5252                                                14230
 0, 0000    0. 0003     0. 00031 996     0. 0001 6642     o02B                           o.oo1 42472          0. 0087          0. 0020                  o.6024                                                1 3828
 0. 0000    0, 0003     0. 00031 996     0. 0001 6642     0028                           0. 0046s922          0. 0096          0. 0020                  0. 6024                                               1 3828
 0, 0000    0. 0003     0. 00031 996     0. 0001 6642     0028                           0. 00469922          0. 0096          0. 0020                  o,6024                                                1 3828



                                                                         A*PUBL]C VERSION. -RANGED DATA*¡




            Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
                        Case 1:17-cv-00199-CRK Document 54-1                                                          Filed 09/19/18                         Page 61 of 94
                                           Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16




                                                                       CRYSTALLINE SILICON PHOTOVOLTAIC PRODUCTS FROIV CHINA
                                                                                CHANGZHOU TRINA SOLAR ENERGY CO., LTD.
                                                                          ADII,IINISTRAIIVE REVIEW JULY 2014      -
                                                                                                               JANUARY 2016
                                                                                    JULY 19, 2016 SECTIoN C DATABASE
                                                                                     LISTING OF U.S. MAFKET SALES



      SEOU PRODCOD,IU PBODCOO2U CONNUMU                                    FORMU CFYSTALU TOTPOWRU CELLTEKU CELLBAKU FFAMEU BACKII,IATU FRNTMATU JBOXU INVEFTBU BATTERYU SALEU


        71
        74
        76
        7A
        81


        85
        88
        90
        93



CUSCODU                                                             SALINDTU     SALEDATU INVOICEU BATCH              SHlPDATU              PAYMENTU PAYDATE1U PAYDATE2U PAYDATE3U PAYDATE4U




 PAYDATESU PAYDATE6U PAYDATETU PAYDATESU PAYDATEgU PAYDATE1OU SALETERU PAYTERMU                                                     OTYU     MODOÍYU PÌIIf,PMODU     CELLOTYU CLPMODU TPACKU             CELLGRADU


                                                                                                                              61   54, 63       24,14                    1448        58            514
                                                                                                                          1   75. 1
                                                                                                                              661             651 . 67                  391 00       58       1   3881
                                                                                                                          129247.3            506. 85                   3041   1     58       1   0796
                                                                                                                          3301 7 . 80         11s.85                     8341        70           2607
                                                                                                                          157124.2            506. S5                   36493        70       11404
                                                                                                                          172329,7            675.80                    40548        58       1 4395

                                                                                                                          55029. 67           1 93.09                   1 3902       70         4344
                                                                                                                          172329.7            675.80                    40548        58       '14395
                                                                                                                          172329.7            675. 80                   40548        58       1   4395
                                                                                                                              61   54.63        24.14                    1444        58            s14

                        DINLFTPU      DINLFTPU
GRSUPRU      BILLADJU TRUCK                BARGE     INSURU DBROKU INTNFRU        EXPOFTU     ]IIIPORTU                                            MAFNINU            INLFPWU      USWABEHU              INLFWCI.J


 o.7044 0 000000              35             263                                                                                                                     0001 6840     00233684         0.00528089
 0. 7048 0 000000             17             290                                                                                                                     0001 6840     00233684         0. 00528089
 0. 7048 0 000000             17             290                                                                                                                     000't6840     00233684         0. 00528089
 0. 5889 0 000000             35             263                                                                                                                     0001 6840     00233684         0. 00528089
 0. 643S   00002s             35             263                                                                                                                     0001 6840     00233684         0. 00528089
 0,7048       000000          17             290                                                                                                                     0001 6840     00233684         0. 00528089
 0. 5600      000000          35             263                                                                                                                     0001 6840     00233684         0. 00000000
 0. 7675      009374          35             263                                                                                                                     0001 6840     oo233684         0. 00528089
 0. 7675      009374                         263                                                                                                                     000'16840     002336S4         0. 00528089
 0. 7386      009374          35             263                                                                                                                     0001 6840     00233684         0.00528089



FRTREVU      USBROKU          USOTRU               USOTBCU USDUTYU DESTU                STATEU        CRED]TU INDIRSU INVCARU MFRU                       ENTVALUE IMPOFTER CONÍYPEU CONDII\,IU            CONWGTU



 0. 0000      0.0003     0. 00031    996     0 . 0001   6642   0.0028                                oo469922         0. 0096         0. 0020              0. 6024                                           1  3828
 0. 0000      0. 0003    0. 0003'1   996     0.0001 6642       0.0030                                00469922         0,0096          0, 0021              0, 6430                                           1  3759
 0. 0000      0. 0003    0. 00031    996     0.   0001 6642    0.   0030                             00469922         0. 0096         o.oo21               0. 6430                                           1 3759

 0. 0000      0.0003     0. 00031    996     0.   o001 6642    0.   0028                             00'185054        0.0080          0.0020               o,6024                                            't 3828

 0. 0000      0.0003     0. 00031    996     0.   0001 6642    0,   0028                             001 381 81       0. 0088         0.0020               0. 6024                                           1 3828

 0. 0000      0, 0003    0, 0003'1   996     0.   0001 6642    0.   0030                             oo464521         0. 0096         0.0021               0. 6430
 0. 0000      0.0003     0.0003'l    996     0. 0001 6642      0.   0028                             001 75953        0, 0076         0. 0020              o.6024                                            1 3828
 0.0000       0. 0003    0.00031     996     0. 0001 6642      0. 0028                               00203368         0. 01 04        0,0020               0. 6024                                           1 3828
 0. 0000      0. 0003    0.00031     996     0. 0001 6642      0. 0028                               00203368         0. 01 04        0. 0020              o,6024                                            1 3828

 0. 0000      0. 0003    0. 00031    996     0. 0001 6642      0, 0028                               00273838         0. 01 00        0. 0020              0, 6024                                           1 3828



                                                                                   **PUBLIC VERSION..RANGED DATAT*




              Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
                              Case 1:17-cv-00199-CRK Document 54-1                                                         Filed 09/19/18                         Page 62 of 94
                                                 Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16




                                                                            CHYSTALLINE SILICON PHOTOVOLTAIC PRODUCTS FROM CHINA
                                                                                   CHANGZHOU TRINA SOLAR ENERGY CO., LID.
                                                                               ADMINISTRATIVE REVIEW JULY 2014         -
                                                                                                                 JANUARY 2016
                                                                                        JULY 19, 20'16 SECTIoN C DAÎABASE
                                                                                          L]STING OF U.S. MARKET SALES


      SEOU PRODCODIU PRODCOD2U CONNUMU                                        FORII,IU CBYSTALU TOTPOIj'JRU   CELLTEKU CELLBAKU FRAMEU BACKMAIU FFNTI\4AIU JBOXU INVERTFU BATTERYU SALEU

          95
          97
       '1
          00
       't02
       104
       107
       109
       '1
            11
       114




CUSCODU                                                                SALINDTU      SALEDATU INVOICEU BATCH               SHIPDATU            PAYMENTU PAYDAIE1       U    PAYDATE2U PAYDATE3U PAYDATE4U




PAYDATEsU PAYDATE6U PAYDATETU PAYDATE8U PAYDATEgU PAYDATEIOU SALETEFU                                    PAYTERMU                         OTYU   IIIODOTYU PWRPMODU     CELLOTYU CLPMODU TPACKU               CELLGHADU


                                                                                                                                 55391 .70        217.22                     13033        58          4627
                                                                                                                                      54.63
                                                                                                                                     61            24.'t4                     1 448       58            514
                                                                                                                                 1 61 951 .3      530. 99                    38231        70        1 1947

                                                                                                                                 1 61 951 ,3      530. 99                    38231        70        11947
                                                                                                                                 1 61 951 ,3      530. 99                    38231        70        11947
                                                                                                                                 161951.3         530. 99                    38231        70        11 947
                                                                                                                                 1 44A1 .49        48,27                       3476       70          1 086

                                                                                                                                 72407 .46        241,36                     't7378       70          5431
                                                                                                                                 29928,42          96.54                         6951     70          2172
                                                                                                                                 14964,21            48,27                       3476     70          1 086



                              DINLFTPU      DINLFTPU
GFSUPRU          BILLADJU      TRUCK             BARGE     INSURU DBROKU INTÑFFU      EXPORTU         IMPOFTU                                           MARNINU            INLFPWU      USI4AREHU             INLFWCU


 0.7386 - .009374                   17             290                                                                                                             0.00016840           00233684        0. 00s28089
 0. 7386 - .009374                  17             290                                                                                                             0 ,0001 6840         00233684        0.00528089
 0.7096 0.000000                    35             263                                                                                                             0. 0001 6840         00233684        0,00528089
 0. 7096 0. 000000                  35             263                                                                                                             0.0001 6840          00233684        0. 00528089
 0. 7096 0.000000                   35             263                                                                                                             0.0001 6840          00233684        0. 00528089
 0. 7096 0. 000000                  35             263                                                                                                             0. 0001 6840         00233684        0.00528089
 0. 7096 0. 000000                  35             263                                                                                                             0. 0001 6840         00233684        0.00528089
 0. 7096 0. 000000                  35             263                                                                                                             0. 000 1 6840        00233684        0.00528089
 0. 7096 0. 000000                  35                                                                                                                             0. 0001 6840         00233684        0.00528089
 0.7096 0. 000000                   35             263                                                                                                             0. 0001 6840         00233684        0.00528089


FRTREVU          USBROKU            USOTRU               USOTBCU USDUTYU DESTU               STATEU           CREDIÍU INDIRSU             INVCARU    IIFRU   ENTVALUE IMPORIER CONÍYPEU CONDIMU               CONWGTU


 0,   0000        0. 0003      0. 00031    996    0.0001 6642     0.   0030                              0. 00273838       0.   0100       0. 0021            0. 6430                                            1    3759
 0,   0000        0. 0003      0. 00031    996    0. 0001 6642    0,   0030                              0. 00273838       0.   0100       0.0021             0. 6430                                            1    3759
 0.   0000        0. 0003      0. 0003't   996    0. 0001 6642    0.   0028                              0. 00000000            0097       0. 0020            o.6024                                             '13828
 0,   0000        0,0003       0. 00031    996    0.0001 6642     0,   0028                              0. 00000000            0097       0. 0020            o.6024                                             1 3828
 0.   0000        0.0003       o. 00031    996    0.0001 6642     0.   0028                              0. 00000000            0097       0. 0020            0, 6024                                            1 3828

 0.0000           0.0003       0.00031     996    0. 000 1 6642   0.0028                                 0. 00000000            0097       0.0020             0. 6024                                            1 3828

 0. 0000          0.   0003    0. 00031 996       0. 0001 6642    0. 0028                                0,00000000             0097       0. 0020            0.6024                                             '13828
 0. 0000          0.   0003    0. 00031 996       0. 0001 6642    0. 0028                                0. 00000000            0097       0. 0020            0. 6024                                            1 3828
 0. 0000          0.   0003    0. 00031 996       0. 0001 6642    0, 0028                                0. 00000000            0097       0.0020             o,6024                                             1 3828
 0. 0000          0.   0003    0. 00031 9s6       o. 0001 6642    0, 0028                                0. 00000000            0097       0.0020             o.6024                                             1 3828


                                                                                       **PUBLIC VERSION- -RANGED DATA+*




                  Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
                            Case 1:17-cv-00199-CRK Document 54-1                                                       Filed 09/19/18                            Page 63 of 94
                                             Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16




                                                                        CHYSTALLINE SILICON PHOTOVOLTAIC PRODUCTS FROM CHINA
                                                                               CHANGZHOU TRINA SOLAF ENEFGY CO., LTD.
                                                                           ADMINISTRATIVE REVIEW JULY 2014         -
                                                                                                             JANUARY 2016
                                                                                  JULY 19, 2016 SECTION C DATABASE
                                                                                    LISTING OF U.S. MARKET SALES


    SEOU PRODCODIU PRODCOD2U                 CONNUI\,IU                    FORI\TU CRYSTALU TOTPOWFU   CELLTEKU CELLBAKU FRAMEU SACKMATU FRNTIVATU JBOXU INVERTRU BATTERYU SALEU

     '1
          18
     121
     123
     126'
     128
     130
     133
     135
     137
     140



CUSCODU                                                               SALINDTU    SALEDATU INVOICEU BATCH              SHIPDATU               PAYMENTU PAYDATEl       U    PAYDATE2U PAYDATEsU PAYDATE4U




 PAYDATESU PAYDATE6U PAYDATETU PAYDATE8U PAYDATEgU PAYDATEIOU SALETERU PAYTERMU                                                       OTYU     MODOTYU PWFPMODU        CELLOTYU CLPMODI.J TPACKI.J               CELLGRADU


                                                                                                                                '164606. 3      530.99                      38231           70        1   1947
                                                                                                                                 61 54.63        24.14                       1448           58             514
                                                                                                                                 61 54.63         24 .14                     1448           58             514
                                                                                                                                '160020. 5      627.53                      37652            58       1 3366
                                                                                                                                36927 ,80       '144. 81                     s689            5S         3085
                                                                                                                                1 61 951 .3     530.99                      38231           70        11947
                                                                                                                                88337. 1 0      289.63                      20853           70          651 7
                                                                                                                                161gsl.3        530.99                      3823'l          70        1 1947

                                                                                                                                 7361 ,42         24   ,14                   173A           70           543
                                                                                                                                 7361.42          24   .14                   '1738          70           543

                            DINLFTPU    DINLFTPU
GRSUPRU        BILLADJU      TRUCK           BARGE        INSURU DBROKU ININFBU   EXPORTU         IMPORTU                                              MARNINU            INLFPI4U        USWABEHU               INLFWCU


 0, 7096 0. 000000                35           263                                                                                                                0 .0001 6840        0. 00233684          0.00528089
 o,7675 - .009374                 35           263                                                                                                                0 .0001 6840        0. 00233684          0.00528089
 0. 7675 - .009374                35           263                                                                                                                0. 0001 6840        o. 00233684          0.00528089
 0.7438 - .009374                 35           2õ3                                                                                                                0.0001 6840         0. 002336S4          0,00528089
 0. 7438 - .009374                '17          2S0                                                                                                                0, 0001 6840        0. 00233684          0.00528089
 0. 7096 0. 000000                35           263                                                                                                                0.0001     6840     0.00233684           0. 00528089
 0.70s6 0, 000000                 35           263                                                                                                                0. 0001    6940     0. 00233684          0.00528089
 0.7096 0. 000000                 35           263                                                                                                                0, 0001    6840     0   .00233684        0.00528089
 0. 7096 0, 000000                             263                                                                                                                0. 0001    6840     0. 00233684          0.00528089
 0. 7096 0. 000000                35           263                                                                                                                o. 0001    6640     0. 00233684          0.00528089



FRTREVU USBROKU                   USOTRU             USOTRCU USDUTYU DESTU               STATEU         CRED]TU INDIRSU INVCARU MFRU ENTVALUE IMPORTER                               CONTYPEU CONDIMU CONWGÍU


   0000         0   .0003    0. 00031 996      0.0001 6642       0.0028                              0, 00000000       0. 0097          0. 0020              0.6024                                                 1 3828
   0000         0.0003       0. ooo31 996      0. 0001 6642      0. 0028                             o.oo244041        0.01 04          0. 0020              o,6024                                                 1 3828
   0000         0.0003       0. 00031 996      0. 0001 6642      0.0028                              o.00244041        0.01 04          0.0020               0.6024                                                 1 3828

   0000         0. 0003      0. 00031 996      0. 0001 6642      0. 0028                             0. 00236396       0,01 01          0. 0020              0.6024                                                 1   3828
   0000         0.0003       0. 0003 1 996     0. 000 1 6642     0. 0030                             0. 00236396       0. 01 0t         0.002'1              0.6430                                                 1   3759
   0000         0. 0003      0. 00031 996      0. 000'1 6642     0. 0028                             0. 00000000       0. 0097          0.0020               o.6024                                                 1 3828
   0000         0. 0003      0. 0003'l 996     0. 0001 6642      0. 0028                             0. 00000000       0, 0097          0.0020               o.6024                                                 1 3828
   0000         0. 0003      0. 0003'1 996     0. 0001 6642      0, 0028                             0. 00000000       0. 0097          0, 0020              o.6024                                                 1 3828

   0000         0, 0003      0. 00031 996      0, 0001 6642      0. 0028                             0. 00000000       0. 0097          0.0020               o,6024                                                 1 3828

   0000         0. 0003      0,00031 996       0, 0001 6642      0. 0028                             0. 00000000       0   _   0097     0.0020               0. 6024                                                1 3828



                                                                                   **PUBLIC VERSION..RANGED DATA+*




                Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
                              Case 1:17-cv-00199-CRK Document 54-1                                                       Filed 09/19/18                            Page 64 of 94
                                                 Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16




                                                                          CÊYSTALLINE SILlCON PHOTOVOLTAIC PHODUCTS FROM CHINA
                                                                                 CHANGZHOU TRINA SOLAR ENEHGY CO., LTD.
                                                                             ADM]NISTRATIVE FEVIEW JULY 2014         .
                                                                                                               JANUARY 2016
                                                                                    JULY 19, 2016 SECTToN C DATABASE
                                                                                        LISTING OF U,S, MAFKET SALES



      SEOU PHODCODIU PRODCOD2U CONNUMU                                        FORMU CHYSTALU TOTPOWRU CELLTEKU CELLBAKU FRAMEU BACKII,|ATU FRNTMATU JBOXU INVERTBU BATTERYU SALEU

       't42
       144
       147
       149
       152
       154
       156
       159
       1   6'l
       163



CUSCODU                                                                SALINDIU     SALEDATU INVOICEU BATCH              SHIPDATU             PAYMENTU PAYDATE1U PAYDATE2U PAYDAÎESU PAYDATE4U




 PAYOATE5U PAYDATE6U PAYDATETU PAYDATE8U PAYDATEgU PAYDATEIOU SALETERU PAYTEBMU                                                       OTYU      MODATYU PWf,PMODU        CELLOTYU CLPMODU TPACKU                    CELLGBADU


                                                                                                                            1   64606. 3         530. 99                   34231               70        11947
                                                                                                                            1   61   9s1 .3      530. 99                   38231               70        11547
                                                                                                                            1   47228.5           482.72                   34756               70        1   0861
                                                                                                                            1   61 951 ,3        530. 99                   38231               70        11947
                                                                                                                            1   4964 ,21              48.27                   3476             70         1 086

                                                                                                                            123092.7             4A2,72                    28963               58        10242
                                                                                                                            1 54589. I           506. 85                   36493                         11   404
                                                                                                                            12s144.2             41 0. 31                  29542               70            9232
                                                                                                                             7361,42                  24.14                   1   738          70             543
                                                                                                                            58S9'1     ,40       '1
                                                                                                                                                      93, 09               13902               70            4344

                              DINLFTPU DINLFTPU
GRSUPRU          BILLADJU      TRUCK             BARGE    INSURU DBROKU INTNFRU     EXPORTU      IIIIPORTU                                               MAÊNINU         INLFPWU             USIVAREHU              INLFV'/CU


 0.7096           000000            17             290                                                                                                              0.0001  6840        0.   00233684          0.00528089
 0.7096           000000            35             263                                                                                                              0.0001  6840        0.   00233684          0. 00528089
 0.7096           000000            17             290                                                                                                              0. 0001 6840        0.   00233684          0. 0052s089
 0.7096           000000            35             263                                                                                                              0.0001  6840        0.   00233684          0.00528089
 0.7096           000000            17             290                                                                                                              0,0001  6840        0.   00233684          0. 00528089
 o,7221           000000                           263                                                                                                              0,0001  6840        0,   00233684          0.00528089
 0. 7096          000000            17             290                                                                                                              0.0001  6840        0.   00233684          0. 00528089
 0. 7096          000000                                                                                                                                            0.0001  6840        0.   0023s684          0.00528089
 0.7096           000000            17             290                                                                                                              0.000'1 6840        0.   00233684          0.00528089
 0.7096           000000            17             290                                                                                                              o. o001 6840        o.   00233684          0.0052808s



FRTREVU          USBROKU            I.jSOTFIJ            USOTRCU USDUTYU DESTU             SIAÍEU          CREDITU INDIRSU INVCARU II,IFRU ENTVALUE IMPORTER CONIYPEU CONDIMU                                        CONWGTU



 0.   0000        0.   0003    0. 00031    996     0. 0001 6642   0.0030                             0.00000000          0. 0097              0021             0. 6430                                                  1 42sO
 0.   0000        0.   0003    0. 00031    996     0, 0001 6642   0,   0028                          0.00000000          0. 0097              0020             o,6024                                                   't3828
 0.   0000        0.   0003    0. 00031    996     0,0001 6642    0.   0025                          0.00000000          0.0097               001 7            o,5252                                                   1   4230
 0.   0000        0.   0003    0. 00031    996     0. 0001 6642   0, 0028                            0. 00000000         0. 0097              0020             o,6024                                                   1   3828
 0.   0000        0.0003       0, 00031    996     0.0001 6642    0. 0030                            0. 00000000         0.0097               0021             0. 6430                                                  1 4230
 0.   0000        0,0003       0. 00031    996     0. 000'16642   0. 0028                            0.00503648          0. 0098              0020             0. 6024                                                  13828
 0.   0000        0.0003       0. 00031    996     0. 000'16642   0. 0030                            0.   00000000       0. 0097              0021             0. 6430                                                  1 4230

 0.   0000        0. 0003      0. 0003't   996     0.0001 6642    0. 0028                            0.   00000000       0. 00s7              0020             o.6024                                                   1   3828
 0,   0000        0, 0003      0. 00031    996     0.0001 6642    0. 0030                            0.   00000000       0. 0097              002 1            0. 6430                                                  1   4230
 0,0000           0,0003       0. 00031    996     0.0001 6642    0. 0030                            0.   00000000       0. 0097              0021             0. 6430                                                  1   4230

                                                                                      **PUBLIC VERSION. -RANGED DATA**




                  Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
                            Case 1:17-cv-00199-CRK Document 54-1                                                                 Filed 09/19/18                           Page 65 of 94
                                                Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16




                                                                               CRYSTALLINE SIL]CON PHOTOVOLTAIC PFODUCTS FROM CHINA
                                                                                      CHANGZHOU TRINA SOLAF ENERGY CO,J LTD'
                                                                                                                             -
                                                                                  ADMIN]STRATIVE FEVIEW JULY 2014 JANUARY 2016
                                                                                           JULY 19, 2016 SECTIoN C DAÍABASE
                                                                                             LISTING OF U,S, MARKET SALES


      SEOU PBODCODIIJ PFODCOD2U CONNUMU                                            FOFII,III CFYSTALU TOTPOWRIJ CELLÍEKU CELLBAKU FBAMEU BACKMATU FRNTI\,IATU JBOXU INVERTRU BATTERYU SALEU


       166
       168
       170
       173
       175
       176
       180
       182
       185
       1A7



CUSCODU                                                                  SAL]NDTU        SALEDATU INVOICEU BATCH                 SHIPDATU PAYMENTU PAYDATElU PAYDATE2U PAYDATESU                                  PAYDATE4U




 PAYDAÍE5U PAYDATE6U PAYDATETU PAYDATE8U PAYDATEgU PAYDATEIOU SALETERU                                    PAYTERMU                            OTYU   MODOTYU PWRPII,IODU        CELLOTYU CLPMODU TPACKU                  CELLGRADU


                                                                                                                                       164606. 3         530. 99                  38231            70       11947
                                                                                                                                       89785.25          289. 63                  20853            70           651 7
                                                                                                                                       59856. 83         1 93. 09                 1 3902           70           4344
                                                                                                                                         7240.75             24.14                  1 738          70         543
                                                                                                                                       1 35401 .9        530. 99                  31 859           58       11310
                                                                                                                                       172329.7          675. 80                  40548            58       1   4395
                                                                                                                                       1 60020. 5        627.53                     37652          58       1   3366
                                                                                                                                       172329,7          675.80                   40548            58       1 4395
                                                                                                                                       172329.7          675.80                   40548            58       1 4395

                                                                                                                                       1   99902.5       783.93                   47036            58       1   4581

                            DINLFTPU DINLFTPU
GRSUPRU      BILLADJU        TRUCK              BARGE     INSURU DBROKU INTNFRU EXPORTU                IMPOBTU                                                  MAFNINU         INLFPII'JU       USWAFEHU                INLFÌVCU


 0. 7096 0. 000000                  35            263                                                                                                                      0.0001    6840   0.   00233684         0.00528089
 0. 7096 0. 000000                  17            290                                                                                                                      0.0001    6840   0.   00233684         0.    00528089
 0. 7096 0.000000                   17            290                                                                                                                      0.0001    6840   0.   00233684         0.    00528089
 0. 8077 0, 000000                  17            290                                                                                                                      0.0001    6840   0.   00233684         0.    00528089
 o.7048 0. 000000                   17            290                                                                                                                      0.0001    6840   0,   00233684         0.    00528089
 o,7044 0.000000                    17            290                                                                                                                      0.0001   6840    0.   00233684         0.    00528089
 0. 7048     0.   000000            17            290                                                                                                                      0.0001   6840    0.   0023s684         0.00528089
 0. 704s     0.   000000            17            290                                                                                                                      0.0001   6840    0.   00233684         0.00528089
 0. 7048     0.   000000            17            290                                                                                                                      0.0001   6840    0.   00233684         0. 00528089
 o.7241      0.   000000            17            290                                                                                                                      0.0001   6840    0.   00233684         0. 00528089



FRTREVU       USBROKU               USOTRU              USOTRCU USDUTYU DESTU                   STATEU          CHEDITU INDIRSU INVCABU ¡IFRU ENIVALUE                          IMPORTER CONTYPEU CONDIIIIU               CONWGTU



 0. 0000          0. 0003    0. 00031 996         0.0001    6642    0.   0028                             0. 00000000            0. 0097        0.0020                0. 6024                                               1   3828
 0.0000           0.0003     0, 00031 996         0,0001    6642    0,   0030                             0. 00000000            0. 0097        0. 002   1            0.6430                                                1   4230
 0.0000           0. 0003    0. 00031 996         0.0001    6642    0.   0030                             0. 00000000            0. 0097        0. 0021               0. 6430                                               1 4230
 0.0000           0,0003     0.00031 996          0.0001    6642    0.   003   1                          0. 00000000            0.0110         o.oo22                0. 6565                                               1 4230
 0. 0000          0,0003     0. 0003'1 996        0. 0001   6642    0.   0030                             0, 00534739            0.   0096      0,0021                0. 6430                                               1 3759

 0. 0000          0. 0003    0.   00031 996       0. 0001   6642    0.   0030                             0. 00534739            0.   0096      0.0021                0.6430                                                1 3759

 0,   0000        0. 0003    0.   00031 996       o. o001   6642    0.   0030                             0.   0045371   I       0.   0096      0.0021                0,6430                                                '13759
 0.   0000        0, 0003    0.   00031 996       0. 0001   664 2   0.   0030                             o.   oo46s922          0.   0096      0.0021                0. 6430                                               't3759
 0.   0000        0. 0003    0.   00031 996       0. 0001   6642    0.   0030                             0,   00464521          0.   0096      0.0021                0. 6430                                               1   3759
 0.   0000        0. 0003    0.   00031   996     0. 0001   6642    0.   0025                             0.   00344062          0.   0098      0. 001 7              o.5252                                                1   4597

                                                                                           **PUBLIC VEBSION- -RANGED DATA**




                  Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
                         Case 1:17-cv-00199-CRK Document 54-1                                                        Filed 09/19/18                            Page 66 of 94
                                         Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16




                                                                 CRYSÍALLINE SILICON PHOÍOVOLTATC PHODUCTS FROM CHINA
                                                                        CHANGZHOU IHINA SOLAB ENERGY CO., LTD.
                                                                    ADMINISTFATIVE REVIEW JULY 2014              -
                                                                                                       JANUARY 20,16
                                                                           JULY 19, 2016 SECTToN C DAÎABASE
                                                                             LISTING OF U,S. IIARKET SALES


      SEQU PRODCODlU PRODCOD2U CONNUMU                               FORI\IU CRYSTALU TOTPOWHU CELLTEKU CELLBAKU FRAMEU BACKMATU FRNTMATU JBOXU INVERTRU BATTERYU SALEU


       189
       192
       194
       196

       20'l
       203
       206
       208
       211



CUSCODU                                                      SALINDTU        SALEDATU INVOICEU BATCH                 SHIPDATU            PAYMENTU PAYDATEIU PAYDATE2U PAYDATE3U PAYDATE4U




 PAYDATEsU PAYDATE6U PAYDAIETU PAYDATE8U PAYDATEgU PAYDATE1OU SALETERU                          PAYTERMU                         OTYU      MODOTYU PVIRPMODU         CELLOTYU CLPMODU TPACKU                CELLGRADU


                                                                                                                           172329.7          675. 80                    40544          58        I   4395
                                                                                                                           '123092.7         442.72                     28963          58        102A2
                                                                                                                           172329.7          675, 80                    40s48          58        1   4395
                                                                                                                           43042.44          1    68,95                 10137          58            3599
                                                                                                                           43042,44          168. 95                    10137          5S            3599
                                                                                                                           6l 546. 34        241 .36                    '1448'1        58            5141
                                                                                                                           9231 9. 5'l       362.04                     21722                        7711
                                                                                                                            7442,10           24.14                      173A          70             543
                                                                                                                           3741 0 ,52        'l   20, 68                 8689          70            2715
                                                                                                                            7361.42               24,14                  1 738         70             543

                         DINLFTPU DINLFTPU
GRSUPRU        BILLADJU   TRUCK          SARGE    INSURU DBROKU INTNFRU EXPORTU              IMPORTU                                                 MAFNINU          INLFPIJITJ     USWAREHU               INLFWCU


      7044      000000        17           290                                                                                                                  0.0001 6840        0. 00233684         0. 00528089
      7048      000000        35           263                                                                                                                  0. 0001 6840       0. 00233684         0.00528089
      704e      000000        17           290                                                                                                                  0. 0001 6840       0 .00233684         0. 00528089
      704A      000000         17          290                                                                                                                  0. 0001 6840       0.00233684          0. 00528089
      7048      000000        35           263                                                                                                                  0.00016840         0.00233684          0. 00528089
      704A      000000        17           290                                                                                                                  0.00016840         0 ,00233684         0.00528089
      704A      000000        35           263                                                                                                                  0.00016840         0 .00233684         0. 00528089
      7144      000000        17           290                                                                                                                  0, 0001 6840       0.00233684          0. 00000000
      7144      000000        17           290                                                                                                                  0. 0001 6840       0.00233684          0. 00000000
      695  1    000000        17           290                                                                                                                  0.00016840         0.00233684          0. 00000000



FFlBEVU        USBROKU        USOTRU             USOIRCU USDUTYU     DESTU          STATEU            CFEOTTU INDIBSU INVCARU MFRU ENTVALUE IMPORTER CONIYPEU CONDIMU                                        CONWGTU



 0.   0000        0003    0. 00031 996     0. 0001 6642    0. 0030                              0.   00491 528       0.   0096     0. 002    1             0. 6430                                             1   3759
 0.   0000        0003    0. 00031 996     0, 0001 6642    0, 0028                              0.   00475323        0.   0096     0. 0020                 o.6024                                              1   3828
 0.   0000        0003    0, 00031 996     0.0001 6642     0. 0030                              0.   00475323        0,   0096     0. 0021                 0. 6430                                             1   37s9
 0,   0000        0003    0. 00031 996     0. 000'1 6642   0. 0030                              0,   00475323        0.   0096     0. 002'1                0. 6430                                             1 3759
 0.   0000        0003    0. 00031 996     0. 000 1 6642   0, 0028                              0,   00469922        0.   0096     0. 0020                 o.6024                                              1 3828
 0.   0000        0003    0, 00031 996     0,0001 6642     0. 0030                             0, 00469922           0.0096        0.    0021              0. 6430                                             1 3759

 0.   0000        0003    0.00031 996      0. 0001 6642    0. 0028                             o.00469922            0.0096        0.    0020              0, 6024                                             1 3828

 0.   0000        0003    0.0003'1996      0. 0001 6642    0. 0025                             0. 001 39623          0. 0097       0.    001 7             o,5252                                              1 4230
 0,   0000        0003    0.00031 996      0.0001 6642     0. 0025                             0. 00'139623          0. 0097       0.    001 7             o.s252                                              1 4230
 0,   0000        0003    0,00031 996      0,0001 6642     0, 0031                             0, 00400942           0. 0095       o.oo22                  0. 6565                                             1 4230


                                                                               *¡PUBLIC   VERSTON-.RANGED        DATA*i




                Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
                       Case 1:17-cv-00199-CRK Document 54-1                                                      Filed 09/19/18                       Page 67 of 94
                                        Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16




                                                               CBYSTALLINE SILICON PHOTOVOLTAIC PRODUCTS FROM CHINA
                                                                      CHANGZHOU TRINA SOLAR ENERGY CO., LTD.
                                                                  ADMINISTRATIVE REVIEU/ JULY 2014           -
                                                                                                     JANUAHY 2016
                                                                         JULY '19, 2016 SECTT0N C DATABASE
                                                                           L]STING OF U.S. MARKEI SALES


      SEOU PRODCOD1U PRODCOO2U CONNUIIIU                          FORMU   CFYSTALU TOTPOWRU CELLTEKU CELLBAKU FBAMEU BACKI\¡ATU FRNTMATU JBOXU TNVERTRU BATTERYU SALEU

      213

      214
      220

      225
      227
      229
      232
      234


CUSCODU                                                     SALINDTU      SALEDATU INVOICEU BATCH                SHIPDATU PAYMENTU               PAYDATEl   U    PAYDATE2U PAYDATE3U PAYDATE4U




 PAYDATE5U PAYDATE6U PAYDAIETU PAYDATESU PAYOATEgU PAYDATEIOU SALETEBU                       PAYTERMU                      OTYU    MODOTYU PWÊPMODU          CELLOTYU CLPMODU TPACKU                 CELLGRADU


                                                                                                                        6999.39        28   00                     1 680         58            521
                                                                                                                    24440,27           s6   54                     6951          70          2172
                                                                                                                    1 47224 .5      442.72                        34756          70        1 0861

                                                                                                                    72407.46        241.36                        1737A          70          5431
                                                                                                                      7240.75        24.14                         1734          70            543
                                                                                                                    14722.Bs           4A.21                       3476          70          1 086

                                                                                                                        7361 .42       24.14                       1738          70            543
                                                                                                                    152055. 7      506. 85                        36493          70        1'1404
                                                                                                                    14481.49           48,27                       3476          70          1 086

                                                                                                                        7361.42        24,14                       1   738       70            543

                       OINLFTPU DINLFIPU
GRSUPRI.J   BILLADJU TRIJCK             BAFGE     INSURU DBROKU INTNFFU   EXPORTU         IMPOFTU                                           MARNINU             INLFPVIU       USWAREHU              INLFWCU


 0. 8303 0.000000            17           290                                                                                                           0.0001 6840          0.00233684        0,00000000
 0.6806 0. 000000            17           290                                                                                                           0. 0001 6840         0.00233684        0,00528089
 0. 6903 0.000000            35           263                                                                                                           0 .0001 6840         0.00233684        0.00000000
 0. 6903 0,000000            35           263                                                                                                           0. o00'16840         0. 00233684       0.00000000
 0. 6s03 0. 000000                        263                                                                                                           0,0001 6840          0.00233684        0.00000000
 0. 6903 0.000000            35           263                                                                                                           0 ,0001 6840         0. 00233684       0,00000000
 0. 6903 0. 000000           35           263                                                                                                           0. 0001 6840         0.00233684        0. 00000000
 0. 6903 0. 000000           35           263                                                                                                           0.0001 6840          0. 00233684       0.00000000
 0. 6903 0. 000000           35           263                                                                                                           0. 000'1 6840        0.00233684        0,00000000
 0. 6903 0, 000000           35           263                                                                                                           0. 0001 6840         0.00233684        o. oooooo00



FRTREVU     USBROKU          USOTRU             USOTRCU USDUTYU DESTU            STATEU          CREDITU INDTRSU INVCARU MFRU ENTVALUE                          III,IPORTEF CONTYPEU   CONDIMU        CONWGTIJ



 o. 0000     0. 0003    0, 00031 996      0. 0001 6642     0031                              o.oo197262          0.0113      o.oo22                   6565                                              1   3022
 0. 0000     0. 0003    0.000319s6        0. 0001 6642     0025                              0. 001 82s7s        0. 0093     0. 0017                  5252                                              1   4230
 0. 0000     0. 0003    0.0003t996        0.0001 6642      0028                              o.oo122734          0.0094      0. 0020                  6024                                              '13828
 0. 0000     0.0003     0. 0003'1 996     0. 0001 6642     0028                              o.oo'12273a         0,0094      0, 0020                  6024                                              1   3828
 0. 0000     0.0003     0. 00031 996      0.0001 6642      0028                              o.oo12273A          0.0094      0. 0020                  õ024                                              '13828

 0. 0000     0.0003     0.00031 996       0,0001 6642      0028                              o,oo122738          0. 0094     0. 0020                  6024                                              1   3828
 0, 0000     0. 0003    0. 00031 996      0. 0001 6642     0028                              o,o0122734          0, 0094     0. 0020                  6024                                              '13828
 0. 0000     0,0003     0. 00031 996      0,0001 6642      0028                              o.oo12273A          0,0094      0. 0020                  6024                                              1 3828
 0. 0000     0. 0003    0. 00031 996      0.000'16642      0028                              o.o012273A          0.0094      0. 0020                  6024                                              1 3828
 0. 0000     0. 0003    0. 00031 996      0.0001 6642      0028                              0. 00 1 2273S       0.0094      0.0020                   6024                                              1 3828



                                                                           +*PUBLIC VEHSION- -RANGED DATAT*




             Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
                           Case 1:17-cv-00199-CRK Document 54-1                                                       Filed 09/19/18                   Page 68 of 94
                                              Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16




                                                                        CRYSTALLINE SILICON PHOTOVOLTAIC PRODUCTS FROM CHINA
                                                                               CHANGZHOU TRINA SOLAR ENEFGY CO., LTD.
                                                                           ADMINISTRATIVE REVlEIl/ JULY 2014      .
                                                                                                             JANUARY 2016
                                                                                   JULY 19, 2016 SEClroN C DATABASE
                                                                                     LISTING OF II.S. MAFKET SALES


      SEOU PRODCODIU PRODCODzU CONNUMU                                      FOHMU CRYSTALU TOTPOWBU   CELLTEKU CELLBAKU FFAMEU BACKMATU FRNTMATU JBOXU INVERTRU BATTEHYU SALEU

       237
       239
       241
       244
       246
       244

       253
       255
       258



CUSCODU                                                             SALINDTU     SALEDATU INVOICEU BATCH              SHIPDATU            PAYMENTU PAYDATE,lU PAYDATE2U PAYDATESU PAYDATE4U




PAYDAÍESU PAYDAIE6U PAYOA-TE7U PAYDATEsU PAYDATEgU PAYDATElOU SALETERU                           PAYTERMU                       OTYU       MODOTYU PWFPMODU    CELLATYU CLPI\,IODU ÍPACKU CELLGBADU

                                                                                                                           7361,42           24,14                  738
                                                                                                                                                                    1            70            543
                                                                                                                           7240,75           24.14                  738
                                                                                                                                                                    1            70            543
                                                                                                                         1 61 951 .3        530. 99               38231          70        1 1947

                                                                                                                           7240.75           24,14                  '1738        70            543
                                                                                                                           7240.75           24.14                 1 73e         70            543
                                                                                                                         1 61 951 .3                             382s   1        70        11947
                                                                                                                          44892.62          '144.A1              1 0427          70          3258
                                                                                                                          1 64606. 3        530. 99              3A231           70        11947
                                                                                                                          44452 - 62        I 44 .A1             10427           70          3258
                                                                                                                         1   64606,   S     530. 99              38231           70        1't 947


                           DINLFTPU      DINLFTPU
GRSI.JPRI.J   BILLADJII TRUCK                 BARGE     INSURU DBROKU INTNFRU     EXPOBfU     IMPORTU                                            MARNINU INLFPVìiU USWAFEHU                          INLFIiIICU


 0. 6903       000000                           263                                                                                                       0.0001 6840        0,00233684        0.00000000
 0. 6903       000000              35           263                                                                                                       0. 00016840        0.00233684        0.00000000
 0.   6903     000000              35                                                                                                                     0. 00016840        0.00233684        0.00000000
 0.   6903     000000              35           263                                                                                                       0. 00016840        0. 00233684       0.00000000
 0.   6s03     000000              35           263                                                                                                       0.0001 6840        0. 00233684       0.00000000
 0.   6903     000000              35           263                                                                                                       0.0001 6840        0. 00233684       0. 00000000
 0.6903        000000              35           263                                                                                                       0.0001 6840        0. 00233684       0. 00000000
 0.6903        000000              35           263                                                                                                       0.0001 6s40       0. 00233684        0.00000000
 0. 6903       000000              17           290                                                                                                       0.0001 6840       0.00233684         0. 00000000
 0. 6903       000000              35           263                                                                                                       0.0001 6840       0. 00233684        0.00000000


FBTREVU       USBROKU              USOTRU             USOTRCU USDUTYU DESTU             STATEU        CREDITU INDIRSU INVCARU MFRU ENTVALUE IMPORTER                        CONTYPEU CONDIMU          CONWGTU


 0. 0000       0.0003       0   .00031 996      0. 0001    6642   0. 0028                        o,oo'122738          0. 0094     0.0020                6024                                             1 3828
 0.0000        0.   0003    0.00031    996      0. 0001    6642   0, 0028                        o , oo1 227 3A       0.0094      0. 0020               6024                                             1 3828

 0. 0000       0.   0003    0.00031     996     0. 000'1   6642   0. 0028                        o.oo122738           0. 0094     0.0020                6024                                             '13s28
 0.0000        0.   0003    0. 00031    996     o. 0001    6642   0. 0028                        o.oo12273e           0. 0094     0. 0020               6024                                             1   3828
 0. 0000       0.   0003    0. 00031    996     0. 0001    6642   0. 0028                        o,0o12273A           0. 0094     0. 0020               6024                                             1   3A2A
 0. 0000       0.   0003    0. 00031    996     0,0001     6642   0. 0028                        o.oo12273A           0. 0094     0.0020                6024                                             1 3828
 0, 0000       0.0003       0, 00031    996     0. 0001 6642      0.0028                         o.oo12273A           0. 0094     0.0020                6024                                             1 3828
 0. 0000       0.0003       0, 00031    996     0.0001  6642      0.0028                         o,oo12273A           0. 0094     o,0020                6024                                             1 3828

 0. 0000       0. 0003      0. 00031    996     0. 0001 6642      0.0030                         o,oo12273A           0. 0094     0.0021                6430                                             1 4230
 0.0000        0. 0003      o. 00031    9d6     0. 0001 6642      0, 0028                        o,oo12273A           0. 0094     0. 0020               6024                                             1 382



                                                                                   **PUBLIC VERSTON- -BANGED DATA**




               Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
                          Case 1:17-cv-00199-CRK Document 54-1                                                     Filed 09/19/18                                Page 69 of 94
                                          Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16




                                                                CRYSTALL]NE SILICON PHOTOVOLTAIC PRODUCTS FROII' CHINA
                                                                       CHANGZHOU TRINA SOLAR ENERGY CO., LTD.
                                                                   ADMINISTRA-TIVE REVIEW JULY 2O'14           -
                                                                                                        JANUARY 20,I6
                                                                          JULY '19, 2016 SECTION C DATABASE
                                                                            LISÍING OF U.S. II,IARKEI SALES


      SEOU PRODCODlU PRODCOD2U CONNUMU                              FOBMU CHYSTALU TOTPOWRU CELLTEKU CELLBAKU FRAMEU BACKMATU FRNTMATU JBOXU INVERTRU BATTERYU SALEU


       260
       262
       265
       267
       270
       272
       274
       277

       2A1



CUSCODU                                                      SALINDTU        SALEDATU INVOICEU BATCH               SHIPDATU                PAYMENTU PAYDATEIU PAYDATE2U PAYOATEsU PAYDATE4U




PAYDATESU PAYDATEoU PAYDATETU PAYDATE8U PAYDATEgU PAYDATE'IOU SALETERU PAYTERMU                                                  OTYU        MODOTYU PI4FPMODU         CELLOTYU CLPMODU IPACKI.J                      CELLGRADU


                                                                                                                       1   421   60. 0        458. 58                     3301    I           70        '10318
                                                                                                                       29445,70                96, 54                         6951            70            2896
                                                                                                                       14964.21                4A.27                       3476               70           086
                                                                                                                                                                                                            1

                                                                                                                       7482't .04             241 .36                     17378               70          543'l
                                                                                                                       1   49642 . 1          442.72                      34756               70        '1086'l
                                                                                                                       20998.1 6               83.99                          5040            58            '1789
                                                                                                                       '195982.        B      783. 93                     47036               58        1   4581
                                                                                                                       1   371   8.80             56.00                       3360            58            1042
                                                                                                                        74A2.10                   ,14
                                                                                                                                                  24                          1 738           70                543
                                                                                                                       104749.5               337. 90                     24329               70            7603

                          DINLFTPU DINLFTPU
GBSUPRU      SILLAOJU TRUCK                BARGE   INSURU DBROKU INfNFRU     EXPORTU        IMPOFTU                                                    MARNINU          INLFPWTJ            US$/AREHU                 INLFUICU


 0. 6903 0.000000               35           263                                                                                                                  0 .000'1 6840        0,00233684                0.00000000
 0. 6903 0. 000000                           263                                                                                                                  0 .0001 6840         0.00233684                0. 00000000
 0.6903 0,000000                35           263                                                                                                                  0 - 0001 6840        0.00233684                0. 00000000
 0.6903 0,000000                35                                                                                                                                0 . 0001    6840     0.   00233684             0.00000000
 0.6903 0. 000000               35           263                                                                                                                  0, 0001 6840         0.   00233684             0. 00000000
 0, 8233 0. 000000              17           290                                                                                                                  0.   0001   6840     0.   00233684             0. 00528089
 0.7096 o. 000000               17           290                                                                                                                  0.   0001   6840     0.   00233684             0. 00528089
 o,7723 o. 000000               17           290                                                                                                                  0.   0001   6840    0. 002336S4                0.00529089
 0. 6995 0,000000               35           263                                                                                                                  0.   0001   6840    0. 00233684                0. 00528089
 0. 6995 0.000000               35           263                                                                                                                  0.   0001   6840    0. 00233684                0. 00528089



FRTREVU      USBROKU            USOIRU          USOTBCU USDUTYU     DES-TU         STATEU         CRED]TU INDIRSU lNVCARU MFRU ENTVALUE IMPORTER                                      CONTYPEU     CONDIMU             CONWGTU


 0.0000       0.0003       0. 00031 996      0.0001 6642     0028                              o,oo12273A          0. 0094         0 0020                    0. 6024                                                     1   3828
 0.   0000    0.0003       0. 0003'l 996     0.0001 6642     0028                              o,oo122734          0. 0094         0 0020                    o,6024                                                      '13828
 0.   0000    0,0003       0. 00031 996      0. 0001 6642    0028                              0. 00 1 22738       0. 0094         0 0020                    o.6024                                                      1 3828
 0,   0000    0.   0003    0. 00031 996      0. 0001 6642    0028                              o,0o122738          0. 0094           0020                    0.6024                                                      1 3828
 0,   0000    0.   0003    0,00031 996       0. 000'1 6642   0028                              o,oo12273A          0. 0094         0 0020                    o.6024                                                      1 3828

 0.0000       0.   0003    0.00031 996       0. 0001 6642    0031                              o. o0320337         0. 0'1 13       0       oo22              0. 6565                                                     1 3033

 0.0000       0.   0003    0. 00031 996      0. 0001 6642    0031                              0.00274095          0. 0097         0       oo22              0, 6565                                                     14597
 0. 0000      0.   0003    0. 00031 996      0. 0001 6642    0031                              0. 00544580         0. 01 05        0       oo22              0, 6565                                                     1   3022
 0, 0000      0.   0003    0. 00031 996      0,0001 6642     0028                              0. 00471 805        0,0095          0       0020              o,6024                                                      1 3828
 0.0000       0.   0003    0. 00031 996      0. 0001 6642    0028                              0. 00471 805        0.0095          0       0020              0. 6024                                                     1 3828



                                                                              **PUBLIC VERSION..RANGED DATAT*




             Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
                        Case 1:17-cv-00199-CRK Document 54-1                                                        Filed 09/19/18                            Page 70 of 94
                                          Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16




                                                                 CRYSTALLINE SILICON PHOTOVOLTAIC PRODUCTS FFOM CHINA
                                                                        CHANGZHOU TRINA SOLAB ENERGY CO,, LTD.
                                                                    ADIV]N]STRATIVE HEV]EW JULY 2014            -
                                                                                                       JANUARY 2016
                                                                            JULY 19, 2016 SECTIoN C DATABASE
                                                                              LISTING OF    U.S,     I\IARKET SALES



      SEOU PFODCODIU PRODCOD2U CONNUMU                              FOBMU CBYSTALU TOTPOI¡IRU CELLTEKU CELLBAKU FFAMEU BACKMATU FRNTI\,IATU JBOXU INVERTBU BATTEFYU SALEU


       244
       286
       288
       251
       293
       296
       294
       300
       303
       305



CUSCODU                                                      SAL]NDTU     SALEDATU INVOICEU       BATCH             SHIPDATU PAYMENTU PAYDATEIU PAYDATE2U PAYOATE3U                                    PAYDATE4U




 PAYDATEsU PAYDATE6U PAYDATETU PAYDATE8U PAYDATEgU PAYDATEIOU SALETERU                       PAYTERMU                         OTYU      MODOTYU PWFPMODIJ            CELLO-ÍYU CI-PMODU TPACKU                CELLGRADU


                                                                                                                       52374 .73          1   68.95                    121 64         70             3801
                                                                                                                       157124 .2          506. 85                      36493          70         11404
                                                                                                                           7492,10            24   .14                  1 738         70            543
                                                                                                                       164606. 3         530.99                        3S2s1          70         1 1947

                                                                                                                       14964,21               4A,27                     3476          70             '1086
                                                                                                                           7442.10        24.14                         1734          70              543
                                                                                                                       1   49926. 9      587.95                        35277          58         1   0936
                                                                                                                       1   4274,75        56.00                         3360                         1042
                                                                                                                       1   99902, 5      783.93                        47036                     1458'l
                                                                                                                           7120.07            24   .14                  1   738       70           543

                        DINLFTPU     DINLFTPU
GRSUPRU      BILLADJU    TRUCK            BARGE     INSURU DBBOKU INTNFHU   EXPORTU       IMPORIU                                                  MARNINU            INLFPWU       USI,VAFEHU                INLflTCU

  0.6995 0. 000000            35            263                                                                                                                 0. 0001 6840      0. 00233684          0.00528089
 0, 6995 0. 000000                          263                                                                                                                 0.0001 6840       0 .00233684          0,    00528089
 0. 6995 0. 000000            35                                                                                                                                0. 0001 6840      0 .00233684          0.    00528089
 0.6995 0. 000000             35            263                                                                                                                 0.0001 6840       0. 00233684          0.    00528089
 0.6995 0. 000000             35            263                                                                                                                 0, 0001 6840      0.00233684           0.    00528089
 0, 6995 0, 000000            17            290                                                                                                                 0. 0001 6840      0. 00233684          0.    00528089
 o.7249 - .009374             35            263                                                                                                                 0. 0001 6840      0.00233684           0.    00528089
 o.7289 - .009374             17            290                                                                                                                 0.0001 6840       0.00233684           0.    00528089
 o.7249 - ,009374             17            290                                                                                                                 0. 0001 6840      0.00233684           0. 0052s089
 o.6661 0.000000              17            290                                                                                                                 0. 000'1 6840     0. 00233694          0.00528089


FBTREVU      USBROKIJ         USOTRU              USOTBCU USDUIYU DESTU          SlATEU            CREDTTU INDIRSU INVCARU MFRU ENTVALUE IMPORTER CONTYPEU CONDIMIJ                                            CONWGTU



 0.   0000    0. 0003    0.00031    996     0. 0001 6642     0028                            0.   00471 805         0. 0095     0.0020                   0. 6024                                                 1 3828
 0.   0000    0. 0003    0. 00031   996     0.0001 6642      0028                            0.   00471 805         0.009s      0.    0020               0, 6024                                                 '13s28
 0.   0000    0. 0003    0.00031    996     0. 000'1 6642    0028                            0.   0047'1 805        0.0095      0.    0020               o.6024                                                  1 3828
 0.   0000    0. 0003    0.00031  996       0. 0001 6642     0028                            0.   00471805          0.0095      0.    0020               0, 6024                                                 't3828
 0.   0000    0. 0003    0. 00031 996       0, 000 1 6642    0028                            0,   00487890          0. 0095     0.    0020               0. 6024                                                 1 3828

 0. 0000      0, 0003    0. 00031 996       0. 000 1 6642    0025                            0.   00487890          0. 0095     0.    001 7              o.5252                                                  1    4230
 0.0000       0. 0003    0. 00031 996       0. 0001 6642     0028                            0.   001 81 980        0, 0099     0.    0020               0.   6024                                               '13828

 0. 0000      0.0003     0. 00031 996       0. 0001 6642     0030                            0.   00 1 81 980       0,00s9      0,    0021               0.   6430                                               1    4597
 0. 0000      0, 0003    0. 0003 1 996      0. 0001 6642     0030                            0.   00209s52          0.00s9      0.0021                   0.   6430                                               1    4597
 0. 0000      0.0003     o. 00031 996       0. 0001 6642     oo25                            0.   00000000          0.00s1      0. 001 7                 0.   5252                                               1    4230

                                                                            TÍPUBLIC VEBSION- -RANGED DATA¡*




             Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
                        Case 1:17-cv-00199-CRK Document 54-1                                                         Filed 09/19/18                            Page 71 of 94
                                         Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16




                                                                   CRYSTALLINE SILICON PHOTOVOLTAIC PHODUCTS FROM CHTNA
                                                                          CHANGZHOU TR]NA SOLAR ENERGY CO.I LTD,
                                                                      ADMTNISTRATIVE FEVTEW JULY 2014            -
                                                                                                        JANUARY 2016
                                                                             JULY 19, 2016 SECTToN C DATABASE
                                                                                 LISTING OF     U,S,    II,IARKET SALES



    SEOU PRODCODIU PRODCOD2II CONNUMU                                 FORI\¡IU CRYSTALU TOTPOU/RU   CELLTEKU CELLBAKU FFAMEU EACKMATU FRNTMATU JBOXU INVERTRU BAIIERYU SALEU

     307
     310
     312
     314
     317
     319
     321
     324
     326
     329


CUSCODU                                                        SALINDTU     SALEDATU INVOICEU BATCH                  SHIPDATU PAYMENÍU PAYDAIEIU PAYDATE2IJ PAYDATE3U                                PAYDATE4U




 PAYDATESU PAYDATE6U PAYDATETU PAYDAÍESU PAYDATEgU PAYDATE,IOU SALETERU PAYTERMU                                                 OTYU      MODOTYU PWRPMODU           CELLOTYU CLPIIIODU TPACKU           CELLGRADU


                                                                                                                          161 951.3          530.99                      3A231        70       1   4868
                                                                                                                          159296.4           530. S9                     38231        70       1   4868
                                                                                                                          1537 45,2          627.53                      37652        5S       1   3366
                                                                                                                          132747,O           530.    99                  31 859       58       1   1310
                                                                                                                          301   69,77        1 20.   68                    7241       58           2570
                                                                                                                          83992. 65          335.    97                  20'158       58
                                                                                                                          45935,29           1 50,   61                  '10844       70           3389
                                                                                                                          1 59296.4          530,    99                  38231        70       1   4868
                                                                                                                              6999. 39           28.00                    '1600       58            596
                                                                                                                              7240.75            24,14                    1   738     70            543

                        DINLFTPU    DINLFTPU
GFSUPRU    BILLADJU      TRUCK           BABGE     INSUFU DBFOKU INTNFFU     EXPORTU          IMPORTU                                                MARNINU           INLFPWU      USWAREHU              INLFr¡llCU


 o.ao42 0. 000000             17           290                                                                                                                  0.0001 6840         0023s684         0.0052808s
 0.6951 0, 000000             17           290                                                                                                                  0.0001 6840         00233684         0 ,00000000
 o,6324 - ,009374             17           290                                                                                                                  0 .0001 6840        00233684         0. 00528089
 0. 661 3 - .009374           17           290                                                                                                                  0.000'1 6840        00233684         0 .00528089
 0. 661 3 - .009374           17           290                                                                                                                  0.0001 6840         00233684         0. 005280s9
 0. 6758 0.000000             17           290                                                                                                                  0.000'16840         00233684         0. 00000000
 o,704a 0. oo0000            212             0                                                                                                                  o. o001 6840        00233684         0. 00528089
 o,7044 0. 000000             17           290                                                                                                                  0. 000.l 6840       00233684         0. 00528089
 0. 531 0 0, 000000           17           290                                                                                                                  0.000'16840         oo233684         0. 00000000
 0. 521 3 0. 000000           17           290                                                                                                                  0. 0001 6840        00233684         0.00528089


FRTREVU USBROKU               USOTRU             USOTFCU USDUTYU DESTU               STATEU         CREDITU INDIFSU INVCARU MFRU ENTVALUE                              IMPORTER CONTYPEU CONDIMU           CONWGTU


 0. 0000    0,0003       0.00031 996       0. 0001 6642   0.0030                                0. 001 1 094s         0109               0021              0.6430                                             1   4230
 0. 0000    0. 0003      0. 00031 99ô      0, 0001 6642   0.0031                                0. 00340954           0095               oo22              0. 6565                                            1 4230
 0, 0000    0.0003       0.0003'1996       0. 0001 6642   0.0025                                0. 0041 5392          0086               001 7             0. 531 0                                           1 2927

 0. 0000    0.0003       0. 00031 996      0. 0001 6642   0.0025                                o,00429707            0090               001 7             0. 521 3                                           12430
 0. 0000    0.0003       0, 00031 996      0.000'16642    0.   0025                             o.oo429707            0090               oo17              0. 521 3                                           1 2430

 0,0000     0.   0003    0. 00031 996      0.000'16642    0.   0031                             0. o0080799           0092               oo22              0. 6565                                            1   4597
 0.0000     0.   0003    0. 00031 996      0. 0001 6642   0.   0026                             0. 003s7s54           0096               001 s             0,5445                                               9745
 0.0000     0.   0003    0. 0003'1996      0. 0001 6642   0,   0030                             0,00000000            00s6               oo21              0, 6430                                            1 4230
 0.0000     0.   0003    0 . 00031 996     0. 0001 6642   0.0031                                0.00000000            oo72               oo22              0. 6565                                            1   3033
 0. 0000    0.   0003    0.00031 996       0, 0001 6642   0. 003  1                             0.00000000            0071               oo22              0. 6565                                            14230

                                                                               **PUBLIC VERSION. -RANGED DATAT*




            Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
                        Case 1:17-cv-00199-CRK Document 54-1                                                            Filed 09/19/18                               Page 72 of 94
                                        Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16




                                                                   CÊYSTALLINE SILICON PHOTOVOLTAIC PRODUCTS FROM CHINA
                                                                            CHANGZHOU TRINA SOLAH ENERGY CO,I LTD'
                                                                      ADI.IIN]STRATIVE REVIEW JULY 2014             -
                                                                                                          JANUARY 2016
                                                                               JULY 19, 2016 SECTIoN C DATABASE
                                                                                 LIST]NG OF    U,S,    I\IARKET SALES



     SEOU PRODCODIU PFODCOD2II CONNUMU                                 FORMU CRYSTALU TOTPOWBU CELLTEKU CELLBAKU FFATIEU BACKMATU FRNTI\,IATU JBOXU INVERTBU                                             BAÍÍEFYU SALEU

      331
      333
      336
      338
      340
      343
      345
      347
      350
      352


CUSCODU                                                         SALINDTU     SALEDATU INVOICEU BATCH                    SHIPDATU             PAYMENTU PAYDATElU PAYDATE2U PAYDATEsU PAYDATE4U




PAYDATESU PAYDATE6U PAYDATETU PAYDAÍESU PAYDATEgU PAYDATEIOU SALETERU PAYTERMU                                                       OTYU       MODOTYU PITRPMODU            CELLOTYU CLPMODU TPACKU                         CELLGRADU


                                                                                                                              1   59296 .4       530 99                        38231               70         '14868
                                                                                                                                  7240.75            24   14                        1738           70              676
                                                                                                                              43444.47           144 A1                        't0427              70             4055
                                                                                                                              159296.4           530 99                        38231                70        1   4868
                                                                                                                              161 951 .3         530 99                        38231               70         1   4868
                                                                                                                              58891 .40          193 09                        '13902              70             5406
                                                                                                                               6033, 95           24 14                             1   44A                        514
                                                                                                                              41 996. 32         167 99                        't0079              58             3578
                                                                                                                              41 996. 32         167 99                        1 0079              58             3578
                                                                                                                              20578.20            83 99                             5040           58             '1789


                        O]NLFTPU DINLFTPU
GRSUPRU     SILLADJU TRUCK              BARGE     INSURU DBROKU INTNFRU      EXPOFTU         IMPORTU                                                      MARNINU            INLFPWU             USWABEHU                    INLFI¡'/CU


 0.7048 0. 000000             17          290                                                                                                                          0.0001       6840       0. 00233684          0   .   Q0528089
 0. 7048 0.   000000          17          290                                                                                                                          0 .0001      6840       o. oo233644          0.00528089
 0. 7048 0.   000000          17          290                                                                                                                          0.0001       6840       0, 00233684          0. 00528089
 0. 7048 0,   000000          17          290                                                                                                                          0.0001       6840       0.00233684           0. 00528089
 0. 6468 0.  000000           17          290                                                                                                                          0.0001       6840       0. 00233684          0.00528089
 0. 6468 0.  000000           17          290                                                                                                                          0 .0001      6840       0. 00233684          0.00528089
 0. 6565 0.  000000           17          290                                                                                                                          0.0001       6940       0.00233684           0.00528089
 0, 531 0 0. 000000         212             0                                                                                                                          0, 0001      6840       0. 00233684          0.00000000
 0.531 0 0. 000000          212             0                                                                                                                          0.000'16840             0 - o0233684         0,00000000
 0. 531 0 0.000000            17          290                                                                                                                          0. 0001 6840            0. 00233684          0. 00000000



FRTREVU     USBROKU          USOTFU             USOTRCU USDUTYU DESIU               STATEU         CREDITU INDIRSU INVCARU MFBU ENTVALUE IMPORTER                                             CONTYPEU    CONDIMU             CONWGTU


 0   0000     0. 0003    0,00031 996      0. 0001   6642   0.   0030                            0. 00000000             0. 0096        0.    0021               0.6430                                                           1 4230
 0   0000     0. 0003    0. 0003'1996     0. 0001   6642   0.   0025                            0. 00000000             0. 0096        0.    001 7              o,5252                                                           1 0s96
 0   0000     0. 0003    0. 00031 996     0.0001    6642   0.   0030                            0. 00000000             0. 0096        0.    0021               0.6430                                                           1 4230

 0   0000     0. 0003    0.00031 996      0. 0001   6642   0.   0030                            0. 00000000             0.   0096      0.    0021               0.6430                                                           1 4230
 0   0000     0. 0003    0. 00031 996     0.0001    6642   0.   0030                            0.001'18111             0.   0088      0.    002'1              0.   6430                                                        1 4230
 0   0000     0. 0003    0, 00031 996     0.0001    6642   0.   0030                            0.00118111              0,   0088      0.    0021               0.   6430                                                        1 4230

 0   0000     0.0003     0. 00031 996     0.0001    6642   0.   0031                            0. 002581   1   3       0.   0089      o.oo22                   0,   6565                                                        't2927
 0   0000     0. 0003    0. 00031 996     0.0001    6642   0.   0025                            0.00000000              o,oo72         0, 001 7                 0,   521 3                                                       1   4597
 0   0000     0. 0003    0. 00031 996     0. 0001   6642   0.   0025                            0. 00000000             o.oo72         0. 001 7                 0.   521 3                                                       1   4s97
 0   0000     0. 0003    0. 00031 996     0. 0001   6642   0.   0031                            0. 00000000             0. 0072        o.oo22                   0.   6565                                                        1   4597

                                                                              *TPUBLIC VERSION. -RANGED DATAT*




              Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
    Case 1:17-cv-00199-CRK Document 54-1               Filed 09/19/18    Page 73 of 94
             Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16




                               EXHIBIT C-2




Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
    Case 1:17-cv-00199-CRK      Document
                    Public Version           54-1 Ranged
                                   - BPI Has Been   Filedor09/19/18
                                                            Deleted         Page 74 of 94
                Trina
             Barcode:3488970-01   A-570-010 REV - Admin Review   7/31/14 - 1/31/16
                List of Subject Product Codes and CONNUMs
                (Juf 2014 to Jan   20t6l

                NUM PRODCODlU          PRODCOD2U     CONNUMU
                   L    PRODCODl.U     PRODCOD2U     CONNUMU
                   2    PRODCODlU      PRODCOD2U     CONNUMU
                   3    PRODCODl.U     PRODCOD2U     CONNUMU
                   4    PRODCODlU      PRODCOD2U     CONNUMU
                   5    PRODCODlU      PRODCOD2U     CONNUMU
                   6    PRODCODlU      PRODCOD2U     CONNUMU
                   7    PRODCODl-U     PRODCOD2U     CONNUMU
                   8    PRODCODl-U     PRODCOD2U     CONNUMU
                   9    PRODCODlU      PRODCOD2U     CONNUMU
                  10    PRODCODlU      PRODCOD2U     CONNUMU
                  L1    PRODCODlU      PRODCOD2U     CONNUMU
                  L2    PRODCODlU      PRODCOD2U     CONNUMU
                  13    PRODCODl-U     PRODCOD2U     CONNUMU
                  74    PRODCODlU      PRODCOD2U     CONNUMU
                  15    PRODCODlU      PRODCOD2U     CONNUMU
                  1_6   PRODCODl.U     PRODCOD2U     CONNUMU
                  L7    PRODCODl.U     PRODCOD2U     CONNUMU
                  18    PRODCODlU      PRODCOD2U     CONNUMU
                  19    PRODCODlU      PRODCOD2U     CONNUMU
                  20    PRODCODlU      PRODCOD2U     CONNUMU
                  2L    PRODCODl.U     PRODCOD2U     CONNUMU
                  22    PRODCODl.U     PRODCOD2U     CONNUMU
                  23    PRODCODlU      PRODCOD2U     CONNUMU
                  24    PRODCODlU      PRODCOD2U     CONNUMU
                  25    PRODCODlU      PRODCOD2U     CONNUMU
                  26    PRODCODl-U     PRODCOD2U     CONNUMU
                  27    PRODCODl-U     PRODCOD2U     CONNUMU
                  28    PRODCODlU      PRODCOD2U     CONNUMU
                  29    PRODCODlU      PRODCOD2U     CONNUMU
                  30    PRODCODlU      PRODCOD2U     CONNUMU
                  31    PRODCODlU      PRODCOD2U     CONNUMU
                  32    PRODCODlU      PRODCOD2U     CONNUMU
                  33    PRODCODlU      PRODCOD2U     CONNUMU
                  34    PRODCODl.U     PRODCOD2U     CONNUMU
                  35    PRODCODlU      PRODCOD2U     CONNUMU
                  36    PRODCODl-U     PRODCOD2U     CONNUMU
                  37    PRODCODl.U     PRODCOD2U     CONNUMU
                  38    PRODCODl-U     PRODCOD2U     CONNUMU
                  39    PRODCODlU      PRODCOD2U     CONNUMU
                  40    PRODCODlU      PRODCOD2U     CONNUMU
                  4L    PRODCODlU      PRODCOD2U     CONNUMU
                  42    PRODCODl.U     PRODCOD2U     CONNUMU
                  43    PRODCODlU      PRODCOD2U     CONNUMU


Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
                                           Page 1 of 2
    Case 1:17-cv-00199-CRK      Document
                    Public Version           54-1Ra Filedor09/19/18
                                   - BPI Has Been           Deleted      Page 75 of 94
                NUM PRODCODlU
             Barcode:3488970-01     PRODCOD2U
                                A-570-010          CONNUMU
                                          REV - Admin Review 7/31/14 - 1/31/16
                  44   PRODCODlU     PRODCOD2U     CONNUMU                       I
                  45   PRODCODlU     PRODCOD2U     CONNUMU                       I
                  46   PRODCODlU     PRODCOD2U     CONNUMU                       l
                  47   PRODCODlU     PRODCOD2U     CONNUMU                       l
                  48   PRODCODlU     PRODCOD2U     CONNUMU                       l
                  49   PRODCODlU     PRODCOD2U     CONNUMU                       l
                  50   PRODCODlU     PRODCOD2U     CONNUMU                       l
                  51   PRODCODlU     PRODCOD2U     CONNUMU                       1


                  52   PRODCODlU     PRODCOD2U     CONNUMU                       I
                  53   PRODCODl-U    PRODCOD2U     CONNUMU                       I
                  54   PRODCODlU     PRODCOD2U     CONNUMU                       1


                  55   PRODCODlU     PRODCOD2U     CONNUMU                       I
                  56   PRODCODlU     PRODCOD2U     CONNUMU                       1


                  57   PRODCODlU     PRODCOD2U     CONNUMU                       1


                  58   PRODCODlU     PRODCOD2U     CONNUMU                       I
                  59   PRODCODlU     PRODCOD2U     CONNUMU                       I
                  60   PRODCODlU     PRODCOD2U     CONNUMU                       l
                  6L   PRODCODl-U    PRODCOD2U     CONNUMU                       l
                  62   PRODCODl.U    PRODCOD2U     CONNUMU                       l
                  63   PRODCODlU     PRODCOD2U     CONNUMU                       l
                  64   PRODCODlU     PRODCOD2U     CONNUMU                       l
                  65   PRODCODlU     PRODCOD2U     CONNUMU                       l
                  66   PRODCODlU     PRODCOD2U     CONNUMU                       l
                  67   PRODCODlU     PRODCOD2U     CONNUMU                       l




Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
                                         Page 2 of 2
    Case 1:17-cv-00199-CRK Document 54-1               Filed 09/19/18    Page 76 of 94
             Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16




                               EXHIBIT C-3




Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
    Case 1:17-cv-00199-CRK      Document
                    Public Version           54-1 Ranged
                                   - BPI Has Been   Filedor09/19/18
                                                            Deleted      Page 77 of 94
             Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16

                  Trina U.S.
                  Customer List July 2014 to Jan 2016)

                                        CUSTOMER NAME
                  Name
                  Name
                  Name
                  Name
                  Name
                  Name
                  Name
                  Name
                  Name
                  Name
                  Name
                  Name
                  Name
                  Name
                  Name
                  Name
                  Name
                  Name
                  Name
                  Name
                  Name
                  Name
                  Name
                  Name
                  Name
                  Name
                  Name
                  Name
                  Name
                  Name
                  Name
                  Name




Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
                                          Page 1- of 1
    Case 1:17-cv-00199-CRK Document 54-1               Filed 09/19/18    Page 78 of 94
             Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16




                               EXHIBIT C.4




Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
                                                Case 1:17-cv-00199-CRK Document 54-1                                         Filed 09/19/18   Page 79 of 94
                                                              Barcode:3488970-01 A-570-010 REV
                                                                                           Public -Version
                                                                                                     Admin Review 7/31/14 - 1/31/16



Tr¡na U.S.
Billing Adjustments (Jul 31, 2014 to Jan 31, 20161


                                     Customer                            Deb¡t/Cred¡t                          Total PoR       BITTADIU
             Customer Name                                                                                                                                    Notes
                                        Code              Number              Date            value          Power (Watts)     Adjlwatt
                                        16809              13076                                  (400.00)      90,000,000      (0.000004)
                                        7343               13071                                  (2s0.00)
                                        27025              13050                               (80,000.00)
                                                           13051                                 6,000.00        3,500,000      0.001714
                                        27254              1309s                               (40,000.00)      s0,000,000      (0.000800)
                                        27438              13072                              (300,000.00)      2s,000,000      (0.012000)
                                        27377        13180/13181/13182                           3,000.00        6,000,000      0.000500
                                        21660              L3797                                (2,s00.00)     120,000,000      (0.000021)
                                        27176           r3t831t3784                             2s,000.00        7,000,000      0.003s71
                                        8905               73204                            (1,s00,000.00)     200,000,000      (0.007s00)
                                                                                        s   (1,889,1s0.æl




                                        Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
    Case 1:17-cv-00199-CRK Document 54-1               Filed 09/19/18    Page 80 of 94
             Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16




                               EXHIBIT C-5




Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
                                                    Case 1:17-cv-00199-CRK Document 54-1                                                                      Filed 09/19/18                       Page 81 of 94
Tdna    solar                                                        Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16
Calculat¡on ot Movement        E¡pens6                                A                  I                 c              D                                                                        t=A/G      J=B/G          K=c/c         t-=D/G         M=E/G         N=F/G

                                   Customet                ¡n   lfwcu_tota     I   usotfcu_tota   I   usotru_total   ¡nlfpwu_total       uswarêhu_total      usbroku_total    totaLpower_rold      INLFWCU    USOTRCU        USOTRU        INLFPWU       I,JSWAREHU     usERoKu
                                                                 12,000,000              350 000           700 000         ,so ooo             5 non noo            600,000      2.000.000.000        0 005      0 00018       o ooo??       o ooo17           0 0025      0.00027
9m¡nutenerpv       Renewables Ltc                                t, ono ôoô              350,000           700.000         250 000             5 000 000            600 non                           0 005      0 00018       0 00033       o ooo17           o oors
Bm¡nutenerÂv renewåbles                                          12 000 000              350 000           ?oo ooo                             5.000,000            600_000      2 000 000   000      o oo5      o onolR                     0 00017           0 0025      o ooo27
{MEC                                                             12,000,000              350 000           700 000         7SO   OOO           s non non            600.000      2.000.000.000        0 005      0 0001f       o ooo3?       n onn17           0 0025      0.00027
CPEX SOLAR POWER                                                 12.000,000              350.000           700 000         ,50 000             5 00n noo            600,000      2.000.000.000        0 005      0 0001t       o 00031       o ooo17                       0 00027
Advânced solar                                                   1'   OOO OnO            3s0,000           700,000         250 000             5 000 000            600 000      , oon non noo                   0   000lt     0 00033       0 00017           o oo25      o ono77
qdvanced Soler Produds,lnc                                       12 000      000         350 000           700 000                             5,000,000            600.000      2 000 000 000        o oo5      o   ooort                                     0 0025      o ooo27
qffordab¡e soler                                                 12.000,000              350 000           700 000         250 000             5 000 00n                         2.000.000.000        0.005      0 0001t       0 0ô033       o   oool7         n ônrs      0 00027
                                                                 1 t non nno             350,000           700,000         250 000             5 000 000            600 000      7 ono nnô non                   0 0001É       0 00033       0 00017           o oo25      o ooo)1
Allco F¡nance L¡mited c/o Allco Renewãble Enersv t¡m¡ted         12 000 000              ¡50 000           70n oon                             5,000,000            600 000      2 000 000 000        o oo5      o oontF                     0 00017           0 0025      o ooo27
                                                                 12,000,000              350 000           700 000         2SO OOO             5 000 000                         2.000.000.000        0 005      0 0001É       0 000¡3       o   oool7         o noTs      0 00027
AmecE&CServ¡ces lnc                                              1 2 0ôn ooo                               700,000         250 000             5 000 000            600 000      2 000 000 000                                 0 00033       0 00017           0 0025      o ooo)7
Amer¡can Hel¡os                                                  12 000 000              350 000           700 000                             5,000.000            600,000      2 000 000 000        0 005      o   oool¡     o ooot¡       o oônl7           0 0025      0 00027
Amer¡cân 5olã. Wholêsâlê                                         12,000,000              350,000           700 000         250 000             5 000 000            600 ono      t   ôno ônô ônn      0 005      0 00018       0 00033       o 00017           o oo25      o oon27
ADex Solâr      Power                                            1 2 000 000                               700,000         250,000             5.000 000            600 000      7 000 000 000        o oo5      o oonlt       0 00033       0 00017           0 0025      0 00027
AÞÞarent                                                         12 000 000              350 000           700 000         ?5n ono             5,000,000            600,000      2 000 000 000        0 005      0 0001F       o   oool¡     o noolt           0 0025      0 00027
Apparent lnc                                                     12,000,000              350 000           700 000         750 000             5 000   000          600 onn      2.000.000.000        0 005      0 00018       0 00033       o ooolT           o oo25      o nôn17
Auon 50¡ar                                                       t, ooo non              350,000           700,000         250.000             5 000 000            600 000      2 000 000 000        o nos                    0 00033       0 00017           o 0025      0 00027
Arzon So¡ar      LLC                                             l7   000 000            ?50 000           700,000         250.000             5,000,000            600 000      2 000 000 000        0 005      o ooo1,       o onol?       0 00017           0 0025      0 00027
Aten Soler                                                       17 000 000              350 000           700 00n         250,000             5.000.000            600,000      2 000 000 000        0 005      0 0001¡       o ooo??       o oon17           0 0025      0.ooo27
Axium Solar                                                      12 000 000              350 000           700 000         250 000             5 000 000                         2,000.000.000        0.005      0 00018       0 00033       0 00017           o oo25      o non)1
BEFREE GREEN ENERGY                                              t, ôno nôn              350,000           700,000         250.000             5 000 000            600 000      7 000 000 000        o oo5      n onolt                     0 00017           0 0025      0 00027
Båker                                                            12 000 000              350 000           700 000         ,sn noo                                  600,000      2.000.000.000        o 005      0 00018       o ooo33       o ooorT           o oor5      o nonrT
Beker RoofinÊ                                                    12,000,000              350.000           700 000         250 000             s ooo ooo            60n non      , noo nno ono        0 005      0 00018       0 00033       0 00017           0 0025      o ooo27
Bâker Rôôfinr Comoânv                                            t7 ôno ôon              350,000           700,000         250 000             5 000 000            600 000      7 000 000   000      o nos      n onol¡                     0 00017           0 0025      0 00027
BeFree Green EnerEv                                              12 000 000              350 000           7no ooo                             5.000.000            600,000      2.000 000 000        0-005      0 00018       o ooo33       o oon17                       0.00027
Benton Eledr¡c                                                   12 000 000              350 000           700 000         250 000             5 000 000            6nn non      2.000,000.000        0 005      0 00018       0 00033       0 00017           0 007s      o ooo)7
                                                                 12,000,000              350,000           700.000         250 000             5 000 000            600 000      2 000 000 000        o oo5      n ôno1t       0 00033       o ooo17           0 0025      o ooo27
Best Power lnt'l tLC                                             12 000 000              ?50 000           7no onn         250,000             5.000.000            600.000      2 000 000 000        0 005      o oool8       o ooo3a       n oool?                       o 00027
g¡ue Oâk Enersv. lnc                                             12 000 000              350 000           70ô 000         750 000             5 000 000            6nn non                           0 005      0 00018       0 00033       0 00017           0 002s      o ooo?7
Blue oåk Fnergv        ln.                                       12,000,000              350,000           700,000         250 000             5 000 000            600 000      7 000 000 000        o oo5      o onôlt                     0 00017           0 0025      0 00027
B¡ue Reneweble                                                   12 000 000              ?50 000           tno ono                             s.000.000            600,000      2.000.000 000        0 005      0 0001€       o ooo33       o ooo17           n oor5      n ôôôr7
Blue Reneweble Enersv-lMS. LIC                                   12,000,000              350 000           700 000         250 000             5 000 000            600 00n      ) non nôo oôo                   0 00018       0.00033       0 00017           0 0025      0 00027
Bôrêâl    $lår                                                   12,000,000              350,000           700,000         250.000             5 000 000            600 000      2 000 000 000        o oo5      o ooolt       o non¡l       n onn17           0 0025      0 00027
Brian    D Robeßon Memor¡âl            So                        12 000 000              ì50 000           7no ôno                             5,000,000            600.000      2.000 000 000        0 005      0 00018       o ooo33       o   oool7         n on25      o Õnn)1
Caribbeân Enerev D¡str¡butor                                     12 000 000              350 000           700 000         ?50 000             5 non non            600 non      2.000,000,000        0 005      0 00018       0 00033       0 00017           0 0025      o ooo)7
Civicsolâr                                                       12,000,000              350.000           700 000         250 000             5 000 000            600 000      2 000 noo ooo        n ons      o onol¡       0.00033       0 00017           0 0025      0 00027
ClÊåh Fnêrgv Distribut¡ôn                                        17 non Onô              350,000           700.000         250.000             5.000 000            500 000      2 000 000 000        o 005      o oool8       o ooo¡3       o ono17           n on2q      0.00027
Clenerâ tLC                                                      12 000      000         ¡50 000           700 ono                             5,000,000            600,000      2.000.000.000        0 005      0 00018       o-00033       0 00017           o oo75      o ooo27
Conso¡¡dãted Ed¡son DeveloÞment                                  12 000      000         350.O00           ?oo ooo         250 000             5 00n non            600 ñoo      ? nôn nôn nôn        0.005      0 0001€       0.00033       0 00017           0 0025      0 00027
Cornerione Soler                                                 12,000,000              350,000           700,000         250 000             5 000 000            600 000      2 000 000 000        o oo5      o ooort       o non?l       n ono17                       o oo027
DC Power                                                         12 000 000              ¡50 000           700 000         ,50 00ô                                  600,000      2.000.000.000        0 005      o 00018       0 00033       0 00017           o.oo25      o ooo27
DEPCOM Power lnc                                                 12.000.000              350 000           700 000         250 000             5 000 000            600 000      2 000 00n non        n ons      o nonlt       0 00033       0 00017           0 0025      0 00027
Demeqed                                                          12.000.000              350,000           700,000         250 000             s 000 000            500 000      2 000 000 000        o oo5      o oool8       o   oon?l     n ono17           0 0025      0 00027
                                                                 12 nOO OnO                                7ôn nno         250.000             5,000.000            600.000      2 000.000 000        0 005      o 00018       0 0003e       o   oool7         o oo75      o ooo27
Ovnãm¡c Solar                                                    12 000      000         350.O00           ?00 000         750 000             5 000 000            6no ooo      ) non non nôn        0 005      0 00018       0 00033       0 00017           0 0025      0 00027
EC   Compåny                                                     12,000,000              350.000           700 000         250 000             5 000 000            600 000      7 000 000 000        o oo5      o ooort       o non?¡       n ônô17                       0 00027
EGMI                                                             12 000 ono                                7ôn onô         250,000             5,000,000            600,000      2.000.000.000        0 005      0 00018       0 00033       0.ooo17           o oo75      o ooo)7
Enereia Solar de Guâtemele         S   A                         12 000 000              350 000           700 000         250 000             5 000 000            6no ooo      , ooo nôn non                   0 00018       0 00033       0 00017           0 0025      o ooo)7
                                                                 12,000,000              350,000           700,000         250 000             5 000 000            600 000      2 000 000 000        o oo5      o oool8       o ooo?3       o ono17                       n onôr7
Enersv Protedion Svstems Grouo                                   l2 000 000              ¡50 000           700 ono         )50 000                                  600,000      2.000.000.000        0 005      0 0001€       0 00033       0 00017           0 0025      0 00027
Enersv Wise lisht¡nq lnc c/o Admin lnsiEht                       12,000,000              350.000           700 000         250 000             5 000 000            600 000      2 000 000 000        o oo5      o ooott                     n ônô17           0 0025      0 00027
                                                                 1' noo ono                                700,000         250,000             5,000,000            600.000      2 000 000 000        0 005      o   000ff     0 00033       o ooo17           o oo25      n oia)1
Eouioos lndustr¡ãles                                             17 000 000              350 000           700 000         250 000                                               2.000.000.000        0 005      0 00018       0 00033       0 00017           0 0025      o ooo27
Essco    Wholesale Eledric, lnc                                  12.000.000              350,000           700 000         250 000             5 000 000            600 000      7 000 000 000        o oo5      o ooott       o non?l       n ono17           0.0025      o ooo21
Fß EnêrÉv                                                        17 nOO OnO                                700,000         250,000             5,000.000            600.000      2 000 000 000        0 005      0 00018       0 00031       o ooo17           o oo75      n ono77
F¡rst Solâr Eledric ICA) lnc                                     12 000 000              350 000           700 000         750 000             s ooô non                         2.000.000.000        0 005      0.00018       0 00033       0 00017           0 0025      0 00027
Frankenso¡ar                                                     12.000.000              350 000           700 000         250 000             5 000 000            600 000      2 000 000 00n        n ons      o nonlt                     0 00017           0 0025      0 00027
GASNA 16P                                                        1   2 nOO   nno                           700,000         250,000             5.000.000            600 000      2 000 000 000        0 005      o ooo18       o ooo33       o ooo17           o oo75      n onotT
GE Enercv                                                        12 000 000              350 000           700 000         2SO   OOO           5 000 00n                         2.000.000.000        0 005      0 0001€       0 00033       0 00017           0 0025      0 00027
GWA lnternat¡onal                                                12.000.000              350,000           700.000         250 000             5 000 000            600 000      2 000 000 000        o oo5      o noot¡                     ô ônô17           0 0025      o oo027
Gehrl¡cher solar                                                 12 000 000              ì50 ono           700 0ôo                             5.000.000            600,000      2.000.000.000        0 005      o 00018       0 00033       o ooo17           o oo75      o ooo27
Globâl Resou.ce Ootions c/o po                                   12 000 000              350 000           700 000         250 000             5 000 000            600 000      , ooo oon non                   0 00018       0 00033       0 00017           0.0025      0 00027
Globâl Resouace Opt¡ons, lnc c/o srosolar                        12.000,000              350,000           700.000         250 000             5 000 000            600 000      ,   000 000 000      o oo5      o oool¡       o oon?r       o onotT           0 0025      0 00027
GôSolâr Enêrrv                                                   1 2 non OOO                                               250,O00             5,000,000            600.000      2.000.000 000        0 005      o-00018       0 00033       o   oool7         o oo25      o oooz7
GreenPath Technoloe¡es                                           12 000 000              3S0 000           700 000         250 000             5 000 000            6no ooo      , ono ooô non                                 0 00033       0 00017           0 002s      0 00027
GreênPãth Tê.hnôlôpiê<       ¡ñ.                                 1  nôn nôô              350,000           700,000         250,000             5.000.000            600 000      2 000 000 000        o oos      o ooo18       o ooo33       o ooorT           o oo75      no i)7
                                                            '
                                              Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
                                                                                                                                       ¡¡Public Version++
                                                Case 1:17-cv-00199-CRK Document 54-1                                                  Filed 09/19/18                Page 82 of 94
                                 Custonêr                      Barcode:3488970-01
                                                        ¡nlfwcu_tota
                                                                   I  usotfcu total
                                                                                           A-570-010
                                                                                    u$tru_total in lfpwu_tota
                                                                                                              REV  - Admin usbfoku_tota
                                                                                                                uswa.ehu total
                                                                                                                               Review 7/31/14      - 1/31/16
                                                                                                                                        totaLpower_sold tNtFwcu
                                                                                                             I                               I                               usoTRclJ       usolRu        tNtfPwu       USWAREHU     USBROXU


Greensk¡es Renêwâblè Fne.ov                                12.000.000        350.000     700 000     250 000             5 000 000                2.000.000.000      0 005      0 00018       o ooo3¡       o   nonlt                   0 00027
Greenvox Soler CorD                                        12 000 000        350,000     700,000     250 000             5 000 000      600 000   2,000,000,000      0,005      0 0001E       0 00033       0 0001t         o oo2!      o non)t
Groklår                                                    12 000 000        ?50 000     700,000     250,000             5.000 000      600 000   7 000 000   000    o noq      0 00018       0 00033       0 00017         o 002s      0 00027
Grupo Alc¡one                                              12 000 000        350,000     700,000     )so noo             5,000,000      600,000   2 000 000   000    0 005      0 00018       o onoìt       ô nôn1t         0.0025
                                                                             350,000     700 000                                                                     0 005      0 00018
HANNAH SOI.AR I,LC                                         l2 000 000        ¡50 000     700,000     250,000             5 000 000      600 000   2 000 000 000      o nos      0 00018       0 0003!       0 00017         0 0075      o ooo2l
Hânnâh 50lår                                               12 000 000        350 000     700 000     ,so non             5,000,000      600 000   2 000 000   000    o oo5      o   ooola                   0 00017         0 0025      0 0002,
Hecate EnergV                                              12,000,000        350 000     700 000     750 000             5 non noo      600.000   2.000.000 000      o 005      0 0001a       o ooo3¡       o nônlt         0 0025      0 00027
Hel¡ene                                                    12 000 ôno                    700,000     250 000             5 000 000      600 000   2 noo noo onn                 0 00018       0 0003:       0 00017         o oo25      o ioÕ)7
Hel¡oPower                                                 12 000 000        350 000     700 000                         5,000,000      600.000   2 000 000 000      o oo5      o ooola                                     0 0025      0 00027
H¡rhland                                                   12,000,000        350,000     700 000     250.000             5 000 000      600 ôon   2.000,000.000      0 005      0 00014       0-0003!       o ooo17         n oo25
Hor¡zon Solâr                                              1 2 000 000                   700.000     250,000             5 000 000      600,000                      0 005      0.00018       0.00033                       0 0025      0 00027
                                                                                                                                        600 000                      o oo5                                                  0 0025      o ooo2l
                                                           12.000 000        350 000     700 000     250 ono             s ono oon      600,000   2.000.000.000      0 00:      o-00018       o oooq!       o   ooolt                   0 00027
ndeoendent Elêdri. suoolv                                  12,000,000        350,000     700 000     250 000             s ooo ooo      600 ono   2,000,000.000      0 005      0 00018       0 00033       0 00017         o oo25      n oootf
ndeoendent Eledr¡c Suoolv lnc                              1   2 000 000                 700,000     250,000             5 000 000      600 000   2 000 000 000      o oo5      n nonlÂ       0 00033       0 00017         0 0025      0 0002?
IKB Enersv                                                 12 000 000        350 000     700 000     7SO   OOO           5,000,000      600,000   2.000 000 000      0 005      o ooota       o ooo¡¡       o nootf         0 0025      0 00027
                                                           12,000,000        350.000     700 000     250 000             5 000 000      600 ono   2,000,000.000      0 005      0 00018       0 00033       0 00011         o oo25      o oonrT
Kennev Generål Contrâdins                                  12 000 000                    700,000     250,000             5.000 000      600 000   2 000 000 000      o oo5      o oonlR                     0 00017         0 0025      0 00027
Kennev General ContredinE, ILC                             12 000 000        350 000     700 000     250 000                            600,000   2.000.000.000      0 005      0 0001s       o ooo33       o ooorl                     0 00027
Lishtwave    Slâr                                          1 ) Onô nôn       350,000     700.000     250 000             5 000 000      600 000   ? ono ono ooo      0 005      0 00018       0.00033       0-00017         o oo75      o ooo27
Liehtwave Soler Eledr¡c    llc                             17 000 000        ¡50 non     700,000     250,000             5 000 000      600 000   7 000 000 000      o oo5      n oonlR       0.00033       o 00017         o 0025      0 00021
Mec Eu¡p                                                   12 000 000        3SO   OOO   700 000     7Sn non             5,000.000      600,000   2 000 000 000      0 005      o   ooola     o oooì¡       o   oonll       0 0025      0 00027
McCãfrhy                                                   12,000.000        350.000     700 000     250 000             5 000 000      60n ooo   2,000,000,000      0.005      0 00018       0 00033       o 00017         o oo25      o noorT
Mccadhv Buildinc Comôåniês                                 t7 ono oon        350,000     700,000     250.000             5 000 000      600 000   2 000 000   000    o nos      n ônô1t       0 00033       0-00017         0_0025      0 00027
Me¡co 5 A                                                  12 000 000        ?50 00n     7no ooo     250,000             5,000,000      600.000   2 000 000   000    0 005      o   ooola     o ono3t       o nôn17         0.0025      0 00027
Miss¡ns                                                    12 000 000        350 000     700 000     250 000             5 non noo      600,000   2.000.000.000      0 005      0 00018       0 00033       0 00017         o oo25      o non77
Miss¡ng pãllet                                             12.000.000        350,000     700 000     250 000             5 000 000      600 000   ) non ooo onô                 0 00018       0 00033       0 00017         0 0025      0 00027
Mount¡np                                                   12 000 000                    7nn ônô     250,000             5.000.000      600 000   2 000 000 000      o oo5      o ooolf       o oootr       o oonl7                     0.00027
Mount¡ne Svstems lnc                                       12 000 000        350 000     700 000     750 000             5 non noo                2.000.000.000      0 005      0 0001r       0 00033       0 00017         o oo25      o noo27
                                                           12,000,000        350,000     700 000     250 000             5.000 000      500 000   2 00n non ooo                 0 0001t       0 00033       0 00017         0 0025      o ooo2t
NRG Enersv                                                 12 non OnO                    700,000     250,000             5.000.000      600 000   2 000 000 000      o oos      o   oool¡     o ooo¡r       n ooo17         0 0025      0 00027
          lnc
NRG Enerev.                                                12 000 000        350 000     700 000     250 000             5 000 non                2.000,000.000      0 005      0 0001€       0 00033       0 00017         o oo25      o ooo27
NWllCdhâSuñFdi<ôñ                                          12.000.000        350,000     700,000     250 000             5 000 000      600 000   2 000 000 000      o oo5      n onolt                     0 00017         0 0025      0-00027
Nåmaste                                                    1   2 000   000   lso ono     700,000     250,000             5.000.000      600 000   2 000 000 000      o 005      o   ooolf     o   oon¡t     n ono17         0 0025      0 00027
Namaste Solar                                              12 000 000        350 000     700 000     ,50 000                            600.000   2.000.000.000      0 005      0 0001t       o 00033       o ooo17         o oo25      o ñno77
NeK Generãt¡on                                             12.000.000        350 000     700 000     750 000             5 000 000      600 000   2.000.000,000      0 005      0 0001€       0.00033       0 00017         0 0025      o ooo)7
Net GênerâÌion Fnê.pv                                      1  non nnô        350,000     700,000     250 000             5 000 000      600 000   7 000 000 000      o oo5      o oool¡                     0 00017         0 0025      0 00027
Ne*Ere
                                                               '
                                                           12 000 000        350 000     700 000                                        600,000   2.000.000.000      0 005      0 0001t       o ooo33       o oool7         o oo25      i nna)1
NodEre Enersv Resources        LLC                         12.000.000        350 000     700 000     250 000             5 000 000      600 000   2 ono non non                 0 0001€       0 00033       0 00017         0 0025      0 00027
                                                           1  non nnn        350.000     700,000     250.000             5 000 000      600 000   2 000 000 000      o oo5      o   ooort     n non?1       ô nnô17         0 0025      o ooo27
NetrSun Enersv
                                                               '
                                                               2 000 000     i50 noo     70n noo
                                                           1                                         250,000             5,000,000      600,000   2 000 000 000      0 005      o-00015       o ooo3l       o   oool7       o onrS      ñ oño)7
NeÍera                                                     12 000 000        350 000     700 000     250 000             s ono ooo                2.000.000.000      0 005      0.00016       0 00033       0 00017         o 002s      o 00027
Nenracker    US                                            12,000,000        350.000     700 000     250 000             5 000 000      600 000   2 000 000 000      o ont      ô nontt                     0 00017         0 0025      0 00027
o'cônnêll                                                  1 ) Onn oon       350,000     700,000     250,000             5.000.000      600 000   2 000 000 000      0 005      0 0001F       o   oooll     o ooorT         o onr5      n ônor7
O'Connell Eledric                                          1   2 000 000     a5n ooo     70n non                         5,000,000      600,000   2.000.000.000      0 005      0 00018       0 00033       0 00017         o oo25      o ooo77
O'Connell Eledr¡c Co , lnc                                 12 000 000        350 000     700 000     250 000             5 000 000      600 000   7 ono ono oon                               0 00033       0 00017         0 0025      0 00027
Onvr Rênewâblê PâÉñêr<                                     1 2 ôôn nôn                   700,000     250,000             5,000.000      600 000   2 000 000 000      o 005      o ooolE       o ooo33       o ooorT         o oo75      Õ oÕo)7
Onvx Renewable Dafrners                                    12 000 000        350 000     700 000     250 000             5 000 000      600 ono   t   onô ônô ôôn               0.00018       0 00033       0 00017         0.0025      o ooo27
Oüawa Solar                                                12,000,000        350,000     700.000     250 000             5 000 000      600 000   7 000 000 000      o oo5      o   oonlt     n oool¡       o onol7         0 0025      0 00027
PFMG   Côhsturdion ttd c/ô PFMG blár                       1 2 000 noo                               250,000             5,000,000      600 000   2 000 000 000      0 005      0 0001[       o   000¡l     o   oool7       o oo75      o ooorT
Peck Eledr¡c                                               12 000 000        350 000     700 000     250 000             5 000 000      600 ono   , onô ônô nnn                 0 00016       0 00033       0 00017         0 0025      o ooo27
Phoen¡x Solår lnc                                          12,000,000        350,000     700.000     250 000             5 000 000      600 000   2 000 000 000      o oo5      o ooolt       n onol¡       o nonlf         0.0025      o 00021
                                                           I 2 000 non                               250,000             5,000,000      600,000   2 000 000 000      0 005      0 0001t       0 00033       o   oool7       o oo25      o ooo27
Pro-Tech                                                   12 000 000        350 000     700 000     250 000             5 000 ono      60n ôno   2,000,000.000      0 005      0 00018       0 00033       0 00017         0 0025      o ooo27
Pro-tech                                                   12.000,000        350 000     700 000     250 000             5 000 000      600 000   7 000 000 000      o nos      n ñon1¡                     0 00017         0 0025      0 00027
Prô-1êch Enerdv     %luliôns                               1   )   OOO nOO               700,000     250,000             5,000,000      600 000   2 000 000 000      0 005      o 0001t       o ooo33       o ooorT         o noTs      ô ooo27
Psomes                                                     12 000 000        350 000     700 000     250 000                                      2.000.000.000      0 005      0 00018       0 00033       0 00017         0 0025      o 0002?
RAI                                                        12,000.000        350,000     700 000     250 000             5 000 000      600 000   2 000 000 000      o oo5      o oôo1t       n ooo¡?       n nnôl7         0 0025      o 00027
RFR FnerÞv                                                 t, ono non        350,000     700.000     250,000             5,000.000      600 000   2 000 000 000      0 005      0 0001t       0   000¡l     o   oool7       o oo25      o oon2?
                                                           12 000 000        ?50 000     700 00n                                        600,000   2.000.000.000      0 005      0 00018       0 00033       0 00017         0 0025      o 00077
RMA                                                        12.000.000        350 000     700 000     250 000             5 000 000      600 000   2 000 000 000      o oos      o oonl¡                     ô nônl7         0 0025      o 00027
                                                           1'      OnO Oôn   350,000     700,000     250,000             5.000.000      600 000   2 000 000 000      0 005      0 0001t       o ooo33       o   oool7       o oo25      o ooo)7
Reå¡ Goods   solår                                         12 000 000        350 000     700 000     75n OOO             5 ono ôno                2,000,000.000      0 005      0 0001€       0 00033       0 00017         0 0025      o ooo27
Retecse                                                    12,000.000        350.000     700 000     250 000             5 000 000      600 000   2 000 000 000      o oo5      n ooolt       n onol?       ô nnnlt         o 0025      o ooo27
Rosendin Eledric                                           t, ono oôn                                250,000             5,000,000      600 000   2 000 000 000      0 005      0 00018       0 00033       o   oool7       o oo25      o ooo27
Russell Pac¡fìc                                            12 000 000        350 000     700 000     250 000             5 000 000      600 000   7 0ôo ôno   ônô                             0 00033       0.00017         0 0025      0 00027
Russêll Pã.ifi.   I LC                                     1'      ôno ônn                           250,000             5,000,o00      500 000   2 000 000   000    o oo5      o ooo18       o ooo¡3       o oootT                     o oôo27
sAE 5un end Eafth                                          12 000 000        350 000     700 000     250 000             5 000 000                2,000,000,o00      0.005      0 00018       0 00033       0 00017         o 0025      o ooo27
SAE Suh ând Eafth EnerÊv                                   12.000.000        350.000     700 000     250 000             5 000 000      600 000   2 000 000 ono      o nos      n ôno1¡       0 00033       0 00017         0 0025      0 00027
                                            Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
                                                                                                                 r¡Publ¡c Version¡'
                                                             Case 1:17-cv-00199-CRK Document 54-1                                                  Filed 09/19/18                     Page 83 of 94
                                         Culomer                         Barcode:3488970-01
                                                                     ¡nlfwcu total 050trcu_total
                                                                                                         A-570-010
                                                                                                 usotru_total ¡nlhwu_toblREV  - Admin usbfoku_total
                                                                                                                           uswarehu_total
                                                                                                                                          Review               7/31/14      - 1/31/16
                                                                                                                                                                 totaLpower_rold rNrFwcu         USOTRCU        USOTRU        INLFPWU       I,JSWAREHU     USEROKU
    SAÉ sun ãnd Eâfrh Enersv,           lnc                            12 000      000   350,000     700,000      ,qo nnn              5,000,000     600.000                           0 005        0 00018       o ooo?t       0.00017           0 0025
                                                                                         350 000     700 000                                                                           0 005        0 00018
    Safari                                                             12 000 000                    700,o00     250,000               5 000 000     600 000        2 000 000 000      o nos        0 00018       0 0003!       0 00017           0 0025      o ooo27
    Safari Enerqv                                                      12,000.000        350 000     700 000     250 000                             600,000        2.000.000 000      0 00s        o   ooota     o ooo3¡       o oonlt           0 0025      0 00027
    Sefer¡   Enersv      tlc                                           17 nOO Onô        350,000     700,000     250 000               5 000 000     600 00n        ? non noo nnô      0 005        0 00018       0 00033       0   000rt         o oo25      o oooz7
    Second Sun USA                                                     17 000 000        t50 ono     7ôn nnô     250,000               5.000 000     600 000        7 000 000 000      o oo5        n nnol¡       0 00033       0 00017           0 0025      o ooo27
    s¡lfab                                                             12 000 000        350 000     700 000     750 000                             600,000        2.000 000 000      0 005        o   ooola     o ooo3t       o ooô1t                       0 00027
    Småsh Solar                                                        1 ) noo onô       350,000     700,000     250 000               5 000 000     600 000        2 00n non nno      0 005        0 00018       0 0003:       0 00017           o oo25      o oooTt
    SoCore                                                             1   7 000   000   150 ono     700,000     250,000               5.000 000     600 000        7 000 000 000      n ons        0 00018       0.00033       0 00017           0 0025      o ooo)7
    Socore lnstâlletion Serv¡ces ILC                                   12 000 000        ¡50 000     700 000     )50 0nô               5,000,000     500,000        2 000 000 000      0 005        o   ooola     o non¡t       n ônô11           0 0025      0 00027
    SolBr¡ght renewable Enerev LLC                                     12,000,000        350 000     700 000     250 000               5 000 000                    2.000.000.000      0   00:      0 00014       0 0003!       o ooo17           n oor5      n ônôr7
    blar     C¡to                                                      1       OOn OOO   350,000     700,000     250 000               5 000 000     600 000        2 000 000 noo                   0 00018       0 00033       0 0001?           0 0025      o ooo27
    Soler EnerEv Solutions
                                                                           '
                                                                       12 000 000        150 000     70n non                           5,000,000     600.000        2.000 000 000      o o05        o ooolR       n oont¡       n ônô1?           0 0025      0 0002?
    Solàr EnerÊv Solutions LIC                                         12,000,000        350 000     700 000     250 000               5 000 000     6no ono        2.000.000.000      0 005        0.00018       0 0003:       o ooo17           o oo25      n ono?l
    Solar Exoress        tlc                                           I 2 00n non       350,000     700.000     250.000               5 000 000     600 000        2 000 000 000      o ont        n nônlÂ       0 00033       0 00017           0 0025      o   000)l
    Solar Libeftv                                                      l7      000 000   a5n ooo     70n non     250.000               5,000,000     600 000        2 000 000 000      o oo5        o ooolR       n oonl¡                         0 0025      0 00027
    Solar Libefrv Enerav Svstems, lnc                                  12.O00.000        350 000     700 000     250 000               5 000 ono     600,000        2.000.000.000      0 005        0 00014       0   000¡¡     o oool7           o oo75
    Soler Servicê Cêntèr                                               1' Onô nôn        350,000     700.000     250 000               5 000 000     500 000        2 000 ono ooo                   0 00018       0 00033       0 00017           0 0025      o ooo27
    Solar Smed                                                         l2 000 000        ¡50 00n     700 ônn     250.000               5,000,000     600 000        2 000 000 000      o oo5        o   ooola     n ono¡¡       0 00017           0 0025      0 00027
    Solar's Smad                                                       12 000 000        350 000     700 000     250 000               q ono onô     600,000        2.000.000.000      0 00s        0 00014       o ooo33       o ooo17           o noTq      0 00027
    SolarFirst                                                         12.000.000        350.000     700 000     250 000               5 000 000     600 000        2,000,000.000      0 005        0 00014       0 00033       0 00017           o oo25      o ooo2?
    SolarFirst INC dbâ F¡rstPv                                         t? ono oon                    700,000     250,000               5 000 000     600 000        2 000 000 000      o oo5        n   oonla                                     0 0025      o ooo27
    Soiadricitv                                                        12 000 000        350 000     700 000     250 000               5 ono ôno     600,000        2.000.000.000      0 005        0 00014       o 00031       o oool7           o oo75      n ôôôrl
    ;ôlâÉri.itv     I   lC                                             1.2,000,000       350.000     700.000     250 000               5 000 000     600 000        2 000 ono ooo                   0.00018       0 00033       0 00017           o-0025      o ooo27
    ;olbr¡sht                                                          12 ono ooo                    700,000     250,000               5,000,000     600 000        2 000 000.000      o oo5        o   ooola     n onol¡       ô nnnll           0 0025      o 00021
    ;oled Enerev Develooment                                           12 000 000        3SO   OOO   700 000     )5n non                             600,000        2.000.000.000      0_005        0 00018       0 000t1       o oool7           o no75      o onô?7
    SoliEent                                                           12,000,000        350.000     700 000     250 000               5 000 000     600 000        7 000 000 ono                   0.00018       0 00033       0 00017           o 0025      0 00027
    iôl¡øènt Diçtrihutioñ      I   lc                                  t7 ono ono        350,000     700,000     250.000               5 000 000     600 000        7 000 000   000    o oo5        n onola       o onô¡t       0,00017           0.0025      0 00027
    Sor¡s    Eledric                                                   t2 000 000        ?50 000     7no ono     250,000               5.000.000     600,000       2 000 000 000       o-005        0 0001t       o ooo3?       o ooorT           o norq      0.00027
    ;Drie Eledr¡c comoãnv                                              12 000      000   350 000     700 000     250 00n               5 non non     600,000       2.000.000.000       0 005        0 00018       0 00033       0 00017           o oo25      o   îon)1
    tteel Tree                                                         12,000,000        350 000     700 000     250 000               5 000 000     600 000       7 non noo ôno                    0 00018       0 00033       0 00017           0 0025      o ooo2t
    ;un Lisht & Powêr                                                  17 000 ono                                250,000               5,000,000     600 000        2 000 000   000    o oo5        o ooola       o oootì       o non17                       0.00027
    ;unEd¡sonlNW LLC)                                                  12 000 000        350 000     700 000     ?50 000               s ooo ooo                                       0 005        0 00018       0 00033       0 00017           0 0025      o ooo27
                                                                                         350,000     700,000     250 000               5 000 000     600 000        7 000 000 000      o oo5        n onolt       o onn¡?                         0 0025      0 00027
    SunEnersvl                                                         12 000 000        îso ooo     700 ônô     250,000               5,000,000     600.000        2.000 000 000      0 005        0 0001É       o ooo33       o ooo17           o oor5      ô nôn)7
    ;unVel                                                             12 000 000        3SO O00     700 000     250 00n               5 00n non     600,000       2.000.000.000       0 005        0 0001f       o 00033       0 00017           o oo75      o ooo27
    lunvest %lâr lnc                                                   12,000,000        350.000     700 000     250 000               5 000 000     600 000       2 000 000 000                    ô onolt                     0 00017           0 0025      o ooo27
    ;uncrest                                                           12 nOO OnO                    700,000     250,000               5.000.000     600.000       2 000 000 000       0 005        0 0001t       o ooo?1       n ooo17           n oo2s      0 00027
    Suncrest So¡âr                                                     12 000 000        350 000     700 000     ,50 000               5,000,000     600.000       2.000.000.000       0 005        0   000lt     o 000?3       o ooo17           o oo?5      o ooo?7
    Sunrevitv, lnc                                                     12.000 000        350 000     700 000     250 000               5 000 000     600 000       , ooo non non                    0 0001€       0.00033       0 00017           0 0025      0 00027
                                                                       12,000,000        350.000     700,000     250 000               5 000 000     600 000       2 000 000 000       o oo5        o   ooolf     o non¡r       n ono17           0 0025      o ooo27
    Sunvest                                                            1 2 000 000       ì5n ono     70n ooo                           5,000,000     600,000       2.000.000.000       0 005        0 0001¡       o 00033       o ooo17           o oo25      o ooo)7
    Sunwize                                                            12 000 000        350 000     700 000     250 000               5 000 000     600 000       2 00ô oon noo                                  0 00033       0 00017           0 0025      o ooo27
                                                                       12,000,000        350,000     700,000     250,000               5 000 000     600 000       2 000 000 000       o oo5        o   ooolt     o ooo?¡       o ono17           n oo)s      n ônôt7
    ;vbâc                                                              1   2 000   000   150 ono     700 ono                           5.000.000     600.000       2.000.000.000       0 005        0 0001€       o 00033       0 00017           o oo75      o ooo)7
    Teneent EnerEv Solut¡ons                                           12 000 000        350 000     700 000     750 000               5 000 000     600 000       2 ôOn non oôn                                  0 00033       0 00017           0 0025      o ooo27
    The Grêêñ Prôiêd                                                   12,000,000        350,000     700,000     250.000               5 000 000     600 000       2 000 000 000       o oo5        o   ooolf     o ooo33       o oool?                       n ônô?7
    The Green Pro¡ed S A                                               1   2 000   000   ?50 ono     ?on ono     ,qo oon               5.000.000     600,000       2.000.000.000       0 005        0 0001É       o-00033       0 00017           0 0025      o ooo?7
    Third    Sun Soler                                                 12 000 000        ?50 000     ?oo ooo     250 000               5 000 00n     6no ono       , oon non non                    0 0001€       0 00033       0 00017           0.0025      o ooo27
    Tr¿vas                                                             12.000,000        350,000     700.000     250 000               5 000 000     600 000       ,    ooo ooo ooo    o oo5        o oool¡       o non?ì       n ono17           0 0025      0 00027
                                                                       1 ) non ono                   700,000     250,000               5,000.000     600.000        2 000 000 000      0 005        0   000lt     0 00031       o   oool7         o oo25      o ooo27
    Trin¡t                                                             12 000 000        350 000     700 000     250 000               5 000 000     600 000        ,   ooô non oon                                             0 00017           0 0025      o ooo27
    Triñ¡tu Sôlâr Svdêm<                                               12,000.000        350,000     700,000     250.000               5.000 000     600 000       2 000 000 000       0 005        o   ooolt     o ooo33       o ooo17           n onrs      n ono77
    Urbân Grêen EnêrEV                                                 1 2 000 000       150 000     70n ooo     ,5ô ônô               5.000.000     600,000       2.000.000.000       0.005        0 0001t       o 00033       0 00017           o oo75      o ooo27
                                                                       12 000 000        350 000     700 000     250 000               5 000 00n     6no oon       2 nno nôn onn                    0 00018       0 00033       0 00017           0 0025      0 00027
    Verenso Soler                                                      12,000,000        350.000     700 000     250 000               5.000 000     600 000        7 000 000 000      o oos        o ooort       o non¡t       n onô17           0.0025      0 00027
                                                                       1  noo ono                    700,000     250,000               5.000.000     600.000        2 000 000 000      0 005        0 0001t       o 00033       o ooo17           o oo25      o ooo77
    Vivint Solar Develooer LLC
                                                                           '
                                                                       12 000 000        350 000     700 000     250 000               5 00n non                   2.000.000.000       0 005        0 000lt       0 00033       0 00017           0 0025      0 00027
    Werner Electric SuoDlv                                             12.000 000        350 000     700 000     250 000               5 000 000     600 000       2 000 000 000       o oo5        o 0001t                     0 00017           0 0025      0 00027
    Wê<f Hill< Côñ<tn¡diôn                                             1  nôn nnô        350,000     700,000     250.000               5.000.000     600 000       2 000 000 000       0 005        o ooolE       o ooo33       o ooo17           o oo25      o noo?7
    WestHills Construd¡on lnc
                                                                        '
                                                                       12 000 000        350 000     700 000     ,50 000               5 00n noo                                       0 005        0 0001€       0.00033       0 00017           0 0025      o 00027
                                                                       12,000,000        350,000     700,000     250 000               5 000 000     600 000       2 000 000 000       o oo5        o ooolf       o ooo¡¡       o ooo17
    ZeroBâse                                                           12 000 000        350 000     700 000     750 000               5 000 non                   2.000.000,000       0 005        0 0001t       0 00033       0 00017           0 0025      0 00027
    ZeroBese Enersv, LLC                                               12.000.000        350 000     700 000     250 000               5 000 000     600 000        2 000 000 000      n oo5        o ooott       o non?l       n ônn17           0 0025      o ooo27
    Zint Sôlãr                                                         1 2 00n noo                               250.000               5,000.000     600.000       2 000 000 000       0 005        0 0001Í       o ooo3l       o ooo17           o oo25      n ono77


I   TOTAT (exclud¡ng wârehous¡ng              storege)                                                         13 900   000




                                                         Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
                                                                                                                            1+Public   vers¡on'r
    Case 1:17-cv-00199-CRK Document 54-1               Filed 09/19/18    Page 84 of 94
             Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16




                               EXHIBIT C-6




Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
    Case 1:17-cv-00199-CRK      Document
                    Public Version           54-1 Ranged
                                   - BPI Has Been   Filedor09/19/18
                                                            Deleted       Page 85 of 94
               Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16



        Trina U.S.
        U.S. Warehouses (July 2014 to Jan 2016)


          Warehouse                                 Location
        Name             Location
        Name             Location
        Name             Location
        Name             Location
        Name             Location
        Name             Location
        Name             Location
        Name             Location
        Name             Location
        Name             Location
        Name             Location
        Name             Location
        Name             Location
        Name             Location




Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
    Case 1:17-cv-00199-CRK Document 54-1               Filed 09/19/18    Page 86 of 94
             Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16




                               EXHIBIT C.7




Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
          Case 1:17-cv-00199-CRK Document 54-1                   Filed 09/19/18    Page 87 of 94
                    Barcode:3488970-01 A-570-010Public
                                                  REV Version
                                                       - Admin Review 7/31/14 - 1/31/16



Trina U.S.
U.S. Freight Revenue (July 2014 to Jan 2016)


                                                                      Freight     Total Power   Revenue/
              Customer Name                    Code    lnvoice
                                                                     Revenue        (Watts)         Watt
                                               16609   811583                                   S    o.¡azs
                                               21228   809544                                   s    0.4821
                                               21025   810345                                   s    0.0300
                                               21676   811274                                   S    o.ooro
                                               2L659   810765                                   S    o.oos+
                                                7002   810235                                   s    o.00so
                                                7348   8rL322                                   S    o.ooso
                                                7348   811330                                   S    o.oroo
                                                7348   811331                                   S    o.oroo
                                                7348   811349                                   S    o.ooso
                                                7348   811351                                   s    0.00s0
                                                7348   8L1362                                   S    o.ooso
                                                7348   817422                                   S    o.ooso
                                                7348   8tt423                                   s    0.ooso
                                                7348   811631                                   s    0.00s0
                                                7348   8tL632                                   S    o.ooso
                                                7348   811681                                   s    0.0063
                                               7348    811765                                   S    o.ooso
                                               21369   809736                                   S    o.oors
                                               27369   809742                                   S    o.oo¿e
                                               2L369   809743                                   s    o.oo23
                                               2L369   809744                                   S    0.0046
                                               2L369   809745                                   S    o.oozs
                                               2L369   809809                                   S    o.oo¿¡
                                               21369   810011                                   S    o.oozo
                                               21343   809580                                   S    o.osEz
                                               21t76   8097L7                                   s    o.oo2o
                                               890s    809575                                   S    o.ooso
                                               890s    809873                                   S    o.ooso
                                               8905    8LO223                                   s    0.00s2
                                               8905    810290                                   s    o.ooso
                                               8905    810820                                   s    o.ooso
                                               8905    810882                                   S    o.ooso
                                               8905    810885                                   s    0.00s0
                                               21273   81030s                                   s    o.o3oo
                                               21273   810804                                   $    o.oozo
                                               27273   810855                                   5    o.oztz




    Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
    Case 1:17-cv-00199-CRK Document 54-1               Filed 09/19/18    Page 88 of 94
             Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16




                               EXHIBIT C-8




Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
      Case 1:17-cv-00199-CRK Document 54-1                                  Filed 09/19/18      Page 89 of 94
                                   Public
                   Barcode:3488970-01     Version - BPI
                                      A-570-010       REV   Been
                                                        Has -    Ranged
                                                              Admin     or Deleted
                                                                      Review   7/31/14 - 1/31/16


 Trina US -- Dollar ¡nter€st Rat€ Calculat¡on

       Ref.             Rate             Amount        Days      Start   Datê   End Date
                         ab                              G                                   a*brc       Þ*c
Trlna US -- fnterest for USD Borrow¡ngs

 Reference
 Reference
 Reference
 Reference
 Reference

                       2.6000      Wê¡ohted Averaoe of Interest Rates




Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
    Case 1:17-cv-00199-CRK Document 54-1               Filed 09/19/18    Page 90 of 94
             Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16




                               EXHIBIT C-9




Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
        Case 1:17-cv-00199-CRK     Document
                        Public Version           54-1 Ranged
                                       - BPI Has Been   Filedor09/19/18
                                                                Deleted     Page 91 of 94
                Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16

Trina
Warranty Expense Summary

                               2013                     2014                         2015
                        Accrued       Actual     Accrued     Actual        Accrued          Actual
           Currency
                        Expense       Expense    Expense       Expense     Expense          Expense
  TCZ         USD      12,989,551      386,473   L7,431,,835    tL3,823    2L,328,320        58L,577
  TST         USD       L,965,847                 2,846,O20       L,506     3,r22,49O         24,454
  THB        RMB                                  2,679,t93                 8,464,978
  TYB        RMB                                  4,L04,954                tL,736,868
  wc         RMB                                  7,954,058                L4,735,548        2L0,608
  TLF        RMB                                                            6,586,474          7,gLO




   Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
    Case 1:17-cv-00199-CRK Document 54-1               Filed 09/19/18    Page 92 of 94
             Barcode:3488970-01 A-570-010 REV - Admin Review 7/31/14 - 1/31/16




                              EXHIBIT C-10




Filed By: jfreed@tradepacificlaw.com, Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
                                          Case 1:17-cv-00199-CRK Document 54-1                                              Filed 09/19/18                   Page 93 of 94
                                                               Barcode:3488970-01 A-570-010 REVPubl¡c
                                                                                                  - Version
                                                                                                      Admin Review 7/31/14 - 1/31/16                                                                                                    Page 1   of 3


Tr¡na U.S.
U.S.   lndirect Selling Expenses (Aug 2014 to Jan 2016)



                                                                                 q                 b            C=Eø               d                  e                    F.+dæ
Account                               Descr¡ot¡on                           lan 1/}lul14          Y2014      Aus l+Dec 14       Y2015               Jan-16       POR   fOecl4-Nov15l                  FIEIO          ISE EXPENSES
             Cont¡nuing operat¡ons:
   101       Net aevenues                                                   i75 004 922 2i                                   1.000.000.000 00                          1.358.444.050 18
               5101010000-Revenue Module sales                              374 465 274     11                               1.000.000.000 00                          r3s5,796,!73.7r
               5101040000 Revenue lvlodule Kits
               5101990100 Revenue Othersales Tradinß
               5101990800 Revenue Othe.sãles StoraEe
               5101999900 Revenue othe.sales otheß                                                                                        700 00                              f133.955.23ì
               5102010000 Revenue lntercompanv Modules                                                                           2 000 000-00                                4,77A,404 37
               5102960000 Revenue from intercomDãnv rechãrEes                      4 442 92                                              1800 001                                3.327 39
               5103020100 Sales Rebates
               5103020200 Sâles discounts
   to2       Total net revenues                                             175,Uj4,922.27                                   1.dro.(x)o.(xþ-00                         1,358,444,050.18


   103       Cost of revenues                                               352 323 735 91                                   1.000.000.000.00                          r   345 597 tSS 77
               5201010000 cOGs Module sales                                 339 299   1 47                                     800,000,000.00                          í,077 .387.607.54
               520102000o_COGS_Proiect Development
                                                                                       '7
                                                                                              c
               5201040000 cOGs Module Kits                                                    c
               520107000o_COGS-Tex_Ant¡subs¡dv        duties                                  c                                 80.000,000.00                               98.22r.44L.47
               5201080000 COGS Tax Countervail¡ne dut¡es                     13 024 464 44                                     120 000 000.00                              769 687 646 26
               5201990100 Other Sales COGS Trad¡ne                                            a                                 25,000,000.00                               25.000.000 00
               5202010000 lntercompanv COGS Module sales                                      C                                  2.000.000.00                                4 774 404 37
               5203070000 Losses from imoe¡rment on Þroducts                                  I
               5204020000 COGS lnterPPV
               5204030000 COGS cost vadance trãnsfer
   104       Total cost of revenues                                         352,323,735.91                                   1,q¡0,000,mo.(x¡                          1,345.597.155.71


   105       Gross Þ¡of¡t                                                    22,681,186.35                                                                                  12.w.494.47

   106       sell¡ng expenses                                                13,814,827.54                                      25,000,000.00                               36,911,205 10
               6101010000 Sell¡ns exoense warrantv                                                                                     11.000.00ì                               {1 000.00ì
                                                                                                                                                                                                INLhWPU, U5U I RU,
               6102010000_Selling expense_Domest¡c Freight                    4,983,372.90                                      15,000,000 00                               2r,r55,247.16       USBROKU, INIFWCU,


               6102020000   Sell¡ns exÞense Fre¡Eht bv seã
               6102040000   Selline expense Storase                           7,596,597 22                                       3,000,000.00                                4,836,093 89          USWAREHU
               6103010000   Sellins exoenses Wases                            1.309,601.43                                       3.000.000 00                                4-301 348.05            INDIRSU           4.301 348-05
               6103100000   SellinE exoenses Meåls ellowence
               6103110000 SellinE expenses Team Build¡nq
               6103160000 Sellinp exoense Emolovee Vocet¡ons                      14   561 46ì                                         70,000.00                              118,795 39             INDIRsU             118,79s.39
               6103170000   Selline expense social Benefits                     I77,47M                                            250.000.00                                 388.061.34             INDIRSU             388.061.34
               6103190000   sellins exoense emolovee Tex                        176990 4A                                          300 000 00                                  434 4a9 79            INDIRSU             434,4r9.79
               6103200000   Selling expense frinee Benefit                      183p4       241                                                                                                      INDIRSU
               6103220000   Sellinq exoense 401K Match                           29.947.67                                             80.000 00                                67.427.94            INDIRSU               67 427.94
               6103230000   Sell¡nc expense bonus                               730,891 13                                       1,500,000.00                                2,L92,959.40            INDIRSU            2,192,959.40
               6103240000   Sell¡nq exoense emDlovee relocat¡on
               6104010000   Sellineeroense PE Mâpâzine                            2 000 00                                             10,000 00                                12,950 00            INDIRSU               12,950.00
               6104020000         exÞense
                            Sell¡nE           PE Adve.tisemeht                    1,495.00                                             60.000.00                                49.414 27            INDIRSU               a9 474.2t
               6104030000 sellinsexoense      PE Exh¡bition                     1-t7 047.6\                                        400 000 00                                  594,a79 70            INDIRSU             594,479.70
               6104040000 Sell¡nsexpense      PE Sponsor                          3,000.00                                             22,000.00                                30.000.00            INDIRSU               30.000.00
               6104050000 Sell¡nsexoense      PE Samole                          13.051 01                                             80.000.00                                47.426 32            INDIRSU               a7 426 32
               6104060000 Sellineexoense      PE Souvenir&s¡ft                                                                                                                      17 30            INDIRSU                   77 30
               6104070000 Sellinc expense     PE Association                     26,800 00                                             (7.000.001                                   53 75            INDIRSU                   53.75
               6104080000 Sellinsexpense      PE Channel MarketinE                6.075 00                                              6 000.00                                 7 500 00            INDIRSU                7 500 00
               61(MO9000O Sellins exDense     PE Cônsult¡ns                      45,574.94                                         130,000 00                                 275,O02.71             INDIRsU             275,OO2.77
               6104990000   Sellineexpense    PE  Otherpþmo                            474 !5                                                                                      1474   7sl        INDIRSU                 1474.15)
               6106010000   Selline exoense   business tr¡o Car ErolGroun        14 113.39                                             55 000 00                                74 960 16            INDIRSU               74,960.36
               6106020000   sell¡nc expense   Tr¡ps Ai¡fare          6!,379.64                                                     180,000 00                                 262.517.33             INDIRSU             262.51733
               6106030000   Sell¡ne exoense   Accommodat¡on          43.375 68                                                     100 000.00                                 136 959 61             INDIRSU             136,959.61
               6106040000         Filed
                            Sell¡np exoense   By:    jfreed@tradepacificlaw.com,
                                              Comñúnicâtion                                            Filed Date: 7/19/16 1:36 PM, Submission Status: Approved
                                                                                                                                      (900 0c                                     (4s.00)
                                           Case 1:17-cv-00199-CRK Document 54-1                                          Filed 09/19/18               Page 94 of 94
                                                                Barcode:3488970-01 A-570-010 REVPublic
                                                                                                   - Version
                                                                                                       Admin Review 7/31/14 - 1/31/16                                                                             Page 2   of 3


                                                                                d              b            c=Eo             d                  e              Êc+dfr
Aæount                          Descr¡ption                              Jan   !l-Jul14       Y2014      Aus 14-Dec 14     Y201s             lan-16       POR lOec14-Nov15)        FIEII'     ISE EXPENSES
           6106060000 Sellinsexpense T.¡Þs Meals
           6106070000 Sell¡neexoense businesstriD others bi2tr¡o                     203 00                                      12.000 00                           13,296.81    INDIRSU           13,296 81
           6106080000 Sellins exeense TEnsDortat¡on
           6107010000 Sellins exDense Meels/Entede¡nhent                        37,590 11                                    110.000 00                            777 SS2 7A     INDIRSU         777,552 78
           6108010000 Sell¡hg expense Communicat¡on                             10.488.57                                        25 000 00                           36,272.17    INDIRSU           36 272.77
           6109010000 Sell¡hE exoense Off¡ce suoolies                           11 881 86                                        s0.000.00                          72 034 03     INDIRSU           72,034.03
           6109020000 Sellinc expense Rentâl                                   102,609.53                                    200 000 00                            286,567.53     INDIRSU         246.567.53
           6110010000 Sell¡nE exDense deoreciation                               4 063 75                                           750.00                            7.744 72    INDIRSU            7 744   1)
           611101000o_SellinC expense_other insurance                           88,773.83                                    250.000.00                            379 8.46 Aa    INDIRSU         379.846 81
           6112010000 Sell¡ng expense qualiW insurance                    2.457.262.50                                       700,000.00                           7.782.523 28    INDIRSU        7.742.423.24
          6   1130100O0_Sel I ¡ng expense_char¡table   contribution

          611501.0000_5elling    expensê_Othe. prof essional expenses           24,225.6r                                    130,000.00                            r79,646.r4     INDIRSU         r79,646 74
           6199010000 Sellins      exoenses    Consultãnt fees                  62 750 00                                        50,000.00                           54.024 66    INDIRSU          54 024 66
           6199020000 Selling      expenses    others Conf                       6,664 54                                        15 000 00                           16,905.18    INDIRSU           16,905.18
           6199040000 Selline      exoenses    ReÞe¡rexoenses
           6199050000 Selline      expenses    Cer expenses
           6199060000 Selline      exoenses    subscriot¡on
           6199070000_Sell¡nC expenses_Commiss¡ons
           6199080000 Selline expenses Test¡ng exoenses                          2.000.00                                        40 000 00                          70,100.00     INDIRSU          70.100.00
          6199140000 Sellinc exoenses lJtilitv                                                                                    4,000 00                            4.000 00    INDIRSU            4 000 00
          6199150000 Sell¡ne expenses Financ¡ng cost                           r24,04L.87                                    140.000 00                            324.7v 46      INDIRSU         324,7!.46
           6199160000 Selline exoenses Sales tãx
          6199990000 Sellinc expenses others                              1.637.559.66                                            9.000.00                          a2 777.93     IN DI RSU        42,777.93
 ro7     General and admin¡strative exÞenses                              17   075 993 89)                                  3,000,000 00                         4,543,821.44
          6201010000 G&A Wases and benef¡ts                                    697,349.04                                   1.200.000 00                          1 700 863_58    IN DI RSU      1,700,863.58
           6201090000 G&A Emolovees Educat¡on Fund                                                                                1 400 00                            1,400.00    INDIRSU            1,400.00
           6201130000 G&A Subscr¡Dtion Fees
          6201140000 G&A Team Build¡ne Fund
          6201150000_G&A_l\¡issing meal allowance
          6201160000 G&A emÞlovee Vocations                                      6.747 72                                        26 000 00                          31,070.48     INDIRSU          31,070 48
          6201170000 G&A soc¡al Benefits                                        62,579 4s                                    120,000 00                            787.723.20     INDIRSU         747 723 20
          6201190000 G&A emoloveeTex                                            90.040 20                                    120 000 00                            7æ,r44.92      INDIRSU         764,!44.92
          6201210000 G&A other oâvroll costs                                                                                     12,000.00                           13.44!79     INDIRSU          73.44\ 79
          6207220000       G&A Emplover40lK Match                               24,769 A4                                        25.000 00                          39 158.59     INDIRSU          39 1S8 59
          6201230000       G&A bonus                                           185.200 56                                    250 000 00                            445 ¿42 17     INDIRSU         435,442.r7
          6201250000       G&A emolovee relocâtion                               I   297 70                                       7,000.00                            9,300 00    INDIRSU            9.300 00
          6203010000       Allowance for doubtful debts                   19.037.082.16)                                     220 000.00                            259 690 22     INDIRSU         259,690.22
          6204020000       G&A Bankcharees                                      24 624 40                                        40,000 00                          58,497 05     INDIRSU          58,497 05
          6204060000 G&A ¡nsurance                                              39,77!.65                                        70.000 00                          98 408.35     INDIRSU          98 408 35
          6205010000 G&A Lesalfee                                              556 751 98                                    500,000 00                            691,595 81     INDIRSU         691,595 81
          6205020000 G&A Auditfee
          6206010000 G&A CeÉified fee
          6206020000       G&A consultant fee                                   27,803 42                                    175.000 00                            304 926.45     INDIRSU         304 926 45
          6206040000       G&A Other orofess¡onal exoenses
          6207010000       G&A Deprec¡ation                                     24,7!7 74                                     40,000 00                             54.356.60     INDIRSU          54,356 60
          6208010000       G&A Office suool¡es                                  13 881.89                                        18 000 00                           23,929.62    INDIRSU           23,929.62
          6208020000       G&A l\¡ate.¡al consumpt¡on
          6208040000       G&A Ut¡l¡t¡es                                             457.52                                                                             674 49    INDIRSU              674 49
          6208050000       G&A Rentel                                                                                                                                 2,389.00    INDIRSU            2,389 00
          6209010000       Admin¡strative Meals/Ehterta¡nment                    7,504.56                                        20,000.00                          30.474 53     INDIRSU          30 474.53
          6209020000       G&A Souvenir&eift                                          2773
          6210010000       G&A Bus¡ness Trio                                    14,367.941                                                                              1769 @)   INDIRSU             1769.64l,
          6210020000 G&A Airfare                                                 9,750 51                                     40.000 00                             7A 274.20     INDIRSU          7A 274 20
          6210030000 G&A Car Exelcround Transportat¡on/MileâE                    3.935 50                                        10.000 00                           74 620 43    INDIRSU           74,620 43
          6210040000 G&A business trip M¡leage
          6210050000 G&A business triD Accommodat¡on                             8.357 58                                        14 000.00                          25 350 35     INDIRSU          25,350.35
          6210060000 G&A business lrio Comhunicetion                                 239 ?2
          6210080000       G&A businesstrie Meals
          6210990000       G&A businesstrio Others                               1 054-04                                           500.00                            {200.s1     INDIRSU             (200.51)
          6211010000       Admin expenses Communication      31,523.86                                                           75.000.00                          85 487.88     ¡NDIRSU          85 487 88
          6213020000       G&A fex ProÞertvtax                1.560.52                                                            4 000-00                            5 301 59    ¡NDIRSU            5,301 59
          6213060000            Tâx Othertex
                           G&AFiled      By: jfreed@tradepacificlaw.com,
                                                                100-00                             Filed Date: 7/19/16 1:36500PM,
                                                                                                                               00 Submission Status: 7,735.OO
                                                                                                                                                     Approved                     INDIRSU            7.735.00
